                                                                                                                                                  Case 1:24-cv-01353-TSC                                                                  Document 26-4           Vaughn Index
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                                                                                                                                                                                                                            WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                 Record Description                                                   Start Page                                  End Page                    Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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Letter. Subject: Confidentiality Determination for Certain Standing General Order
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2021-01 Incident Reports. From Michael Kuppersmith to Alex Green and Ryan           NHTSA-0230621-006-001 Partial Response I     NHTSA-0230621-006-004 Partial Response I   Partial redaction            6
                                                                                                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
Stanko, cc'ing Eric Williams. Date October 4, 2023.
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                                                                                      NHTSA-0230621-006-005 Partial Response I   NHTSA-0230621-006-007 Partial Response I   Partial redaction            6
Report ID 13781-1039-1. From Alex Green to Ann Carlson. Date August 13, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-008 Partial Response I   NHTSA-0230621-006-010 Partial Response I   Partial redaction            6
Report ID 13781-1041-1. From Alex Green to Ann Carlson. Date August 13, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-011 Partial Response I   NHTSA-0230621-006-013 Partial Response I   Partial redaction            6
Report ID 13781-1050-1. From Alex Green to Ann Carlson. Date August 13, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-014 Partial Response I   NHTSA-0230621-006-016 Partial Response I   Partial redaction            6
Report ID 13781-1086-1. From Alex Green to Ann Carlson. Date August 16, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-017 Partial Response I   NHTSA-0230621-006-019 Partial Response I   Partial redaction            6
Report ID 13781-1087-1. From Alex Green to Ann Carlson. Date August 16, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-020 Partial Response I   NHTSA-0230621-006-022 Partial Response I   Partial redaction            6
Report ID 13781-1090-1. From Alex Green to Ann Carlson. Date August 16, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-023 Partial Response I   NHTSA-0230621-006-025 Partial Response I   Partial redaction            6
Report ID 13781-1096-1. From Alex Green to Ann Carlson. Date August 18, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-026 Partial Response I   NHTSA-0230621-006-028 Partial Response I   Partial redaction            6
Report ID 13781-1100-1. From Alex Green to Ann Carlson. Date August 19, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-029 Partial Response I   NHTSA-0230621-006-031 Partial Response I   Partial redaction            6
Report ID 13781-1111-1. From Alex Green to Ann Carlson. Date August 23, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-032 Partial Response I   NHTSA-0230621-006-034 Partial Response I   Partial redaction            6
Report ID 13781-1112-1. From Alex Green to Ann Carlson. Date August 23, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-035 Partial Response I   NHTSA-0230621-006-037 Partial Response I   Partial redaction            6
Report ID 13781-1154-1. From Alex Green to Ann Carlson. Date August 31, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-038 Partial Response I   NHTSA-0230621-006-040 Partial Response I   Partial redaction            6
Report ID 13781-1157-1. From Alex Green to Ann Carlson. Date September 1, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-041 Partial Response I   NHTSA-0230621-006-043 Partial Response I   Partial redaction            6
Report ID 13781-1198-1. From Alex Green to Ann Carlson. Date September 6, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-044 Partial Response I   NHTSA-0230621-006-046 Partial Response I   Partial redaction            6
Report ID 13781-1242-1. From Alex Green to Ann Carlson. Date September 14, 2021.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-047 Partial Response I   NHTSA-0230621-006-049 Partial Response I   Partial redaction            6
Report ID 13781-1243-1. From Alex Green to Ann Carlson. Date September 14, 2021.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-050 Partial Response I   NHTSA-0230621-006-052 Partial Response I   Partial redaction            6
Report ID 13781-1244-1. From Alex Green to Ann Carlson. Date September 14, 2021.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-053 Partial Response I   NHTSA-0230621-006-055 Partial Response I   Partial redaction            6
Report ID 13781-1245-1. From Alex Green to Ann Carlson. Date September 14, 2021.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-056 Partial Response I   NHTSA-0230621-006-058 Partial Response I   Partial redaction            6
Report ID 13781-1254-1. From Alex Green to Ann Carlson. Date September 14, 2021.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-059 Partial Response I   NHTSA-0230621-006-061 Partial Response I   Partial redaction            6
Report ID 13781-1331-1. From Alex Green to Ann Carlson. Date September 21, 2021.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-062 Partial Response I   NHTSA-0230621-006-064 Partial Response I   Partial redaction            6
Report ID 13781-1332-1. From Alex Green to Ann Carlson. Date September 21, 2021.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-065 Partial Response I   NHTSA-0230621-006-067 Partial Response I   Partial redaction            6
Report ID 13781-1333-1. From Alex Green to Ann Carlson. Date September 21, 2021.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-068 Partial Response I   NHTSA-0230621-006-070 Partial Response I   Partial redaction            6
Report ID 13781-1339-1. From Alex Green to Ann Carlson. Date September 23, 2021.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-071 Partial Response I   NHTSA-0230621-006-073 Partial Response I   Partial redaction            6
Report ID 13781-1343-1. From Alex Green to Ann Carlson. Date September 24, 2021.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-074 Partial Response I   NHTSA-0230621-006-076 Partial Response I   Partial redaction            6
Report ID 13781-1345-1. From Alex Green to Ann Carlson. Date September 24, 2021.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-077 Partial Response I   NHTSA-0230621-006-079 Partial Response I   Partial redaction            6
Report ID 13781-1351-1. From Alex Green to Ann Carlson. Date September 27, 2021.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-080 Partial Response I   NHTSA-0230621-006-082 Partial Response I   Partial redaction            6
Report ID 13781-1352-1. From Alex Green to Ann Carlson. Date September 27, 2021.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-083 Partial Response I   NHTSA-0230621-006-085 Partial Response I   Partial redaction            6
Report ID 13781-1353-1. From Alex Green to Ann Carlson. Date September 27, 2021.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-086 Partial Response I   NHTSA-0230621-006-088 Partial Response I   Partial redaction            6
Report ID 13781-1355-1. From Alex Green to Ann Carlson. Date September 29, 2021.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-089 Partial Response I   NHTSA-0230621-006-091 Partial Response I   Partial redaction            6
Report ID 13781-1356-1. From Alex Green to Ann Carlson. Date September 29, 2021.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-092 Partial Response I   NHTSA-0230621-006-094 Partial Response I   Partial redaction            6
Report ID 13781-1357-1. From Alex Green to Ann Carlson. Date September 29, 2021.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-095 Partial Response I   NHTSA-0230621-006-097 Partial Response I   Partial redaction            6
Report ID 13781-1372-1. From Alex Green to Ann Carlson. Date October 4, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-098 Partial Response I   NHTSA-0230621-006-100 Partial Response I   Partial redaction            6
Report ID 13781-1374-1. From Alex Green to Ann Carlson. Date October 4, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-101 Partial Response I   NHTSA-0230621-006-103 Partial Response I   Partial redaction            6
Report ID 13781-1375-1. From Alex Green to Ann Carlson. Date October 4, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-104 Partial Response I   NHTSA-0230621-006-106 Partial Response I   Partial redaction            6
Report ID 13781-1383-1. From Alex Green to Ann Carlson. Date October 6, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-107 Partial Response I   NHTSA-0230621-006-109 Partial Response I   Partial redaction            6
Report ID 13781-1388-1. From Alex Green to Ann Carlson. Date October 7, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-110 Partial Response I   NHTSA-0230621-006-112 Partial Response I   Partial redaction            6
Report ID 13781-1390-1. From Alex Green to Ann Carlson. Date October 8, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-113 Partial Response I   NHTSA-0230621-006-115 Partial Response I   Partial redaction            6
Report ID 13781-1404-1. From Alex Green to Ann Carlson. Date October 11, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-116 Partial Response I   NHTSA-0230621-006-118 Partial Response I   Partial redaction            6
Report ID 13781-1405-1. From Alex Green to Ann Carlson. Date October 11, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-119 Partial Response I   NHTSA-0230621-006-121 Partial Response I   Partial redaction            6
Report ID 13781-1406-1. From Alex Green to Ann Carlson. Date October 11, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-122 Partial Response I   NHTSA-0230621-006-124 Partial Response I   Partial redaction            6
Report ID 13781-1407-1. From Alex Green to Ann Carlson. Date October 11, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-125 Partial Response I   NHTSA-0230621-006-127 Partial Response I   Partial redaction            6
Report ID 13781-1408-1. From Alex Green to Ann Carlson. Date October 11, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-128 Partial Response I   NHTSA-0230621-006-130 Partial Response I   Partial redaction            6
Report ID 13781-1439-1. From Alex Green to Ann Carlson. Date October 14, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-131 Partial Response I   NHTSA-0230621-006-133 Partial Response I   Partial redaction            6
Report ID 13781-1511-1. From Alex Green to Ann Carlson. Date October 18, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-134 Partial Response I   NHTSA-0230621-006-136 Partial Response I   Partial redaction            6
Report ID 13781-1512-1. From Alex Green to Ann Carlson. Date October 18, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-137 Partial Response I   NHTSA-0230621-006-139 Partial Response I   Partial redaction            6
Report ID 13781-1513-1. From Alex Green to Ann Carlson. Date October 18, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-140 Partial Response I   NHTSA-0230621-006-142 Partial Response I   Partial redaction            6
Report ID 13781-1516-1. From Alex Green to Ann Carlson. Date October 18, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-143 Partial Response I   NHTSA-0230621-006-145 Partial Response I   Partial redaction            6
Report ID 13781-1521-1. From Alex Green to Ann Carlson. Date October 20, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-146 Partial Response I   NHTSA-0230621-006-148 Partial Response I   Partial redaction            6
Report ID 13781-1527-1. From Alex Green to Ann Carlson. Date October 22, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-149 Partial Response I   NHTSA-0230621-006-151 Partial Response I   Partial redaction            6
Report ID 13781-1537-1. From Alex Green to Ann Carlson. Date October 25, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-152 Partial Response I   NHTSA-0230621-006-154 Partial Response I   Partial redaction            6
Report ID 13781-1538-1. From Alex Green to Ann Carlson. Date October 25, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-155 Partial Response I   NHTSA-0230621-006-157 Partial Response I   Partial redaction            6
Report ID 13781-1541-1. From Alex Green to Ann Carlson. Date October 25, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                            WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                               Record Description                                                     Start Page                                  End Page                    Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-158 Partial Response I   NHTSA-0230621-006-160 Partial Response I   Partial redaction            6
Report ID 13781-1542-1. From Alex Green to Ann Carlson. Date October 26, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-161 Partial Response I   NHTSA-0230621-006-163 Partial Response I   Partial redaction            6
Report ID 13781-1543-1. From Alex Green to Ann Carlson. Date October 26, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-164 Partial Response I   NHTSA-0230621-006-166 Partial Response I   Partial redaction            6
Report ID 13781-1544-1. From Alex Green to Ann Carlson. Date October 26, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-167 Partial Response I   NHTSA-0230621-006-169 Partial Response I   Partial redaction            6
Report ID 13781-1545-1. From Alex Green to Ann Carlson. Date October 26, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-170 Partial Response I   NHTSA-0230621-006-172 Partial Response I   Partial redaction            6
Report ID 13781-1546-1. From Alex Green to Ann Carlson. Date October 26, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-173 Partial Response I   NHTSA-0230621-006-175 Partial Response I   Partial redaction            6
Report ID 13781-1547-1. From Alex Green to Ann Carlson. Date October 26, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-176 Partial Response I   NHTSA-0230621-006-178 Partial Response I   Partial redaction            6
Report ID 13781-1551-1. From Alex Green to Ann Carlson. Date October 28, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-179 Partial Response I   NHTSA-0230621-006-181 Partial Response I   Partial redaction            6
Report ID 13781-1553-1. From Alex Green to Ann Carlson. Date October 29, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-182 Partial Response I   NHTSA-0230621-006-184 Partial Response I   Partial redaction            6
Report ID 13781-1554-1. From Alex Green to Ann Carlson. Date October 29, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-185 Partial Response I   NHTSA-0230621-006-187 Partial Response I   Partial redaction            6
Report ID 13781-1555-1. From Alex Green to Ann Carlson. Date October 29, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-188 Partial Response I   NHTSA-0230621-006-190 Partial Response I   Partial redaction            6
Report ID 13781-1556-1. From Alex Green to Ann Carlson. Date October 29, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-191 Partial Response I   NHTSA-0230621-006-193 Partial Response I   Partial redaction            6
Report ID 13781-1573-1. From Alex Green to Ann Carlson. Date November 11, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-194 Partial Response I   NHTSA-0230621-006-196 Partial Response I   Partial redaction            6
Report ID 13781-1574-1. From Alex Green to Ann Carlson. Date November 11, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-197 Partial Response I   NHTSA-0230621-006-199 Partial Response I   Partial redaction            6
Report ID 13781-1575-1. From Alex Green to Ann Carlson. Date November 11, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-200 Partial Response I   NHTSA-0230621-006-202 Partial Response I   Partial redaction            6
Report ID 13781-1584-1. From Alex Green to Ann Carlson. Date November 3, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-203 Partial Response I   NHTSA-0230621-006-205 Partial Response I   Partial redaction            6
Report ID 13781-1585-1. From Alex Green to Ann Carlson. Date November 3, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-206 Partial Response I   NHTSA-0230621-006-208 Partial Response I   Partial redaction            6
Report ID 13781-1589-1. From Alex Green to Ann Carlson. Date November 4, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-209 Partial Response I   NHTSA-0230621-006-211 Partial Response I   Partial redaction            6
Report ID 13781-1598-1. From Alex Green to Ann Carlson. Date November 5, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-212 Partial Response I   NHTSA-0230621-006-214 Partial Response I   Partial redaction            6
Report ID 13781-1599-1. From Alex Green to Ann Carlson. Date November 5, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-215 Partial Response I   NHTSA-0230621-006-217 Partial Response I   Partial redaction            6
Report ID 13781-1619-1. From Alex Green to Ann Carlson. Date November 8, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-218 Partial Response I   NHTSA-0230621-006-220 Partial Response I   Partial redaction            6
Report ID 13781-1631-1. From Alex Green to Ann Carlson. Date November 10, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-221 Partial Response I   NHTSA-0230621-006-223 Partial Response I   Partial redaction            6
Report ID 13781-1632-1. From Alex Green to Ann Carlson. Date November 10, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-224 Partial Response I   NHTSA-0230621-006-226 Partial Response I   Partial redaction            6
Report ID 13781-1646-1. From Alex Green to Ann Carlson. Date November 11, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-227 Partial Response I   NHTSA-0230621-006-229 Partial Response I   Partial redaction            6
Report ID 13781-1647-1. From Alex Green to Ann Carlson. Date November 11, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-230 Partial Response I   NHTSA-0230621-006-232 Partial Response I   Partial redaction            6
Report ID 13781-1662-1. From Alex Green to Ann Carlson. Date November 12, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-233 Partial Response I   NHTSA-0230621-006-235 Partial Response I   Partial redaction            6
Report ID 13781-1663-1. From Alex Green to Ann Carlson. Date November 12, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                 Record Description                                                   Start Page                                  End Page                     Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-236 Partial Response I   NHTSA-0230621-006-238 Partial Response I    Partial redaction            6
Report ID 13781-1734-1. From Alex Green to Ann Carlson. Date November 15, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-239 Partial Response I   NHTSA-0230621-006-241 Partial Response I    Partial redaction            6
Report ID 13781-1737-1. From Alex Green to Ann Carlson. Date November 16, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-242 Partial Response I   NHTSA-0230621-006-244 Partial Response I    Partial redaction            6
Report ID 13781-1749-1. From Alex Green to Ann Carlson. Date November 17, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-245 Partial Response I   NHTSA-0230621-006-247 Partial Response I    Partial redaction            6
Report ID 13781-1750-1. From Alex Green to Ann Carlson. Date November 17, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-248 Partial Response I   NHTSA-0230621-006-250 Partial Response I    Partial redaction            6
Report ID 13781-1771-1. From Alex Green to Ann Carlson. Date November 22, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-251 Partial Response I   NHTSA-0230621-006-253 Partial Response I    Partial redaction            6
Report ID 13781-1772-1. From Alex Green to Ann Carlson. Date November 22, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-254 Partial Response I   NHTSA-0230621-006-256 Partial Response I    Partial redaction            6
Report ID 13781-1773-1. From Alex Green to Ann Carlson. Date November 22, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-257 Partial Response I   NHTSA-0230621-006-259 Partial Response I    Partial redaction            6
Report ID 13781-1775-1. From Alex Green to Ann Carlson. Date November 24, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-260 Partial Response I   NHTSA-0230621-006-262 Partial Response I    Partial redaction            6
Report ID 13781-1776-1. From Alex Green to Ann Carlson. Date November 24, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-263 Partial Response I   NHTSA-0230621-006-265 Partial Response I    Partial redaction            6
Report ID 13781-1784-1. From Alex Green to Ann Carlson. Date November 29, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-266 Partial Response I   NHTSA-0230621-006-268 Partial Response I    Partial redaction            6
Report ID 13781-1793-1. From Alex Green to Ann Carlson. Date November 30, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-269 Partial Response I   NHTSA-0230621-006-271 Partial Response I    Partial redaction            6
Report ID 13781-1800-1. From Alex Green to Ann Carlson. Date December 1, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-272 Partial Response I   NHTSA-0230621-006-274 Partial Response I    Partial redaction            6
Report ID 13781-1802-1. From Alex Green to Ann Carlson. Date December 2, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-275 Partial Response I   NHTSA-0230621-006-277 Partial Response I    Partial redaction            6
Report ID 13781-1825-1. From Alex Green to Ann Carlson. Date December 6, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-278 Partial Response I   NHTSA-0230621-006-280 Partial Response I    Partial redaction            6
Report ID 13781-1826-1. From Alex Green to Ann Carlson. Date December 6, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-281 Partial Response I   NHTSA-0230621-006-283 Partial Response I    Partial redaction            6
Report ID 13781-1854-1. From Alex Green to Ann Carlson. Date December 13, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-284 Partial Response I   NHTSA-0230621-006-286 Partial Response I    Partial redaction            6
Report ID 13781-1855-1. From Alex Green to Ann Carlson. Date December 13, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-287 Partial Response I   NHTSA-0230621-006-289 Partial Response I    Partial redaction            6
Report ID 13781-1856-1. From Alex Green to Ann Carlson. Date December 13, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-290 Partial Response I   NHTSA-0230621-006-292 Partial Response I    Partial redaction            6
Report ID 13781-1857-1. From Alex Green to Ann Carlson. Date December 13, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-293 Partial Response I   NHTSA-0230621-006-295 Partial Response I    Partial redaction            6
Report ID 13781-1858-1. From Alex Green to Ann Carlson. Date December 13, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-296 Partial Response I   NHTSA-0230621-006-298 Partial Response I    Partial redaction            6
Report ID 13781-1913-1. From Alex Green to Ann Carlson. Date December 15, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-299 Partial Response I   NHTSA-0230621-006-301 Partial Response I    Partial redaction            6
Report ID 13781-1932-1. From Alex Green to Ann Carlson. Date December 16, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-302 Partial Response I   NHTSA-0230621-006-304 Partial Response I    Partial redaction            6
Report ID 13781-1933-1. From Alex Green to Ann Carlson. Date December 16, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-305 Partial Response I   NHTSA-0230621-006-307 Partial Response I    Partial redaction            6
Report ID 13781-1934-1. From Alex Green to Ann Carlson. Date December 16, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-308 Partial Response I   NHTSA-0230621-006-310 Partial Response I    Partial redaction            6
Report ID 13781-1936-1. From Alex Green to Ann Carlson. Date December 16, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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2021-01 Incident Reports. From Michael Kuppersmith to Alex Green and Ryan           NHTSA-0230621-006-001 Partial Response II    NHTSA-0230621-006-005 Partial Response II   Partial redaction            6
                                                                                                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
Stanko, cc'ing Eric Williams. Date October 31, 2023.
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                                                                                                                                                   Case 1:24-cv-01353-TSC                                                                   Document 26-4           Vaughn Index
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                                                                                                                                                                                                                              WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                               Record Description                                                      Start Page                                  End Page                     Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-006 Partial Response II   NHTSA-0230621-006-008 Partial Response II   Partial redaction            6
Report ID 13781-1939-1. From Alex Green to Ann Carlson. Date December 17, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-009 Partial Response II   NHTSA-0230621-006-011 Partial Response II   Partial redaction            6
Report ID 13781-1950-1. From Alex Green to Ann Carlson. Date December 20, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-012 Partial Response II   NHTSA-0230621-006-014 Partial Response II   Partial redaction            6
Report ID 13781-1951-1. From Alex Green to Ann Carlson. Date December 20, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-015 Partial Response II   NHTSA-0230621-006-017 Partial Response II   Partial redaction            6
Report ID 13781-1952-1. From Alex Green to Ann Carlson. Date December 21, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-018 Partial Response II   NHTSA-0230621-006-020 Partial Response II   Partial redaction            6
Report ID 13781-1953-1. From Alex Green to Ann Carlson. Date December 21, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-021 Partial Response II   NHTSA-0230621-006-023 Partial Response II   Partial redaction            6
Report ID 13781-1954-1. From Alex Green to Ann Carlson. Date December 21, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-024 Partial Response II   NHTSA-0230621-006-026 Partial Response II   Partial redaction            6
Report ID 13781-1975-1. From Alex Green to Ann Carlson. Date December 28, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-027 Partial Response II   NHTSA-0230621-006-029 Partial Response II   Partial redaction            6
Report ID 13781-1976-1. From Alex Green to Ann Carlson. Date December 28, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-030 Partial Response II   NHTSA-0230621-006-032 Partial Response II   Partial redaction            6
Report ID 13781-1977-1. From Alex Green to Ann Carlson. Date December 28, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-033 Partial Response II   NHTSA-0230621-006-035 Partial Response II   Partial redaction            6
Report ID 13781-1978-1. From Alex Green to Ann Carlson. Date December 28, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-036 Partial Response II   NHTSA-0230621-006-038 Partial Response II   Partial redaction            6
Report ID 13781-1979-1. From Alex Green to Ann Carlson. Date December 28, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-039 Partial Response II   NHTSA-0230621-006-041 Partial Response II   Partial redaction            6
Report ID 13781-1980-1. From Alex Green to Ann Carlson. Date December 28, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-042 Partial Response II   NHTSA-0230621-006-044 Partial Response II   Partial redaction            6
Report ID 13781-1981-1. From Alex Green to Ann Carlson. Date December 28, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-045 Partial Response II   NHTSA-0230621-006-047 Partial Response II   Partial redaction            6
Report ID 13781-1986-1. From Alex Green to Ann Carlson. Date December 29, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-048 Partial Response II   NHTSA-0230621-006-050 Partial Response II   Partial redaction            6
Report ID 13781-1991-1. From Alex Green to Ann Carlson. Date December 30, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-051 Partial Response II   NHTSA-0230621-006-053 Partial Response II   Partial redaction            6
Report ID 13781-1992-1. From Alex Green to Ann Carlson. Date December 30, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-054 Partial Response II   NHTSA-0230621-006-056 Partial Response II   Partial redaction            6
Report ID 13781-2008-1. From Alex Green to Ann Carlson. Date January 4, 2022.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-057 Partial Response II   NHTSA-0230621-006-059 Partial Response II   Partial redaction            6
Report ID 13781-2009-1. From Alex Green to Ann Carlson. Date January 4, 2022.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-060 Partial Response II   NHTSA-0230621-006-062 Partial Response II   Partial redaction            6
Report ID 13781-2010-1. From Alex Green to Ann Carlson. Date January 4, 2022.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-063 Partial Response II   NHTSA-0230621-006-065 Partial Response II   Partial redaction            6
Report ID 13781-2011-1. From Alex Green to Ann Carlson. Date January 4, 2022.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-066 Partial Response II   NHTSA-0230621-006-068 Partial Response II   Partial redaction            6
Report ID 13781-2012-1. From Alex Green to Ann Carlson. Date January 4, 2022.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-069 Partial Response II   NHTSA-0230621-006-071 Partial Response II   Partial redaction            6
Report ID 13781-2013-1. From Alex Green to Ann Carlson. Date January 4, 2022.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-072 Partial Response II   NHTSA-0230621-006-074 Partial Response II   Partial redaction            6
Report ID 13781-2046-1. From Alex Green to Ann Carlson. Date January 7, 2022.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-075 Partial Response II   NHTSA-0230621-006-077 Partial Response II   Partial redaction            6
Report ID 13781-2065-1. From Alex Green to Ann Carlson. Date January 11, 2022.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-078 Partial Response II   NHTSA-0230621-006-080 Partial Response II   Partial redaction            6
Report ID 13781-2157-1. From Alex Green to Ann Carlson. Date January 19, 2022.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-081 Partial Response II   NHTSA-0230621-006-083 Partial Response II   Partial redaction            6
Report ID 13781-2162-1. From Alex Green to Ann Carlson. Date January 21, 2022.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                               Record Description                                                      Start Page                                  End Page                     Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-084 Partial Response II   NHTSA-0230621-006-086 Partial Response II   Partial redaction            6
Report ID 13781-2163-1. From Alex Green to Ann Carlson. Date January 21, 2022.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-087 Partial Response II   NHTSA-0230621-006-089 Partial Response II   Partial redaction            6
Report ID 13781-2164-1. From Alex Green to Ann Carlson. Date January 21, 2022.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-090 Partial Response II   NHTSA-0230621-006-092 Partial Response II   Partial redaction            6
Report ID 13781-2165-1. From Alex Green to Ann Carlson. Date January 21, 2022.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-093 Partial Response II   NHTSA-0230621-006-095 Partial Response II   Partial redaction            6
Report ID 13781-2166-1. From Alex Green to Ann Carlson. Date January 21, 2022.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-096 Partial Response II   NHTSA-0230621-006-098 Partial Response II   Partial redaction            6
Report ID 13781-2172-1. From Alex Green to Ann Carlson. Date January 25, 2022.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-099 Partial Response II   NHTSA-0230621-006-101 Partial Response II   Partial redaction            6
Report ID 13781-2174-1. From Alex Green to Ann Carlson. Date January 27, 2022.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-102 Partial Response II   NHTSA-0230621-006-104 Partial Response II   Partial redaction            6
Report ID 13781-2181-1. From Alex Green to Ann Carlson. Date January 28, 2022.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-105 Partial Response II   NHTSA-0230621-006-107 Partial Response II   Partial redaction            6
Report ID 13781-2182-1. From Alex Green to Ann Carlson. Date January 28, 2022.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-108 Partial Response II   NHTSA-0230621-006-110 Partial Response II   Partial redaction            6
Report ID 13781-2183-1. From Alex Green to Ann Carlson. Date January 28, 2022.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-111 Partial Response II   NHTSA-0230621-006-113 Partial Response II   Partial redaction            6
Report ID 13781-2201-1. From Alex Green to Ann Carlson. Date January 31, 2022.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-114 Partial Response II   NHTSA-0230621-006-116 Partial Response II   Partial redaction            6
Report ID 13781-2208-1. From Alex Green to Ann Carlson. Date February 2, 2022.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-117 Partial Response II   NHTSA-0230621-006-119 Partial Response II   Partial redaction            6
Report ID 13781-2214-1. From Alex Green to Ann Carlson. Date February 4, 2022.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-120 Partial Response II   NHTSA-0230621-006-122 Partial Response II   Partial redaction            6
Report ID 13781-2229-1. From Alex Green to Ann Carlson. Date February 8, 2022.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-123 Partial Response II   NHTSA-0230621-006-125 Partial Response II   Partial redaction            6
Report ID 13781-2230-1. From Alex Green to Ann Carlson. Date February 8, 2022.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-126 Partial Response II   NHTSA-0230621-006-128 Partial Response II   Partial redaction            6
Report ID 13781-2239-1. From Alex Green to Ann Carlson. Date February 9, 2022.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-129 Partial Response II   NHTSA-0230621-006-131 Partial Response II   Partial redaction            6
Report ID 13781-2251-1. From Alex Green to Ann Carlson. Date February 11, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-132 Partial Response II   NHTSA-0230621-006-134 Partial Response II   Partial redaction            6
Report ID 13781-2252-1. From Alex Green to Ann Carlson. Date February 11, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-135 Partial Response II   NHTSA-0230621-006-137 Partial Response II   Partial redaction            6
Report ID 13781-2276-1. From Alex Green to Ann Carlson. Date February 14, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-138 Partial Response II   NHTSA-0230621-006-140 Partial Response II   Partial redaction            6
Report ID 13781-2277-1. From Alex Green to Ann Carlson. Date February 14, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-141 Partial Response II   NHTSA-0230621-006-143 Partial Response II   Partial redaction            6
Report ID 13781-2278-1. From Alex Green to Ann Carlson. Date February 14, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-144 Partial Response II   NHTSA-0230621-006-146 Partial Response II   Partial redaction            6
Report ID 13781-2324-1. From Alex Green to Ann Carlson. Date February 15, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-147 Partial Response II   NHTSA-0230621-006-149 Partial Response II   Partial redaction            6
Report ID 13781-2332-1. From Alex Green to Ann Carlson. Date February 16, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-150 Partial Response II   NHTSA-0230621-006-152 Partial Response II   Partial redaction            6
Report ID 13781-2333-1. From Alex Green to Ann Carlson. Date February 16, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-153 Partial Response II   NHTSA-0230621-006-155 Partial Response II   Partial redaction            6
Report ID 13781-2334-1. From Alex Green to Ann Carlson. Date February 16, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-156 Partial Response II   NHTSA-0230621-006-158 Partial Response II   Partial redaction            6
Report ID 13781-2341-1. From Alex Green to Ann Carlson. Date February 17, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-159 Partial Response II   NHTSA-0230621-006-161 Partial Response II   Partial redaction            6
Report ID 13781-2355-1. From Alex Green to Ann Carlson. Date February 22, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                              WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                               Record Description                                                      Start Page                                  End Page                     Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-162 Partial Response II   NHTSA-0230621-006-164 Partial Response II   Partial redaction            6
Report ID 13781-2369-1. From Alex Green to Ann Carlson. Date February 23, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-165 Partial Response II   NHTSA-0230621-006-167 Partial Response II   Partial redaction            6
Report ID 13781-2370-1. From Alex Green to Ann Carlson. Date February 23, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-168 Partial Response II   NHTSA-0230621-006-170 Partial Response II   Partial redaction            6
Report ID 13781-2371-1. From Alex Green to Ann Carlson. Date February 23, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-171 Partial Response II   NHTSA-0230621-006-173 Partial Response II   Partial redaction            6
Report ID 13781-2372-1. From Alex Green to Ann Carlson. Date February 23, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-174 Partial Response II   NHTSA-0230621-006-176 Partial Response II   Partial redaction            6
Report ID 13781-2373-1. From Alex Green to Ann Carlson. Date February 23, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-177 Partial Response II   NHTSA-0230621-006-179 Partial Response II   Partial redaction            6
Report ID 13781-2374-1. From Alex Green to Ann Carlson. Date February 24, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-180 Partial Response II   NHTSA-0230621-006-182 Partial Response II   Partial redaction            6
Report ID 13781-2423-1. From Alex Green to Ann Carlson. Date February 26, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-183 Partial Response II   NHTSA-0230621-006-185 Partial Response II   Partial redaction            6
Report ID 13781-2427-1. From Alex Green to Ann Carlson. Date February 28, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-186 Partial Response II   NHTSA-0230621-006-188 Partial Response II   Partial redaction            6
Report ID 13781-2428-1. From Alex Green to Ann Carlson. Date February 28, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-189 Partial Response II   NHTSA-0230621-006-191 Partial Response II   Partial redaction            6
Report ID 13781-2429-1. From Alex Green to Ann Carlson. Date February 28, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-192 Partial Response II   NHTSA-0230621-006-194 Partial Response II   Partial redaction            6
Report ID 13781-2430-1. From Alex Green to Ann Carlson. Date February 28, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-195 Partial Response II   NHTSA-0230621-006-197 Partial Response II   Partial redaction            6
Report ID 13781-2435-1. From Alex Green to Ann Carlson. Date March 2, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-198 Partial Response II   NHTSA-0230621-006-200 Partial Response II   Partial redaction            6
Report ID 13781-2436-1. From Alex Green to Ann Carlson. Date March 2, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-201 Partial Response II   NHTSA-0230621-006-203 Partial Response II   Partial redaction            6
Report ID 13781-2445-1. From Alex Green to Ann Carlson. Date March 3, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-204 Partial Response II   NHTSA-0230621-006-206 Partial Response II   Partial redaction            6
Report ID 13781-2451-1. From Alex Green to Ann Carlson. Date March 4, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-207 Partial Response II   NHTSA-0230621-006-209 Partial Response II   Partial redaction            6
Report ID 13781-2461-1. From Alex Green to Ann Carlson. Date March 7, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-210 Partial Response II   NHTSA-0230621-006-212 Partial Response II   Partial redaction            6
Report ID 13781-2480-1. From Alex Green to Ann Carlson. Date March 10, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-213 Partial Response II   NHTSA-0230621-006-215 Partial Response II   Partial redaction            6
Report ID 13781-2499-1. From Alex Green to Ann Carlson. Date March 14, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-216 Partial Response II   NHTSA-0230621-006-218 Partial Response II   Partial redaction            6
Report ID 13781-2543-1. From Alex Green to Ann Carlson. Date March 15, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-219 Partial Response II   NHTSA-0230621-006-221 Partial Response II   Partial redaction            6
Report ID 13781-2567-1. From Alex Green to Ann Carlson. Date March 17, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-222 Partial Response II   NHTSA-0230621-006-224 Partial Response II   Partial redaction            6
Report ID 13781-2573-1. From Alex Green to Ann Carlson. Date March 18, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-225 Partial Response II   NHTSA-0230621-006-227 Partial Response II   Partial redaction            6
Report ID 13781-2580-1. From Alex Green to Ann Carlson. Date March 21, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-228 Partial Response II   NHTSA-0230621-006-230 Partial Response II   Partial redaction            6
Report ID 13781-2592-1. From Alex Green to Ann Carlson. Date March 26, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-231 Partial Response II   NHTSA-0230621-006-233 Partial Response II   Partial redaction            6
Report ID 13781-2600-1. From Alex Green to Ann Carlson. Date March 29, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-234 Partial Response II   NHTSA-0230621-006-236 Partial Response II   Partial redaction            6
Report ID 13781-2601-1. From Alex Green to Ann Carlson. Date March 30, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-237 Partial Response II   NHTSA-0230621-006-239 Partial Response II   Partial redaction            6
Report ID 13781-2602-1. From Alex Green to Ann Carlson. Date March 30, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                              WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                               Record Description                                                      Start Page                                  End Page                     Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-240 Partial Response II   NHTSA-0230621-006-242 Partial Response II   Partial redaction            6
Report ID 13781-2603-1. From Alex Green to Ann Carlson. Date March 30, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-243 Partial Response II   NHTSA-0230621-006-245 Partial Response II   Partial redaction            6
Report ID 13781-2624-1. From Alex Green to Ann Carlson. Date April 4, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-246 Partial Response II   NHTSA-0230621-006-248 Partial Response II   Partial redaction            6
Report ID 13781-2625-1. From Alex Green to Ann Carlson. Date April 4, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-249 Partial Response II   NHTSA-0230621-006-251 Partial Response II   Partial redaction            6
Report ID 13781-2626-1. From Alex Green to Ann Carlson. Date April 4, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-252 Partial Response II   NHTSA-0230621-006-254 Partial Response II   Partial redaction            6
Report ID 13781-2627-1. From Alex Green to Ann Carlson. Date April 4, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-255 Partial Response II   NHTSA-0230621-006-257 Partial Response II   Partial redaction            6
Report ID 13781-2628-1. From Alex Green to Ann Carlson. Date April 4, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-258 Partial Response II   NHTSA-0230621-006-260 Partial Response II   Partial redaction            6
Report ID 13781-2629-1. From Alex Green to Ann Carlson. Date April 4, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-261 Partial Response II   NHTSA-0230621-006-263 Partial Response II   Partial redaction            6
Report ID 13781-2630-1. From Alex Green to Ann Carlson. Date April 4, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-264 Partial Response II   NHTSA-0230621-006-266 Partial Response II   Partial redaction            6
Report ID 13781-2631-1. From Alex Green to Ann Carlson. Date April 4, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-267 Partial Response II   NHTSA-0230621-006-269 Partial Response II   Partial redaction            6
Report ID 13781-2635-1. From Alex Green to Ann Carlson. Date April 5, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-270 Partial Response II   NHTSA-0230621-006-272 Partial Response II   Partial redaction            6
Report ID 13781-2638-1. From Alex Green to Ann Carlson. Date April 6, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-273 Partial Response II   NHTSA-0230621-006-275 Partial Response II   Partial redaction            6
Report ID 13781-2639-1. From Alex Green to Ann Carlson. Date April 6, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-276 Partial Response II   NHTSA-0230621-006-278 Partial Response II   Partial redaction            6
Report ID 13781-2640-1. From Alex Green to Ann Carlson. Date April 6, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-279 Partial Response II   NHTSA-0230621-006-281 Partial Response II   Partial redaction            6
Report ID 13781-2641-1. From Alex Green to Ann Carlson. Date April 6, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-282 Partial Response II   NHTSA-0230621-006-284 Partial Response II   Partial redaction            6
Report ID 13781-2642-1. From Alex Green to Ann Carlson. Date April 6, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-285 Partial Response II   NHTSA-0230621-006-287 Partial Response II   Partial redaction            6
Report ID 13781-2643-1. From Alex Green to Ann Carlson. Date April 6, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-288 Partial Response II   NHTSA-0230621-006-290 Partial Response II   Partial redaction            6
Report ID 13781-2650-1. From Alex Green to Ann Carlson. Date April 7, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-291 Partial Response II   NHTSA-0230621-006-293 Partial Response II   Partial redaction            6
Report ID 13781-2656-1. From Alex Green to Ann Carlson. Date April 8, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-294 Partial Response II   NHTSA-0230621-006-296 Partial Response II   Partial redaction            6
Report ID 13781-2667-1. From Alex Green to Ann Carlson. Date April 11, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-297 Partial Response II   NHTSA-0230621-006-299 Partial Response II   Partial redaction            6
Report ID 13781-2668-1. From Alex Green to Ann Carlson. Date April 11, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-300 Partial Response II   NHTSA-0230621-006-302 Partial Response II   Partial redaction            6
Report ID 13781-2669-1. From Alex Green to Ann Carlson. Date April 11, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-303 Partial Response II   NHTSA-0230621-006-305 Partial Response II   Partial redaction            6
Report ID 13781-2697-1. From Alex Green to Ann Carlson. Date April 12, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-306 Partial Response II   NHTSA-0230621-006-308 Partial Response II   Partial redaction            6
Report ID 13781-2727-1. From Alex Green to Ann Carlson. Date April 14, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-309 Partial Response II   NHTSA-0230621-006-311 Partial Response II   Partial redaction            6
Report ID 13781-2729-1. From Alex Green to Ann Carlson. Date April 14, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-312 Partial Response II   NHTSA-0230621-006-314 Partial Response II   Partial redaction            6
Report ID 13781-2740-1. From Alex Green to Ann Carlson. Date April 14, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-315 Partial Response II   NHTSA-0230621-006-317 Partial Response II   Partial redaction            6
Report ID 13781-2780-1. From Alex Green to Ann Carlson. Date April 18, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                              WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                               Record Description                                                      Start Page                                  End Page                     Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-318 Partial Response II   NHTSA-0230621-006-320 Partial Response II   Partial redaction            6
Report ID 13781-2781-1. From Alex Green to Ann Carlson. Date April 18, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-321 Partial Response II   NHTSA-0230621-006-323 Partial Response II   Partial redaction            6
Report ID 13781-2782-1. From Alex Green to Ann Carlson. Date April 18, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-324 Partial Response II   NHTSA-0230621-006-326 Partial Response II   Partial redaction            6
Report ID 13781-2795-1. From Alex Green to Ann Carlson. Date April 20, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-327 Partial Response II   NHTSA-0230621-006-329 Partial Response II   Partial redaction            6
Report ID 13781-2796-1. From Alex Green to Ann Carlson. Date April 20, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-330 Partial Response II   NHTSA-0230621-006-332 Partial Response II   Partial redaction            6
Report ID 13781-2799-1. From Alex Green to Ann Carlson. Date April 20, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-333 Partial Response II   NHTSA-0230621-006-335 Partial Response II   Partial redaction            6
Report ID 13781-2801-1. From Alex Green to Ann Carlson. Date April 21, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-336 Partial Response II   NHTSA-0230621-006-338 Partial Response II   Partial redaction            6
Report ID 13781-2804-1. From Alex Green to Ann Carlson. Date April 22, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-339 Partial Response II   NHTSA-0230621-006-341 Partial Response II   Partial redaction            6
Report ID 13781-2805-1. From Alex Green to Ann Carlson. Date April 22, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-342 Partial Response II   NHTSA-0230621-006-344 Partial Response II   Partial redaction            6
Report ID 13781-2806-1. From Alex Green to Ann Carlson. Date April 22, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-345 Partial Response II   NHTSA-0230621-006-347 Partial Response II   Partial redaction            6
Report ID 13781-2817-1. From Alex Green to Ann Carlson. Date April 25, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-348 Partial Response II   NHTSA-0230621-006-350 Partial Response II   Partial redaction            6
Report ID 13781-2824-1. From Alex Green to Ann Carlson. Date April 26, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-351 Partial Response II   NHTSA-0230621-006-353 Partial Response II   Partial redaction            6
Report ID 13781-2825-1. From Alex Green to Ann Carlson. Date April 26, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-354 Partial Response II   NHTSA-0230621-006-356 Partial Response II   Partial redaction            6
Report ID 13781-2826-1. From Alex Green to Ann Carlson. Date April 26, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-357 Partial Response II   NHTSA-0230621-006-359 Partial Response II   Partial redaction            6
Report ID 13781-2828-1. From Alex Green to Ann Carlson. Date April 27, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-360 Partial Response II   NHTSA-0230621-006-362 Partial Response II   Partial redaction            6
Report ID 13781-2829-1. From Alex Green to Ann Carlson. Date April 27, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-363 Partial Response II   NHTSA-0230621-006-365 Partial Response II   Partial redaction            6
Report ID 13781-2831-1. From Ryan Stanko to Ann Carlson. Date April 28, 2022.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-366 Partial Response II   NHTSA-0230621-006-368 Partial Response II   Partial redaction            6
Report ID 13781-2832-1. From Ryan Stanko to Ann Carlson. Date April 28, 2022.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-369 Partial Response II   NHTSA-0230621-006-371 Partial Response II   Partial redaction            6
Report ID 13781-2833-1. From Ryan Stanko to Ann Carlson. Date April 29, 2022.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-372 Partial Response II   NHTSA-0230621-006-374 Partial Response II   Partial redaction            6
Report ID 13781-2835-1. From Ryan Stanko to Ann Carlson. Date April 29, 2022.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-375 Partial Response II   NHTSA-0230621-006-377 Partial Response II   Partial redaction            6
Report ID 13781-2840-1. From Ryan Stanko to Ann Carlson. Date May 2, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-378 Partial Response II   NHTSA-0230621-006-380 Partial Response II   Partial redaction            6
Report ID 13781-2841-1. From Ryan Stanko to Ann Carlson. Date May 2, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-381 Partial Response II   NHTSA-0230621-006-383 Partial Response II   Partial redaction            6
Report ID 13781-2842-1. From Ryan Stanko to Ann Carlson. Date May 2, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-384 Partial Response II   NHTSA-0230621-006-386 Partial Response II   Partial redaction            6
Report ID 13781-2844-1. From Ryan Stanko to Ann Carlson. Date May 2, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-387 Partial Response II   NHTSA-0230621-006-389 Partial Response II   Partial redaction            6
Report ID 13781-2845-1. From Ryan Stanko to Ann Carlson. Date May 2, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-390 Partial Response II   NHTSA-0230621-006-392 Partial Response II   Partial redaction            6
Report ID 13781-2846-1. From Ryan Stanko to Ann Carlson. Date May 2, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-393 Partial Response II   NHTSA-0230621-006-395 Partial Response II   Partial redaction            6
Report ID 13781-2858-1. From Ryan Stanko to Ann Carlson. Date May 3, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                               Record Description                                                      Start Page                                  End Page                     Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-396 Partial Response II   NHTSA-0230621-006-398 Partial Response II   Partial redaction            6
Report ID 13781-2868-1. From Alex Green to Ann Carlson. Date May 4, 2022.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-399 Partial Response II   NHTSA-0230621-006-401 Partial Response II   Partial redaction            6
Report ID 13781-2869-1. From Alex Green to Ann Carlson. Date May 4, 2022.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-402 Partial Response II   NHTSA-0230621-006-404 Partial Response II   Partial redaction            6
Report ID 13781-2873-1. From Ryan Stanko to Ann Carlson. Date May 5, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-405 Partial Response II   NHTSA-0230621-006-407 Partial Response II   Partial redaction            6
Report ID 13781-2874-1. From Ryan Stanko to Ann Carlson. Date May 5, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-408 Partial Response II   NHTSA-0230621-006-410 Partial Response II   Partial redaction            6
Report ID 13781-2877-1. From Ryan Stanko to Ann Carlson. Date May 5, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-411 Partial Response II   NHTSA-0230621-006-413 Partial Response II   Partial redaction            6
Report ID 13781-2878-1. From Ryan Stanko to Ann Carlson. Date May 5, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-414 Partial Response II   NHTSA-0230621-006-416 Partial Response II   Partial redaction            6
Report ID 13781-2879-1. From Ryan Stanko to Ann Carlson. Date May 5, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-417 Partial Response II   NHTSA-0230621-006-419 Partial Response II   Partial redaction            6
Report ID 13781-2880-1. From Ryan Stanko to Ann Carlson. Date May 5, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-420 Partial Response II   NHTSA-0230621-006-422 Partial Response II   Partial redaction            6
Report ID 13781-2882-1. From Ryan Stanko to Ann Carlson. Date May 6, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-423 Partial Response II   NHTSA-0230621-006-425 Partial Response II   Partial redaction            6
Report ID 13781-2883-1. From Ryan Stanko to Ann Carlson. Date May 6, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-426 Partial Response II   NHTSA-0230621-006-428 Partial Response II   Partial redaction            6
Report ID 13781-2905-1. From Ryan Stanko to Ann Carlson. Date May 9, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-429 Partial Response II   NHTSA-0230621-006-431 Partial Response II   Partial redaction            6
Report ID 13781-3129-1. From Alex Green to Ann Carlson. Date June 9, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-432 Partial Response II   NHTSA-0230621-006-434 Partial Response II   Partial redaction            6
Report ID 13781-3130-1. From Alex Green to Ann Carlson. Date June 9, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-435 Partial Response II   NHTSA-0230621-006-437 Partial Response II   Partial redaction            6
Report ID 13781-3217-1. From Alex Green to Ann Carlson. Date June 15, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-438 Partial Response II   NHTSA-0230621-006-440 Partial Response II   Partial redaction            6
Report ID 13781-3223-1. From Alex Green to Ann Carlson. Date June 16, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-441 Partial Response II   NHTSA-0230621-006-443 Partial Response II   Partial redaction            6
Report ID 13781-3248-1. From Alex Green to Ann Carlson. Date June 20, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-444 Partial Response II   NHTSA-0230621-006-446 Partial Response II   Partial redaction            6
Report ID 13781-3249-1. From Alex Green to Ann Carlson. Date June 20, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-447 Partial Response II   NHTSA-0230621-006-449 Partial Response II   Partial redaction            6
Report ID 13781-3250-1. From Alex Green to Ann Carlson. Date June 20, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-450 Partial Response II   NHTSA-0230621-006-452 Partial Response II   Partial redaction            6
Report ID 13781-3686-1. From Alex Green to Ann Carlson. Date August 22, 2022.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-453 Partial Response II   NHTSA-0230621-006-455 Partial Response II   Partial redaction            6
Report ID 13781-3687-1. From Alex Green to Ann Carlson. Date August 22, 2022.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-456 Partial Response II   NHTSA-0230621-006-458 Partial Response II   Partial redaction            6
Report ID 13781-3952-1. From Alex Green to Ann Carlson. Date October 5, 2022.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-459 Partial Response II   NHTSA-0230621-006-461 Partial Response II   Partial redaction            6
Report ID 13781-3953-1. From Alex Green to Ann Carlson. Date October 6, 2022.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-462 Partial Response II   NHTSA-0230621-006-464 Partial Response II   Partial redaction            6
Report ID 13781-4181-1. From Alex Green to Ann Carlson. Date November 10, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-465 Partial Response II   NHTSA-0230621-006-467 Partial Response II   Partial redaction            6
Report ID 13781-4182-1. From Alex Green to Ann Carlson. Date November 10, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-468 Partial Response II   NHTSA-0230621-006-470 Partial Response II   Partial redaction            6
Report ID 13781-4183-1. From Alex Green to Ann Carlson. Date November 10, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-471 Partial Response II   NHTSA-0230621-006-473 Partial Response II   Partial redaction            6
Report ID 13781-4184-1. From Alex Green to Ann Carlson. Date November 10, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                               Record Description                                                      Start Page                                  End Page                     Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-474 Partial Response II   NHTSA-0230621-006-476 Partial Response II   Partial redaction            6
Report ID 13781-4185-1. From Alex Green to Ann Carlson. Date November 10, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-477 Partial Response II   NHTSA-0230621-006-479 Partial Response II   Partial redaction            6
Report ID 13781-4186-1. From Alex Green to Ann Carlson. Date November 10, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-480 Partial Response II   NHTSA-0230621-006-482 Partial Response II   Partial redaction            6
Report ID 13781-4187-1. From Alex Green to Ann Carlson. Date November 10, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-483 Partial Response II   NHTSA-0230621-006-485 Partial Response II   Partial redaction            6
Report ID 13781-4188-1. From Alex Green to Ann Carlson. Date November 10, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-486 Partial Response II   NHTSA-0230621-006-488 Partial Response II   Partial redaction            6
Report ID 13781-4189-1. From Alex Green to Ann Carlson. Date November 10, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-489 Partial Response II   NHTSA-0230621-006-491 Partial Response II   Partial redaction            6
Report ID 13781-4190-1. From Alex Green to Ann Carlson. Date November 10, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-492 Partial Response II   NHTSA-0230621-006-494 Partial Response II   Partial redaction            6
Report ID 13781-4191-1. From Alex Green to Ann Carlson. Date November 10, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-495 Partial Response II   NHTSA-0230621-006-497 Partial Response II   Partial redaction            6
Report ID 13781-4192-1. From Alex Green to Ann Carlson. Date November 10, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-498 Partial Response II   NHTSA-0230621-006-500 Partial Response II   Partial redaction            6
Report ID 13781-4193-1. From Alex Green to Ann Carlson. Date November 10, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-501 Partial Response II   NHTSA-0230621-006-503 Partial Response II   Partial redaction            6
Report ID 13781-4194-1. From Alex Green to Ann Carlson. Date November 10, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-504 Partial Response II   NHTSA-0230621-006-506 Partial Response II   Partial redaction            6
Report ID 13781-4195-1. From Alex Green to Ann Carlson. Date November 10, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-507 Partial Response II   NHTSA-0230621-006-509 Partial Response II   Partial redaction            6
Report ID 13781-4196-1. From Alex Green to Ann Carlson. Date November 10, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-510 Partial Response II   NHTSA-0230621-006-512 Partial Response II   Partial redaction            6
Report ID 13781-4197-1. From Alex Green to Ann Carlson. Date November 10, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-513 Partial Response II   NHTSA-0230621-006-515 Partial Response II   Partial redaction            6
Report ID 13781-4266-1. From Alex Green to Ann Carlson. Date November 15, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-516 Partial Response II   NHTSA-0230621-006-518 Partial Response II   Partial redaction            6
Report ID 13781-4284-1. From Alex Green to Ann Carlson. Date November 17, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-519 Partial Response II   NHTSA-0230621-006-521 Partial Response II   Partial redaction            6
Report ID 13781-4288-1. From Alex Green to Ann Carlson. Date November 18, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-522 Partial Response II   NHTSA-0230621-006-524 Partial Response II   Partial redaction            6
Report ID 13781-4289-1. From Alex Green to Ann Carlson. Date November 18, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-525 Partial Response II   NHTSA-0230621-006-527 Partial Response II   Partial redaction            6
Report ID 13781-4290-1. From Alex Green to Ann Carlson. Date November 18, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-528 Partial Response II   NHTSA-0230621-006-530 Partial Response II   Partial redaction            6
Report ID 13781-4293-1. From Alex Green to Ann Carlson. Date November 19, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-531 Partial Response II   NHTSA-0230621-006-533 Partial Response II   Partial redaction            6
Report ID 13781-4338-1. From Alex Green to Ann Carlson. Date November 29, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-534 Partial Response II   NHTSA-0230621-006-536 Partial Response II   Partial redaction            6
Report ID 13781-4340-1. From Alex Green to Ann Carlson. Date December 1, 2022.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-537 Partial Response II   NHTSA-0230621-006-539 Partial Response II   Partial redaction            6
Report ID 13781-4341-1. From Alex Green to Ann Carlson. Date December 1, 2022.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-540 Partial Response II   NHTSA-0230621-006-542 Partial Response II   Partial redaction            6
Report ID 13781-4380-1. From Alex Green to Ann Carlson. Date December 8, 2022.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-543 Partial Response II   NHTSA-0230621-006-545 Partial Response II   Partial redaction            6
Report ID 13781-4381-1. From Alex Green to Ann Carlson. Date December 8, 2022.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-546 Partial Response II   NHTSA-0230621-006-548 Partial Response II   Partial redaction            6
Report ID 13781-4420-1. From Alex Green to Ann Carlson. Date December 13, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-549 Partial Response II   NHTSA-0230621-006-551 Partial Response II   Partial redaction            6
Report ID 13781-4421-1. From Alex Green to Ann Carlson. Date December 13, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                    Case 1:24-cv-01353-TSC                                                                   Document 26-4              Vaughn Index
                                                                                                                                                                                                                                                                                                                 Filed 04/02/25                                                  Page 12 of 197
                                                                                                                                                                                                                                  WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                 Record Description                                                    Start Page                                    End Page                       Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-552 Partial Response II     NHTSA-0230621-006-554 Partial Response II     Partial redaction            6
Report ID 13781-4423-1. From Alex Green to Ann Carlson. Date December 13, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-555 Partial Response II     NHTSA-0230621-006-557 Partial Response II     Partial redaction            6
Report ID 13781-4424-1. From Alex Green to Ann Carlson. Date December 13, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-558 Partial Response II     NHTSA-0230621-006-560 Partial Response II     Partial redaction            6
Report ID 13781-4479-1. From Alex Green to Ann Carlson. Date December 15, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-561 Partial Response II     NHTSA-0230621-006-563 Partial Response II     Partial redaction            6
Report ID 13781-4538-1. From Alex Green to Ann Carlson. Date December 22, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-564 Partial Response II     NHTSA-0230621-006-566 Partial Response II     Partial redaction            6
Report ID 13781-4539-1. From Alex Green to Ann Carlson. Date December 22, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-567 Partial Response II     NHTSA-0230621-006-569 Partial Response II     Partial redaction            6
Report ID 13781-4592-1. From Alex Green to Ann Carlson. Date January 5, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-570 Partial Response II     NHTSA-0230621-006-572 Partial Response II     Partial redaction            6
Report ID 13781-4637-1. From Alex Green to Ann Carlson. Date January 12, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-573 Partial Response II     NHTSA-0230621-006-575 Partial Response II     Partial redaction            6
Report ID 13781-4638-1. From Alex Green to Ann Carlson. Date January 12, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-576 Partial Response II     NHTSA-0230621-006-578 Partial Response II     Partial redaction            6
Report ID 13781-4639-1. From Alex Green to Ann Carlson. Date January 12, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-579 Partial Response II     NHTSA-0230621-006-581 Partial Response II     Partial redaction            6
Report ID 13781-4709-1. From Alex Green to Ann Carlson. Date January 17, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-582 Partial Response II     NHTSA-0230621-006-584 Partial Response II     Partial redaction            6
Report ID 13781-4747-1. From Alex Green to Ann Carlson. Date January 19, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-585 Partial Response II     NHTSA-0230621-006-587 Partial Response II     Partial redaction            6
Report ID 13781-4776-1. From Alex Green to Ann Carlson. Date January 26, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-588 Partial Response II     NHTSA-0230621-006-590 Partial Response II     Partial redaction            6
Report ID 13781-4777-1. From Alex Green to Ann Carlson. Date January 26, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-591 Partial Response II     NHTSA-0230621-006-593 Partial Response II     Partial redaction            6
Report ID 13781-4786-1. From Alex Green to Ann Carlson. Date January 31, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-594 Partial Response II     NHTSA-0230621-006-596 Partial Response II     Partial redaction            6
Report ID 13781-4787-1. From Alex Green to Ann Carlson. Date January 31, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-597 Partial Response II     NHTSA-0230621-006-599 Partial Response II     Partial redaction            6
Report ID 13781-4788-1. From Alex Green to Ann Carlson. Date January 31, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-600 Partial Response II     NHTSA-0230621-006-602 Partial Response II     Partial redaction            6
Report ID 13781-4789-1. From Alex Green to Ann Carlson. Date January 31, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-603 Partial Response II     NHTSA-0230621-006-605 Partial Response II     Partial redaction            6
Report ID 13781-4822-1. From Alex Green to Ann Carlson. Date February 9, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-606 Partial Response II     NHTSA-0230621-006-608 Partial Response II     Partial redaction            6
Report ID 13781-4823-1. From Alex Green to Ann Carlson. Date February 9, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-609 Partial Response II     NHTSA-0230621-006-611 Partial Response II     Partial redaction            6
Report ID 13781-4824-1. From Alex Green to Ann Carlson. Date February 9, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-612 Partial Response II     NHTSA-0230621-006-614 Partial Response II     Partial redaction            6
Report ID 13781-4825-1. From Alex Green to Ann Carlson. Date February 9, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-615 Partial Response II     NHTSA-0230621-006-617 Partial Response II     Partial redaction            6
Report ID 13781-4916-1. From Alex Green to Ann Carlson. Date February 23, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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2021-01 Incident Reports. From Michael Kuppersmith to Alex Green and Ryan           NHTSA-0230621-006-001 Partial Response III      NHTSA-0230621-006-007 Partial Response III    Partial redaction            6
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Stanko, cc'ing Eric Williams. Date February 1, 2024.
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                                                                                      NHTSA-0230621-006-0008 Partial Response III   NHTSA-0230621-006-0010 Partial Response III   Partial redaction            6
Report ID 13781-5442-1. From Alex Green to Ann Carlson. Date May 5, 2023.                                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0011 Partial Response III   NHTSA-0230621-006-0013 Partial Response III   Partial redaction            6
Report ID 13781-5443-1. From Alex Green to Ann Carlson. Date May 5, 2023.                                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0014 Partial Response III   NHTSA-0230621-006-0016 Partial Response III   Partial redaction            6
Report ID 13781-5444-1. From Alex Green to Ann Carlson. Date May 5, 2023.                                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                  WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                               Record Description                                                      Start Page                                    End Page                       Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-0017 Partial Response III   NHTSA-0230621-006-0019 Partial Response III   Partial redaction            6
Report ID 13781-5450-1. From Alex Green to Ann Carlson. Date May 8, 2023.                                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0020 Partial Response III   NHTSA-0230621-006-0022 Partial Response III   Partial redaction            6
Report ID 13781-5451-1. From Alex Green to Ann Carlson. Date May 8, 2023.                                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0023 Partial Response III   NHTSA-0230621-006-0025 Partial Response III   Partial redaction            6
Report ID 13781-5452-1. From Alex Green to Ann Carlson. Date May 8, 2023.                                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0026 Partial Response III   NHTSA-0230621-006-0028 Partial Response III   Partial redaction            6
Report ID 13781-5453-1. From Alex Green to Ann Carlson. Date May 8, 2023.                                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0029 Partial Response III   NHTSA-0230621-006-0031 Partial Response III   Partial redaction            6
Report ID 13781-5454-1. From Alex Green to Ann Carlson. Date May 8, 2023.                                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0032 Partial Response III   NHTSA-0230621-006-0034 Partial Response III   Partial redaction            6
Report ID 13781-5455-1. From Alex Green to Ann Carlson. Date May 8, 2023.                                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0035 Partial Response III   NHTSA-0230621-006-0037 Partial Response III   Partial redaction            6
Report ID 13781-5466-1. From Ryan Stanko to Ann Carlson. Date May 10, 2023.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0038 Partial Response III   NHTSA-0230621-006-0040 Partial Response III   Partial redaction            6
Report ID 13781-5468-1. From Ryan Stanko to Ann Carlson. Date May 10, 2023.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0041 Partial Response III   NHTSA-0230621-006-0043 Partial Response III   Partial redaction            6
Report ID 13781-5477-1. From Alex Green to Ann Carlson. Date May 11, 2023.                                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0044 Partial Response III   NHTSA-0230621-006-0046 Partial Response III   Partial redaction            6
Report ID 13781-5478-1. From Alex Green to Ann Carlson. Date May 11, 2023.                                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0047 Partial Response III   NHTSA-0230621-006-0049 Partial Response III   Partial redaction            6
Report ID 13781-5483-1. From Ryan Stanko to Ann Carlson. Date May 12, 2023.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0050 Partial Response III   NHTSA-0230621-006-0052 Partial Response III   Partial redaction            6
Report ID 13781-5609-1. From Ryan Stanko to Ann Carlson. Date May 18, 2023.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0053 Partial Response III   NHTSA-0230621-006-0055 Partial Response III   Partial redaction            6
Report ID 13781-5664-1. From Ryan Stanko to Ann Carlson. Date June 6, 2023.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0056 Partial Response III   NHTSA-0230621-006-0058 Partial Response III   Partial redaction            6
Report ID 13781-2917-1. From Ryan Stanko to Ann Carlson. Date May 9, 2022.                                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0059 Partial Response III   NHTSA-0230621-006-0061 Partial Response III   Partial redaction            6
Report ID 13781-2924-1. From Ryan Stanko to Ann Carlson. Date May 10, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0062 Partial Response III   NHTSA-0230621-006-0064 Partial Response III   Partial redaction            6
Report ID 13781-2989-1. From Ryan Stanko to Ann Carlson. Date May 16, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0065 Partial Response III   NHTSA-0230621-006-0067 Partial Response III   Partial redaction            6
Report ID 13781-2990-1. From Ryan Stanko to Ann Carlson. Date May 16, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0068 Partial Response III   NHTSA-0230621-006-0070 Partial Response III   Partial redaction            6
Report ID 13781-2991-1. From Ryan Stanko to Ann Carlson. Date May 16, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0071 Partial Response III   NHTSA-0230621-006-0073 Partial Response III   Partial redaction            6
Report ID 13781-3019-1. From Ryan Stanko to Ann Carlson. Date May 17, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0074 Partial Response III   NHTSA-0230621-006-0076 Partial Response III   Partial redaction            6
Report ID 13781-3020-1. From Ryan Stanko to Ann Carlson. Date May 17, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0077 Partial Response III   NHTSA-0230621-006-0079 Partial Response III   Partial redaction            6
Report ID 13781-3021-1. From Ryan Stanko to Ann Carlson. Date May 17, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0080 Partial Response III   NHTSA-0230621-006-0082 Partial Response III   Partial redaction            6
Report ID 13781-3026-1. From Ryan Stanko to Ann Carlson. Date May 20, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0083 Partial Response III   NHTSA-0230621-006-0085 Partial Response III   Partial redaction            6
Report ID 13781-3027-1. From Ryan Stanko to Ann Carlson. Date May 20, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0086 Partial Response III   NHTSA-0230621-006-0088 Partial Response III   Partial redaction            6
Report ID 13781-3035-1. From Ryan Stanko to Ann Carlson. Date May 23, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0089 Partial Response III   NHTSA-0230621-006-0091 Partial Response III   Partial redaction            6
Report ID 13781-3036-1. From Ryan Stanko to Ann Carlson. Date May 23, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0092 Partial Response III   NHTSA-0230621-006-0094 Partial Response III   Partial redaction            6
Report ID 13781-3037-1. From Ryan Stanko to Ann Carlson. Date May 23, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                               Record Description                                                      Start Page                                    End Page                       Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-0095 Partial Response III   NHTSA-0230621-006-0097 Partial Response III   Partial redaction            6
Report ID 13781-3039-1. From Ryan Stanko to Ann Carlson. Date May 25, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0098 Partial Response III   NHTSA-0230621-006-0100 Partial Response III   Partial redaction            6
Report ID 13781-3040-1. From Ryan Stanko to Ann Carlson. Date May 25, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0101 Partial Response III   NHTSA-0230621-006-0103 Partial Response III   Partial redaction            6
Report ID 13781-3041-1. From Ryan Stanko to Ann Carlson. Date May 25, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0104 Partial Response III   NHTSA-0230621-006-0106 Partial Response III   Partial redaction            6
Report ID 13781-3042-1. From Ryan Stanko to Ann Carlson. Date May 25, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0107 Partial Response III   NHTSA-0230621-006-0109 Partial Response III   Partial redaction            6
Report ID 13781-3058-1. From Ryan Stanko to Ann Carlson. Date May 31, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0110 Partial Response III   NHTSA-0230621-006-0112 Partial Response III   Partial redaction            6
Report ID 13781-3059-1. From Ryan Stanko to Ann Carlson. Date May 31, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0113 Partial Response III   NHTSA-0230621-006-0115 Partial Response III   Partial redaction            6
Report ID 13781-3060-1. From Ryan Stanko to Ann Carlson. Date May 31, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0116 Partial Response III   NHTSA-0230621-006-0118 Partial Response III   Partial redaction            6
Report ID 13781-3061-1. From Ryan Stanko to Ann Carlson. Date May 31, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0119 Partial Response III   NHTSA-0230621-006-0121 Partial Response III   Partial redaction            6
Report ID 13781-3062-1. From Ryan Stanko to Ann Carlson. Date May 31, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0122 Partial Response III   NHTSA-0230621-006-0124 Partial Response III   Partial redaction            6
Report ID 13781-3069-1. From Ryan Stanko to Ann Carlson. Date June 1, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0125 Partial Response III   NHTSA-0230621-006-0127 Partial Response III   Partial redaction            6
Report ID 13781-3070-1. From Ryan Stanko to Ann Carlson. Date June 1, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0128 Partial Response III   NHTSA-0230621-006-0130 Partial Response III   Partial redaction            6
Report ID 13781-3071-1. From Ryan Stanko to Ann Carlson. Date June 1, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0131 Partial Response III   NHTSA-0230621-006-0133 Partial Response III   Partial redaction            6
Report ID 13781-3074-1. From Ryan Stanko to Ann Carlson. Date June 2, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0134 Partial Response III   NHTSA-0230621-006-0136 Partial Response III   Partial redaction            6
Report ID 13781-3075-1. From Ryan Stanko to Ann Carlson. Date June 2, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0137 Partial Response III   NHTSA-0230621-006-0139 Partial Response III   Partial redaction            6
Report ID 13781-3077-1. From Ryan Stanko to Ann Carlson. Date June 3, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0140 Partial Response III   NHTSA-0230621-006-0142 Partial Response III   Partial redaction            6
Report ID 13781-3078-1. From Ryan Stanko to Ann Carlson. Date June 3, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0143 Partial Response III   NHTSA-0230621-006-0145 Partial Response III   Partial redaction            6
Report ID 13781-3079-1. From Ryan Stanko to Ann Carlson. Date June 3, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0146 Partial Response III   NHTSA-0230621-006-0148 Partial Response III   Partial redaction            6
Report ID 13781-3104-1. From Ryan Stanko to Ann Carlson. Date June 6, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0149 Partial Response III   NHTSA-0230621-006-0151 Partial Response III   Partial redaction            6
Report ID 13781-3144-1. From Ryan Stanko to Ann Carlson. Date June 11, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0152 Partial Response III   NHTSA-0230621-006-0154 Partial Response III   Partial redaction            6
Report ID 13781-3145-1. From Ryan Stanko to Ann Carlson. Date June 11, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0155 Partial Response III   NHTSA-0230621-006-0157 Partial Response III   Partial redaction            6
Report ID 13781-3153-1. From Ryan Stanko to Ann Carlson. Date June 13, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0158 Partial Response III   NHTSA-0230621-006-0160 Partial Response III   Partial redaction            6
Report ID 13781-3154-1. From Ryan Stanko to Ann Carlson. Date June 13, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0161 Partial Response III   NHTSA-0230621-006-0163 Partial Response III   Partial redaction            6
Report ID 13781-3155-1. From Ryan Stanko to Ann Carlson. Date June 13, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0164 Partial Response III   NHTSA-0230621-006-0166 Partial Response III   Partial redaction            6
Report ID 13781-3171-1. From Ryan Stanko to Ann Carlson. Date June 14, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0167 Partial Response III   NHTSA-0230621-006-0169 Partial Response III   Partial redaction            6
Report ID 13781-3231-1. From Ryan Stanko to Ann Carlson. Date June 17, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0170 Partial Response III   NHTSA-0230621-006-0172 Partial Response III   Partial redaction            6
Report ID 13781-3233-1. From Ryan Stanko to Ann Carlson. Date June 17, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                  WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




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                                                                                      NHTSA-0230621-006-0173 Partial Response III   NHTSA-0230621-006-0175 Partial Response III   Partial redaction            6
Report ID 13781-3253-1. From Ryan Stanko to Ann Carlson. Date June 22, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0176 Partial Response III   NHTSA-0230621-006-0178 Partial Response III   Partial redaction            6
Report ID 13781-3257-1. From Ryan Stanko to Ann Carlson. Date June 23, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0179 Partial Response III   NHTSA-0230621-006-0181 Partial Response III   Partial redaction            6
Report ID 13781-3258-1. From Ryan Stanko to Ann Carlson. Date June 23, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0182 Partial Response III   NHTSA-0230621-006-0184 Partial Response III   Partial redaction            6
Report ID 13781-3262-1. From Ryan Stanko to Ann Carlson. Date June 24, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0185 Partial Response III   NHTSA-0230621-006-0187 Partial Response III   Partial redaction            6
Report ID 13781-3270-1. From Ryan Stanko to Ann Carlson. Date June 27, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0188 Partial Response III   NHTSA-0230621-006-0190 Partial Response III   Partial redaction            6
Report ID 13781-3271-1. From Ryan Stanko to Ann Carlson. Date June 27, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0191 Partial Response III   NHTSA-0230621-006-0193 Partial Response III   Partial redaction            6
Report ID 13781-3272-1. From Ryan Stanko to Ann Carlson. Date June 27, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0194 Partial Response III   NHTSA-0230621-006-0196 Partial Response III   Partial redaction            6
Report ID 13781-3273-1. From Ryan Stanko to Ann Carlson. Date June 27, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0197 Partial Response III   NHTSA-0230621-006-0199 Partial Response III   Partial redaction            6
Report ID 13781-3274-1. From Ryan Stanko to Ann Carlson. Date June 27, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0200 Partial Response III   NHTSA-0230621-006-0202 Partial Response III   Partial redaction            6
Report ID 13781-3275-1. From Ryan Stanko to Ann Carlson. Date June 28, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Report ID 13781-3276-1. From Ryan Stanko to Ann Carlson. Date June 28, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0206 Partial Response III   NHTSA-0230621-006-0208 Partial Response III   Partial redaction            6
Report ID 13781-3279-1. From Ryan Stanko to Ann Carlson. Date June 30, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0209 Partial Response III   NHTSA-0230621-006-0211 Partial Response III   Partial redaction            6
Report ID 13781-3285-1. From Ryan Stanko to Ann Carlson. Date July 1, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0212 Partial Response III   NHTSA-0230621-006-0214 Partial Response III   Partial redaction            6
Report ID 13781-3288-1. From Ryan Stanko to Ann Carlson. Date July 1, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0215 Partial Response III   NHTSA-0230621-006-0217 Partial Response III   Partial redaction            6
Report ID 13781-3295-1. From Ryan Stanko to Ann Carlson. Date July 5, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0218 Partial Response III   NHTSA-0230621-006-0220 Partial Response III   Partial redaction            6
Report ID 13781-3298-1. From Ryan Stanko to Ann Carlson. Date July 5, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0221 Partial Response III   NHTSA-0230621-006-0223 Partial Response III   Partial redaction            6
Report ID 13781-3299-1. From Ryan Stanko to Ann Carlson. Date July 5, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0224 Partial Response III   NHTSA-0230621-006-0226 Partial Response III   Partial redaction            6
Report ID 13781-3300-1. From Ryan Stanko to Ann Carlson. Date July 5, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0227 Partial Response III   NHTSA-0230621-006-0229 Partial Response III   Partial redaction            6
Report ID 13781-3301-1. From Ryan Stanko to Ann Carlson. Date July 5, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0230 Partial Response III   NHTSA-0230621-006-0232 Partial Response III   Partial redaction            6
Report ID 13781-3302-1. From Ryan Stanko to Ann Carlson. Date July 5, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0233 Partial Response III   NHTSA-0230621-006-0235 Partial Response III   Partial redaction            6
Report ID 13781-3303-1. From Ryan Stanko to Ann Carlson. Date July 5, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0236 Partial Response III   NHTSA-0230621-006-0238 Partial Response III   Partial redaction            6
Report ID 13781-3304-1. From Ryan Stanko to Ann Carlson. Date July 5, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0239 Partial Response III   NHTSA-0230621-006-0241 Partial Response III   Partial redaction            6
Report ID 13781-3305-1. From Ryan Stanko to Ann Carlson. Date July 5, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0242 Partial Response III   NHTSA-0230621-006-0244 Partial Response III   Partial redaction            6
Report ID 13781-3306-1. From Ryan Stanko to Ann Carlson. Date July 5, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0245 Partial Response III   NHTSA-0230621-006-0247 Partial Response III   Partial redaction            6
Report ID 13781-3317-1. From Ryan Stanko to Ann Carlson. Date July 6, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0248 Partial Response III   NHTSA-0230621-006-0250 Partial Response III   Partial redaction            6
Report ID 13781-3318-1. From Ryan Stanko to Ann Carlson. Date July 6, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Report ID 13781-3325-1. From Ryan Stanko to Ann Carlson. Date July 7, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0254 Partial Response III   NHTSA-0230621-006-0256 Partial Response III   Partial redaction            6
Report ID 13781-3327-1. From Ryan Stanko to Ann Carlson. Date July 7, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0257 Partial Response III   NHTSA-0230621-006-0259 Partial Response III   Partial redaction            6
Report ID 13781-3331-1. From Ryan Stanko to Ann Carlson. Date July 8, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0260 Partial Response III   NHTSA-0230621-006-0262 Partial Response III   Partial redaction            6
Report ID 13781-3332-1. From Ryan Stanko to Ann Carlson. Date July 8, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0263 Partial Response III   NHTSA-0230621-006-0265 Partial Response III   Partial redaction            6
Report ID 13781-3333-1. From Ryan Stanko to Ann Carlson. Date July 8, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0266 Partial Response III   NHTSA-0230621-006-0268 Partial Response III   Partial redaction            6
Report ID 13781-3334-1. From Ryan Stanko to Ann Carlson. Date July 8, 2022.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0269 Partial Response III   NHTSA-0230621-006-0271 Partial Response III   Partial redaction            6
Report ID 13781-3358-1. From Ryan Stanko to Ann Carlson. Date July 13, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0272 Partial Response III   NHTSA-0230621-006-0274 Partial Response III   Partial redaction            6
Report ID 13781-3359-1. From Ryan Stanko to Ann Carlson. Date July 13, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0275 Partial Response III   NHTSA-0230621-006-0277 Partial Response III   Partial redaction            6
Report ID 13781-3360-1. From Ryan Stanko to Ann Carlson. Date July 13, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0278 Partial Response III   NHTSA-0230621-006-0280 Partial Response III   Partial redaction            6
Report ID 13781-3361-1. From Ryan Stanko to Ann Carlson. Date July 13, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0281 Partial Response III   NHTSA-0230621-006-0283 Partial Response III   Partial redaction            6
Report ID 13781-3362-1. From Ryan Stanko to Ann Carlson. Date July 13, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0284 Partial Response III   NHTSA-0230621-006-0286 Partial Response III   Partial redaction            6
Report ID 13781-3363-1. From Ryan Stanko to Ann Carlson. Date July 13, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0287 Partial Response III   NHTSA-0230621-006-0289 Partial Response III   Partial redaction            6
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                                                                                      NHTSA-0230621-006-0290 Partial Response III   NHTSA-0230621-006-0292 Partial Response III   Partial redaction            6
Report ID 13781-3366-1. From Ryan Stanko to Ann Carlson. Date July 13, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0293 Partial Response III   NHTSA-0230621-006-0295 Partial Response III   Partial redaction            6
Report ID 13781-3390-1. From Ryan Stanko to Ann Carlson. Date July 14, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0296 Partial Response III   NHTSA-0230621-006-0298 Partial Response III   Partial redaction            6
Report ID 13781-3424-1. From Ryan Stanko to Ann Carlson. Date July 15, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0299 Partial Response III   NHTSA-0230621-006-0301 Partial Response III   Partial redaction            6
Report ID 13781-3425-1. From Ryan Stanko to Ann Carlson. Date July 15, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0302 Partial Response III   NHTSA-0230621-006-0304 Partial Response III   Partial redaction            6
Report ID 13781-3449-1. From Ryan Stanko to Ann Carlson. Date July 17, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0305 Partial Response III   NHTSA-0230621-006-0307 Partial Response III   Partial redaction            6
Report ID 13781-3457-1. From Ryan Stanko to Ann Carlson. Date July 18, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0308 Partial Response III   NHTSA-0230621-006-0310 Partial Response III   Partial redaction            6
Report ID 13781-3458-1. From Ryan Stanko to Ann Carlson. Date July 18, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0311 Partial Response III   NHTSA-0230621-006-0313 Partial Response III   Partial redaction            6
Report ID 13781-3459-1. From Ryan Stanko to Ann Carlson. Date July 18, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0314 Partial Response III   NHTSA-0230621-006-0316 Partial Response III   Partial redaction            6
Report ID 13781-3460-1. From Ryan Stanko to Ann Carlson. Date July 18, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0317 Partial Response III   NHTSA-0230621-006-0319 Partial Response III   Partial redaction            6
Report ID 13781-3461-1. From Ryan Stanko to Ann Carlson. Date July 18, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0320 Partial Response III   NHTSA-0230621-006-0322 Partial Response III   Partial redaction            6
Report ID 13781-3462-1. From Ryan Stanko to Ann Carlson. Date July 18, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0323 Partial Response III   NHTSA-0230621-006-0325 Partial Response III   Partial redaction            6
Report ID 13781-3463-1. From Ryan Stanko to Ann Carlson. Date July 18, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0326 Partial Response III   NHTSA-0230621-006-0328 Partial Response III   Partial redaction            6
Report ID 13781-3467-1. From Ryan Stanko to Ann Carlson. Date July 19, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                  WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                               Record Description                                                      Start Page                                    End Page                       Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-0329 Partial Response III   NHTSA-0230621-006-0331 Partial Response III   Partial redaction            6
Report ID 13781-3468-1. From Ryan Stanko to Ann Carlson. Date July 19, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0332 Partial Response III   NHTSA-0230621-006-0334 Partial Response III   Partial redaction            6
Report ID 13781-3469-1. From Ryan Stanko to Ann Carlson. Date July 19, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0335 Partial Response III   NHTSA-0230621-006-0337 Partial Response III   Partial redaction            6
Report ID 13781-3480-1. From Ryan Stanko to Ann Carlson. Date July 21, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0338 Partial Response III   NHTSA-0230621-006-0340 Partial Response III   Partial redaction            6
Report ID 13781-3485-1. From Ryan Stanko to Ann Carlson. Date July 22, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0341 Partial Response III   NHTSA-0230621-006-0343 Partial Response III   Partial redaction            6
Report ID 13781-3486-1. From Ryan Stanko to Ann Carlson. Date July 25, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0344 Partial Response III   NHTSA-0230621-006-0346 Partial Response III   Partial redaction            6
Report ID 13781-3487-1. From Ryan Stanko to Ann Carlson. Date July 25, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0347 Partial Response III   NHTSA-0230621-006-0349 Partial Response III   Partial redaction            6
Report ID 13781-3489-1. From Ryan Stanko to Ann Carlson. Date July 25, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0350 Partial Response III   NHTSA-0230621-006-0352 Partial Response III   Partial redaction            6
Report ID 13781-3490-1. From Ryan Stanko to Ann Carlson. Date July 25, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0353 Partial Response III   NHTSA-0230621-006-0355 Partial Response III   Partial redaction            6
Report ID 13781-3506-1. From Ryan Stanko to Ann Carlson. Date July 26, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0356 Partial Response III   NHTSA-0230621-006-0358 Partial Response III   Partial redaction            6
Report ID 13781-3509-1. From Ryan Stanko to Ann Carlson. Date July 27, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0359 Partial Response III   NHTSA-0230621-006-0361 Partial Response III   Partial redaction            6
Report ID 13781-3510-1. From Ryan Stanko to Ann Carlson. Date July 27, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0362 Partial Response III   NHTSA-0230621-006-0364 Partial Response III   Partial redaction            6
Report ID 13781-3511-1. From Ryan Stanko to Ann Carlson. Date July 27, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0365 Partial Response III   NHTSA-0230621-006-0367 Partial Response III   Partial redaction            6
Report ID 13781-3512-1. From Ryan Stanko to Ann Carlson. Date July 29, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0368 Partial Response III   NHTSA-0230621-006-0370 Partial Response III   Partial redaction            6
Report ID 13781-3513-1. From Ryan Stanko to Ann Carlson. Date July 29, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0371 Partial Response III   NHTSA-0230621-006-0373 Partial Response III   Partial redaction            6
Report ID 13781-3517-1. From Ryan Stanko to Ann Carlson. Date August 1, 2022.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0374 Partial Response III   NHTSA-0230621-006-0376 Partial Response III   Partial redaction            6
Report ID 13781-3518-1. From Ryan Stanko to Ann Carlson. Date August 1, 2022.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0377 Partial Response III   NHTSA-0230621-006-0379 Partial Response III   Partial redaction            6
Report ID 13781-3529-1. From Ryan Stanko to Ann Carlson. Date August 2, 2022.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0380 Partial Response III   NHTSA-0230621-006-0382 Partial Response III   Partial redaction            6
Report ID 13781-3543-1. From Ryan Stanko to Ann Carlson. Date August 5, 2022.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0383 Partial Response III   NHTSA-0230621-006-0385 Partial Response III   Partial redaction            6
Report ID 13781-3544-1. From Ryan Stanko to Ann Carlson. Date August 5, 2022.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0386 Partial Response III   NHTSA-0230621-006-0388 Partial Response III   Partial redaction            6
Report ID 13781-3552-1. From Ryan Stanko to Ann Carlson. Date August 8, 2022.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0389 Partial Response III   NHTSA-0230621-006-0391 Partial Response III   Partial redaction            6
Report ID 13781-3553-1. From Ryan Stanko to Ann Carlson. Date August 8, 2022.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0392 Partial Response III   NHTSA-0230621-006-0394 Partial Response III   Partial redaction            6
Report ID 13781-3554-1. From Ryan Stanko to Ann Carlson. Date August 8, 2022.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0395 Partial Response III   NHTSA-0230621-006-0397 Partial Response III   Partial redaction            6
Report ID 13781-3555-1. From Ryan Stanko to Ann Carlson. Date August 8, 2022.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0398 Partial Response III   NHTSA-0230621-006-0400 Partial Response III   Partial redaction            6
Report ID 13781-3565-1. From Ryan Stanko to Ann Carlson. Date August 10, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0401 Partial Response III   NHTSA-0230621-006-0403 Partial Response III   Partial redaction            6
Report ID 13781-3620-1. From Ryan Stanko to Ann Carlson. Date August 15, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0404 Partial Response III   NHTSA-0230621-006-0406 Partial Response III   Partial redaction            6
Report ID 13781-3621-1. From Ryan Stanko to Ann Carlson. Date August 15, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                  WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                               Record Description                                                      Start Page                                    End Page                       Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-0407 Partial Response III   NHTSA-0230621-006-0409 Partial Response III   Partial redaction            6
Report ID 13781-3622-1. From Ryan Stanko to Ann Carlson. Date August 15, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0410 Partial Response III   NHTSA-0230621-006-0412 Partial Response III   Partial redaction            6
Report ID 13781-3673-1. From Ryan Stanko to Ann Carlson. Date August 16, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0413 Partial Response III   NHTSA-0230621-006-0415 Partial Response III   Partial redaction            6
Report ID 13781-3674-1. From Ryan Stanko to Ann Carlson. Date August 16, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0416 Partial Response III   NHTSA-0230621-006-0418 Partial Response III   Partial redaction            6
Report ID 13781-3675-1. From Ryan Stanko to Ann Carlson. Date August 16, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0419 Partial Response III   NHTSA-0230621-006-0421 Partial Response III   Partial redaction            6
Report ID 13781-3677-1. From Ryan Stanko to Ann Carlson. Date August 17, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0422 Partial Response III   NHTSA-0230621-006-0424 Partial Response III   Partial redaction            6
Report ID 13781-3680-1. From Ryan Stanko to Ann Carlson. Date August 18, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0425 Partial Response III   NHTSA-0230621-006-0427 Partial Response III   Partial redaction            6
Report ID 13781-3700-1. From Ryan Stanko to Ann Carlson. Date August 23, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0428 Partial Response III   NHTSA-0230621-006-0430 Partial Response III   Partial redaction            6
Report ID 13781-3701-1. From Ryan Stanko to Ann Carlson. Date August 23, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0431 Partial Response III   NHTSA-0230621-006-0433 Partial Response III   Partial redaction            6
Report ID 13781-3702-1. From Ryan Stanko to Ann Carlson. Date August 23, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0434 Partial Response III   NHTSA-0230621-006-0436 Partial Response III   Partial redaction            6
Report ID 13781-3707-1. From Ryan Stanko to Ann Carlson. Date August 25, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0437 Partial Response III   NHTSA-0230621-006-0439 Partial Response III   Partial redaction            6
Report ID 13781-3708-1. From Ryan Stanko to Ann Carlson. Date August 25, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0440 Partial Response III   NHTSA-0230621-006-0442 Partial Response III   Partial redaction            6
Report ID 13781-3709-1. From Ryan Stanko to Ann Carlson. Date August 25, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0443 Partial Response III   NHTSA-0230621-006-0445 Partial Response III   Partial redaction            6
Report ID 13781-3714-1. From Ryan Stanko to Ann Carlson. Date August 29, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0446 Partial Response III   NHTSA-0230621-006-0448 Partial Response III   Partial redaction            6
Report ID 13781-3715-1. From Ryan Stanko to Ann Carlson. Date August 29, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0449 Partial Response III   NHTSA-0230621-006-0451 Partial Response III   Partial redaction            6
Report ID 13781-3716-1. From Ryan Stanko to Ann Carlson. Date August 29, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0452 Partial Response III   NHTSA-0230621-006-0454 Partial Response III   Partial redaction            6
Report ID 13781-3717-1. From Ryan Stanko to Ann Carlson. Date August 29, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0455 Partial Response III   NHTSA-0230621-006-0457 Partial Response III   Partial redaction            6
Report ID 13781-3718-1. From Ryan Stanko to Ann Carlson. Date August 29, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0458 Partial Response III   NHTSA-0230621-006-0460 Partial Response III   Partial redaction            6
Report ID 13781-3732-1. From Ryan Stanko to Ann Carlson. Date September 1, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0461 Partial Response III   NHTSA-0230621-006-0463 Partial Response III   Partial redaction            6
Report ID 13781-3734-1. From Ryan Stanko to Ann Carlson. Date September 1, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0464 Partial Response III   NHTSA-0230621-006-0466 Partial Response III   Partial redaction            6
Report ID 13781-3741-1. From Ryan Stanko to Ann Carlson. Date September 6, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0467 Partial Response III   NHTSA-0230621-006-0469 Partial Response III   Partial redaction            6
Report ID 13781-3742-1. From Ryan Stanko to Ann Carlson. Date September 6, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0470 Partial Response III   NHTSA-0230621-006-0472 Partial Response III   Partial redaction            6
Report ID 13781-3743-1. From Ryan Stanko to Ann Carlson. Date September 6, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0473 Partial Response III   NHTSA-0230621-006-0475 Partial Response III   Partial redaction            6
Report ID 13781-3745-1. From Ryan Stanko to Ann Carlson. Date September 6, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0476 Partial Response III   NHTSA-0230621-006-0478 Partial Response III   Partial redaction            6
Report ID 13781-3746-1. From Ryan Stanko to Ann Carlson. Date September 6, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0479 Partial Response III   NHTSA-0230621-006-0481 Partial Response III   Partial redaction            6
Report ID 13781-3747-1. From Ryan Stanko to Ann Carlson. Date September 6, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0482 Partial Response III   NHTSA-0230621-006-0484 Partial Response III   Partial redaction            6
Report ID 13781-3765-1. From Ryan Stanko to Ann Carlson. Date September 8, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                    Case 1:24-cv-01353-TSC                                                                   Document 26-4              Vaughn Index
                                                                                                                                                                                                                                                                                                                 Filed 04/02/25                                                  Page 19 of 197
                                                                                                                                                                                                                                  WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                               Record Description                                                      Start Page                                    End Page                       Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-0485 Partial Response III   NHTSA-0230621-006-0487 Partial Response III   Partial redaction            6
Report ID 13781-3771-1. From Ryan Stanko to Ann Carlson. Date September 9, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Report ID 13781-3789-1. From Ryan Stanko to Ann Carlson. Date September 12,           NHTSA-0230621-006-0488 Partial Response III   NHTSA-0230621-006-0490 Partial Response III   Partial redaction            6
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Report ID 13781-3790-1. From Ryan Stanko to Ann Carlson. Date September 12,           NHTSA-0230621-006-0491 Partial Response III   NHTSA-0230621-006-0493 Partial Response III   Partial redaction            6
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Report ID 13781-3791-1. From Ryan Stanko to Ann Carlson. Date September 12,           NHTSA-0230621-006-0494 Partial Response III   NHTSA-0230621-006-0496 Partial Response III   Partial redaction            6
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Report ID 13781-3792-1. From Ryan Stanko to Ann Carlson. Date September 12,           NHTSA-0230621-006-0497 Partial Response III   NHTSA-0230621-006-0499 Partial Response III   Partial redaction            6
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Report ID 13781-3793-1. From Ryan Stanko to Ann Carlson. Date September 12,           NHTSA-0230621-006-0500 Partial Response III   NHTSA-0230621-006-0502 Partial Response III   Partial redaction            6
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Report ID 13781-3847-1. From Ryan Stanko to Ann Carlson. Date September 15,           NHTSA-0230621-006-0503 Partial Response III   NHTSA-0230621-006-0505 Partial Response III   Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Report ID 13781-3895-1. From Ryan Stanko to Ann Carlson. Date September 19,           NHTSA-0230621-006-0506 Partial Response III   NHTSA-0230621-006-0508 Partial Response III   Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Report ID 13781-3896-1. From Ryan Stanko to Ann Carlson. Date September 19,           NHTSA-0230621-006-0509 Partial Response III   NHTSA-0230621-006-0511 Partial Response III   Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Report ID 13781-3899-1. From Ryan Stanko to Ann Carlson. Date September 20,           NHTSA-0230621-006-0512 Partial Response III   NHTSA-0230621-006-0514 Partial Response III   Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Report ID 13781-3900-1. From Ryan Stanko to Ann Carlson. Date September 20,           NHTSA-0230621-006-0515 Partial Response III   NHTSA-0230621-006-0517 Partial Response III   Partial redaction            6
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Report ID 13781-3905-1. From Ryan Stanko to Ann Carlson. Date September 21,           NHTSA-0230621-006-0518 Partial Response III   NHTSA-0230621-006-0520 Partial Response III   Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Report ID 13781-3910-1. From Ryan Stanko to Ann Carlson. Date September 21,           NHTSA-0230621-006-0521 Partial Response III   NHTSA-0230621-006-0523 Partial Response III   Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Report ID 13781-3921-1. From Ryan Stanko to Ann Carlson. Date September 27,           NHTSA-0230621-006-0524 Partial Response III   NHTSA-0230621-006-0526 Partial Response III   Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Report ID 13781-3922-1. From Ryan Stanko to Ann Carlson. Date September 27,           NHTSA-0230621-006-0527 Partial Response III   NHTSA-0230621-006-0529 Partial Response III   Partial redaction            6
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Report ID 13781-3923-1. From Ryan Stanko to Ann Carlson. Date September 27,           NHTSA-0230621-006-0530 Partial Response III   NHTSA-0230621-006-0532 Partial Response III   Partial redaction            6
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Report ID 13781-3924-1. From Ryan Stanko to Ann Carlson. Date September 27,           NHTSA-0230621-006-0533 Partial Response III   NHTSA-0230621-006-0535 Partial Response III   Partial redaction            6
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Report ID 13781-3925-1. From Ryan Stanko to Ann Carlson. Date September 27,           NHTSA-0230621-006-0536 Partial Response III   NHTSA-0230621-006-0538 Partial Response III   Partial redaction            6
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Report ID 13781-3926-1. From Ryan Stanko to Ann Carlson. Date September 27,           NHTSA-0230621-006-0539 Partial Response III   NHTSA-0230621-006-0541 Partial Response III   Partial redaction            6
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Report ID 13781-3927-1. From Ryan Stanko to Ann Carlson. Date September 27,           NHTSA-0230621-006-0542 Partial Response III   NHTSA-0230621-006-0544 Partial Response III   Partial redaction            6
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Report ID 13781-3928-1. From Ryan Stanko to Ann Carlson. Date September 27,           NHTSA-0230621-006-0545 Partial Response III   NHTSA-0230621-006-0547 Partial Response III   Partial redaction            6
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Report ID 13781-3929-1. From Ryan Stanko to Ann Carlson. Date September 27,           NHTSA-0230621-006-0548 Partial Response III   NHTSA-0230621-006-0550 Partial Response III   Partial redaction            6
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Report ID 13781-3930-1. From Ryan Stanko to Ann Carlson. Date September 27,           NHTSA-0230621-006-0551 Partial Response III   NHTSA-0230621-006-0553 Partial Response III   Partial redaction            6
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Report ID 13781-3934-1. From Ryan Stanko to Ann Carlson. Date September 28,           NHTSA-0230621-006-0554 Partial Response III   NHTSA-0230621-006-0556 Partial Response III   Partial redaction            6
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Report ID 13781-3935-1. From Ryan Stanko to Ann Carlson. Date September 28,           NHTSA-0230621-006-0557 Partial Response III   NHTSA-0230621-006-0559 Partial Response III   Partial redaction            6
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Report ID 13781-3936-1. From Ryan Stanko to Ann Carlson. Date September 29,           NHTSA-0230621-006-0560 Partial Response III   NHTSA-0230621-006-0562 Partial Response III   Partial redaction            6
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                                                                                                                                                    Case 1:24-cv-01353-TSC                                                                   Document 26-4              Vaughn Index
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                                                                                                                                                                                                                                  WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                               Record Description                                                      Start Page                                    End Page                       Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-0563 Partial Response III   NHTSA-0230621-006-0565 Partial Response III   Partial redaction            6
Report ID 13781-3939-1. From Ryan Stanko to Ann Carlson. Date October 1, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0566 Partial Response III   NHTSA-0230621-006-0568 Partial Response III   Partial redaction            6
Report ID 13781-3945-1. From Ryan Stanko to Ann Carlson. Date October 4, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0569 Partial Response III   NHTSA-0230621-006-0571 Partial Response III   Partial redaction            6
Report ID 13781-3946-1. From Ryan Stanko to Ann Carlson. Date October 4, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0572 Partial Response III   NHTSA-0230621-006-0574 Partial Response III   Partial redaction            6
Report ID 13781-3947-1. From Ryan Stanko to Ann Carlson. Date October 4, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0575 Partial Response III   NHTSA-0230621-006-0577 Partial Response III   Partial redaction            6
Report ID 13781-3948-1. From Ryan Stanko to Ann Carlson. Date October 4, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0578 Partial Response III   NHTSA-0230621-006-0580 Partial Response III   Partial redaction            6
Report ID 13781-3949-1. From Ryan Stanko to Ann Carlson. Date October 4, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0581 Partial Response III   NHTSA-0230621-006-0583 Partial Response III   Partial redaction            6
Report ID 13781-3967-1. From Ryan Stanko to Ann Carlson. Date October 7, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0584 Partial Response III   NHTSA-0230621-006-0586 Partial Response III   Partial redaction            6
Report ID 13781-3976-1. From Ryan Stanko to Ann Carlson. Date October 11, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0587 Partial Response III   NHTSA-0230621-006-0589 Partial Response III   Partial redaction            6
Report ID 13781-3987-1. From Ryan Stanko to Ann Carlson. Date October 11, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0590 Partial Response III   NHTSA-0230621-006-0592 Partial Response III   Partial redaction            6
Report ID 13781-3988-1. From Ryan Stanko to Ann Carlson. Date October 11, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0593 Partial Response III   NHTSA-0230621-006-0595 Partial Response III   Partial redaction            6
Report ID 13781-3992-1. From Ryan Stanko to Ann Carlson. Date October 11, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0596 Partial Response III   NHTSA-0230621-006-0598 Partial Response III   Partial redaction            6
Report ID 13781-3993-1. From Ryan Stanko to Ann Carlson. Date October 11, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0599 Partial Response III   NHTSA-0230621-006-0601 Partial Response III   Partial redaction            6
Report ID 13781-4004-1. From Ryan Stanko to Ann Carlson. Date October 13, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0602 Partial Response III   NHTSA-0230621-006-0604 Partial Response III   Partial redaction            6
Report ID 13781-4065-1. From Ryan Stanko to Ann Carlson. Date October 17, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0605 Partial Response III   NHTSA-0230621-006-0607 Partial Response III   Partial redaction            6
Report ID 13781-4066-1. From Ryan Stanko to Ann Carlson. Date October 17, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0608 Partial Response III   NHTSA-0230621-006-0610 Partial Response III   Partial redaction            6
Report ID 13781-4067-1. From Ryan Stanko to Ann Carlson. Date October 17, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0611 Partial Response III   NHTSA-0230621-006-0613 Partial Response III   Partial redaction            6
Report ID 13781-4068-1. From Ryan Stanko to Ann Carlson. Date October 17, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0614 Partial Response III   NHTSA-0230621-006-0616 Partial Response III   Partial redaction            6
Report ID 13781-4069-1. From Ryan Stanko to Ann Carlson. Date October 17, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0617 Partial Response III   NHTSA-0230621-006-0619 Partial Response III   Partial redaction            6
Report ID 13781-4070-1. From Ryan Stanko to Ann Carlson. Date October 17, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0620 Partial Response III   NHTSA-0230621-006-0622 Partial Response III   Partial redaction            6
Report ID 13781-4076-1. From Ryan Stanko to Ann Carlson. Date October 18, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0623 Partial Response III   NHTSA-0230621-006-0625 Partial Response III   Partial redaction            6
Report ID 13781-4084-1. From Ryan Stanko to Ann Carlson. Date October 19, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0626 Partial Response III   NHTSA-0230621-006-0628 Partial Response III   Partial redaction            6
Report ID 13781-4085-1. From Ryan Stanko to Ann Carlson. Date October 19, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0629 Partial Response III   NHTSA-0230621-006-0631 Partial Response III   Partial redaction            6
Report ID 13781-4086-1. From Ryan Stanko to Ann Carlson. Date October 19, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0632 Partial Response III   NHTSA-0230621-006-0634 Partial Response III   Partial redaction            6
Report ID 13781-4096-1. From Ryan Stanko to Ann Carlson. Date October 24, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0635 Partial Response III   NHTSA-0230621-006-0637 Partial Response III   Partial redaction            6
Report ID 13781-4097-1. From Ryan Stanko to Ann Carlson. Date October 24, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0638 Partial Response III   NHTSA-0230621-006-0640 Partial Response III   Partial redaction            6
Report ID 13781-4098-1. From Ryan Stanko to Ann Carlson. Date October 24, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                  WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                               Record Description                                                      Start Page                                    End Page                       Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-0641 Partial Response III   NHTSA-0230621-006-0643 Partial Response III   Partial redaction            6
Report ID 13781-4099-1. From Ryan Stanko to Ann Carlson. Date October 24, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0644 Partial Response III   NHTSA-0230621-006-0646 Partial Response III   Partial redaction            6
Report ID 13781-4100-1. From Ryan Stanko to Ann Carlson. Date October 24, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0647 Partial Response III   NHTSA-0230621-006-0649 Partial Response III   Partial redaction            6
Report ID 13781-4101-1. From Ryan Stanko to Ann Carlson. Date October 24, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0650 Partial Response III   NHTSA-0230621-006-0652 Partial Response III   Partial redaction            6
Report ID 13781-4102-1. From Ryan Stanko to Ann Carlson. Date October 24, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0653 Partial Response III   NHTSA-0230621-006-0655 Partial Response III   Partial redaction            6
Report ID 13781-4103-1. From Ryan Stanko to Ann Carlson. Date October 24, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0656 Partial Response III   NHTSA-0230621-006-0658 Partial Response III   Partial redaction            6
Report ID 13781-4105-1. From Ryan Stanko to Ann Carlson. Date October 25, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0659 Partial Response III   NHTSA-0230621-006-0661 Partial Response III   Partial redaction            6
Report ID 13781-4106-1. From Ryan Stanko to Ann Carlson. Date October 25, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0662 Partial Response III   NHTSA-0230621-006-0664 Partial Response III   Partial redaction            6
Report ID 13781-4107-1. From Ryan Stanko to Ann Carlson. Date October 25, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0665 Partial Response III   NHTSA-0230621-006-0667 Partial Response III   Partial redaction            6
Report ID 13781-4118-1. From Ryan Stanko to Ann Carlson. Date October 26, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0668 Partial Response III   NHTSA-0230621-006-0670 Partial Response III   Partial redaction            6
Report ID 13781-4120-1. From Ryan Stanko to Ann Carlson. Date October 27, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0671 Partial Response III   NHTSA-0230621-006-0673 Partial Response III   Partial redaction            6
Report ID 13781-4121-1. From Ryan Stanko to Ann Carlson. Date October 27, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0674 Partial Response III   NHTSA-0230621-006-0676 Partial Response III   Partial redaction            6
Report ID 13781-4122-1. From Ryan Stanko to Ann Carlson. Date October 27, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0677 Partial Response III   NHTSA-0230621-006-0679 Partial Response III   Partial redaction            6
Report ID 13781-4124-1. From Ryan Stanko to Ann Carlson. Date October 29, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0680 Partial Response III   NHTSA-0230621-006-0682 Partial Response III   Partial redaction            6
Report ID 13781-4125-1. From Ryan Stanko to Ann Carlson. Date October 29, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0683 Partial Response III   NHTSA-0230621-006-0685 Partial Response III   Partial redaction            6
Report ID 13781-4129-1. From Ryan Stanko to Ann Carlson. Date October 31, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0686 Partial Response III   NHTSA-0230621-006-0688 Partial Response III   Partial redaction            6
Report ID 13781-4153-1. From Ryan Stanko to Ann Carlson. Date November 2, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0689 Partial Response III   NHTSA-0230621-006-0691 Partial Response III   Partial redaction            6
Report ID 13781-4155-1. From Ryan Stanko to Ann Carlson. Date November 3, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0692 Partial Response III   NHTSA-0230621-006-0694 Partial Response III   Partial redaction            6
Report ID 13781-4156-1. From Ryan Stanko to Ann Carlson. Date November 3, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0695 Partial Response III   NHTSA-0230621-006-0697 Partial Response III   Partial redaction            6
Report ID 13781-4166-1. From Ryan Stanko to Ann Carlson. Date November 7, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Report ID 13781-4199-1. From Ryan Stanko to Ann Carlson. Date November 10,            NHTSA-0230621-006-0698 Partial Response III   NHTSA-0230621-006-0700 Partial Response III   Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Report ID 13781-4205-1. From Ryan Stanko to Ann Carlson. Date November 14,            NHTSA-0230621-006-0701 Partial Response III   NHTSA-0230621-006-0703 Partial Response III   Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Report ID 13781-4206-1. From Ryan Stanko to Ann Carlson. Date November 14,            NHTSA-0230621-006-0704 Partial Response III   NHTSA-0230621-006-0706 Partial Response III   Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0707 Partial Response III   NHTSA-0230621-006-0709 Partial Response III   Partial redaction            6
Report ID 13781-4265-1. From Alex Green to Ann Carlson. Date November 15, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Report ID 13781-4279-1. From Ryan Stanko to Ann Carlson. Date November 16,            NHTSA-0230621-006-0710 Partial Response III   NHTSA-0230621-006-0712 Partial Response III   Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Report ID 13781-4280-1. From Ryan Stanko to Ann Carlson. Date November 16,            NHTSA-0230621-006-0713 Partial Response III   NHTSA-0230621-006-0715 Partial Response III   Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Report ID 13781-4297-1. From Ryan Stanko to Ann Carlson. Date November 21,            NHTSA-0230621-006-0716 Partial Response III   NHTSA-0230621-006-0718 Partial Response III   Partial redaction            6
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                                                                                                                                                                                                                                  WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                               Record Description                                                      Start Page                                    End Page                       Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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Report ID 13781-4298-1. From Ryan Stanko to Ann Carlson. Date November 21,            NHTSA-0230621-006-0719 Partial Response III   NHTSA-0230621-006-0721 Partial Response III   Partial redaction            6
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Report ID 13781-4299-1. From Ryan Stanko to Ann Carlson. Date November 21,            NHTSA-0230621-006-0722 Partial Response III   NHTSA-0230621-006-0724 Partial Response III   Partial redaction            6
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Report ID 13781-4300-1. From Ryan Stanko to Ann Carlson. Date November 21,            NHTSA-0230621-006-0725 Partial Response III   NHTSA-0230621-006-0727 Partial Response III   Partial redaction            6
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Report ID 13781-4301-1. From Ryan Stanko to Ann Carlson. Date November 21,            NHTSA-0230621-006-0728 Partial Response III   NHTSA-0230621-006-0730 Partial Response III   Partial redaction            6
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Report ID 13781-4302-1. From Ryan Stanko to Ann Carlson. Date November 21,            NHTSA-0230621-006-0731 Partial Response III   NHTSA-0230621-006-0733 Partial Response III   Partial redaction            6
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Report ID 13781-4304-1. From Ryan Stanko to Ann Carlson. Date November 22,            NHTSA-0230621-006-0734 Partial Response III   NHTSA-0230621-006-0736 Partial Response III   Partial redaction            6
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Report ID 13781-4305-1. From Ryan Stanko to Ann Carlson. Date November 22,            NHTSA-0230621-006-0737 Partial Response III   NHTSA-0230621-006-0739 Partial Response III   Partial redaction            6
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Report ID 13781-4327-1. From Ryan Stanko to Ann Carlson. Date November 23,            NHTSA-0230621-006-0740 Partial Response III   NHTSA-0230621-006-0742 Partial Response III   Partial redaction            6
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Report ID 13781-4328-1. From Ryan Stanko to Ann Carlson. Date November 23,            NHTSA-0230621-006-0743 Partial Response III   NHTSA-0230621-006-0745 Partial Response III   Partial redaction            6
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Report ID 13781-4333-1. From Ryan Stanko to Ann Carlson. Date November 29,            NHTSA-0230621-006-0746 Partial Response III   NHTSA-0230621-006-0748 Partial Response III   Partial redaction            6
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Report ID 13781-4334-1. From Ryan Stanko to Ann Carlson. Date November 29,            NHTSA-0230621-006-0749 Partial Response III   NHTSA-0230621-006-0751 Partial Response III   Partial redaction            6
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Report ID 13781-4335-1. From Ryan Stanko to Ann Carlson. Date November 29,            NHTSA-0230621-006-0752 Partial Response III   NHTSA-0230621-006-0754 Partial Response III   Partial redaction            6
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Report ID 13781-4336-1. From Ryan Stanko to Ann Carlson. Date November 29,            NHTSA-0230621-006-0755 Partial Response III   NHTSA-0230621-006-0757 Partial Response III   Partial redaction            6
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Report ID 13781-4337-1. From Ryan Stanko to Ann Carlson. Date November 29,            NHTSA-0230621-006-0758 Partial Response III   NHTSA-0230621-006-0760 Partial Response III   Partial redaction            6
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                                                                                      NHTSA-0230621-006-0761 Partial Response III   NHTSA-0230621-006-0763 Partial Response III   Partial redaction            6
Report ID 13781-4344-1. From Ryan Stanko to Ann Carlson. Date December 2, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0764 Partial Response III   NHTSA-0230621-006-0766 Partial Response III   Partial redaction            6
Report ID 13781-4353-1. From Ryan Stanko to Ann Carlson. Date December 5, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0767 Partial Response III   NHTSA-0230621-006-0769 Partial Response III   Partial redaction            6
Report ID 13781-4354-1. From Ryan Stanko to Ann Carlson. Date December 5, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0770 Partial Response III   NHTSA-0230621-006-0772 Partial Response III   Partial redaction            6
Report ID 13781-4355-1. From Ryan Stanko to Ann Carlson. Date December 5, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0773 Partial Response III   NHTSA-0230621-006-0775 Partial Response III   Partial redaction            6
Report ID 13781-4356-1. From Ryan Stanko to Ann Carlson. Date December 5, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0776 Partial Response III   NHTSA-0230621-006-0778 Partial Response III   Partial redaction            6
Report ID 13781-4357-1. From Ryan Stanko to Ann Carlson. Date December 5, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0779 Partial Response III   NHTSA-0230621-006-0781 Partial Response III   Partial redaction            6
Report ID 13781-4358-1. From Ryan Stanko to Ann Carlson. Date December 5, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0782 Partial Response III   NHTSA-0230621-006-0784 Partial Response III   Partial redaction            6
Report ID 13781-4359-1. From Ryan Stanko to Ann Carlson. Date December 5, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0785 Partial Response III   NHTSA-0230621-006-0787 Partial Response III   Partial redaction            6
Report ID 13781-4361-1. From Ryan Stanko to Ann Carlson. Date December 5, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0788 Partial Response III   NHTSA-0230621-006-0790 Partial Response III   Partial redaction            6
Report ID 13781-4376-1. From Ryan Stanko to Ann Carlson. Date December 7, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0791 Partial Response III   NHTSA-0230621-006-0793 Partial Response III   Partial redaction            6
Report ID 13781-4387-1. From Ryan Stanko to Ann Carlson. Date December 9, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Report ID 13781-4402-1. From Ryan Stanko to Ann Carlson. Date December 12,            NHTSA-0230621-006-0794 Partial Response III   NHTSA-0230621-006-0796 Partial Response III   Partial redaction            6
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                                                                                                                                                    Case 1:24-cv-01353-TSC                                                                   Document 26-4              Vaughn Index
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                                                                                                                                                                                                                                  WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                               Record Description                                                      Start Page                                    End Page                       Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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Report ID 13781-4403-1. From Ryan Stanko to Ann Carlson. Date December 12,            NHTSA-0230621-006-0797 Partial Response III   NHTSA-0230621-006-0799 Partial Response III   Partial redaction            6
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Report ID 13781-4404-1. From Ryan Stanko to Ann Carlson. Date December 12,            NHTSA-0230621-006-0800 Partial Response III   NHTSA-0230621-006-0802 Partial Response III   Partial redaction            6
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Report ID 13781-4407-1. From Ryan Stanko to Ann Carlson. Date December 12,            NHTSA-0230621-006-0803 Partial Response III   NHTSA-0230621-006-0805 Partial Response III   Partial redaction            6
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Report ID 13781-4408-1. From Ryan Stanko to Ann Carlson. Date December 12,            NHTSA-0230621-006-0806 Partial Response III   NHTSA-0230621-006-0808 Partial Response III   Partial redaction            6
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Report ID 13781-4409-1. From Ryan Stanko to Ann Carlson. Date December 12,            NHTSA-0230621-006-0809 Partial Response III   NHTSA-0230621-006-0811 Partial Response III   Partial redaction            6
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Report ID 13781-4410-1. From Ryan Stanko to Ann Carlson. Date December 12,            NHTSA-0230621-006-0812 Partial Response III   NHTSA-0230621-006-0814 Partial Response III   Partial redaction            6
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Report ID 13781-4411-1. From Ryan Stanko to Ann Carlson. Date December 12,            NHTSA-0230621-006-0815 Partial Response III   NHTSA-0230621-006-0817 Partial Response III   Partial redaction            6
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Report ID 13781-4412-1. From Ryan Stanko to Ann Carlson. Date December 12,            NHTSA-0230621-006-0818 Partial Response III   NHTSA-0230621-006-0820 Partial Response III   Partial redaction            6
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Report ID 13781-4413-1. From Ryan Stanko to Ann Carlson. Date December 12,            NHTSA-0230621-006-0821 Partial Response III   NHTSA-0230621-006-0823 Partial Response III   Partial redaction            6
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Report ID 13781-4414-1. From Ryan Stanko to Ann Carlson. Date December 12,            NHTSA-0230621-006-0824 Partial Response III   NHTSA-0230621-006-0826 Partial Response III   Partial redaction            6
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Report ID 13781-4419-1. From Ryan Stanko to Ann Carlson. Date December 13,            NHTSA-0230621-006-0827 Partial Response III   NHTSA-0230621-006-0829 Partial Response III   Partial redaction            6
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Report ID 13781-4440-1. From Ryan Stanko to Ann Carlson. Date December 14,            NHTSA-0230621-006-0830 Partial Response III   NHTSA-0230621-006-0832 Partial Response III   Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Report ID 13781-4443-1. From Ryan Stanko to Ann Carlson. Date December 14,            NHTSA-0230621-006-0833 Partial Response III   NHTSA-0230621-006-0835 Partial Response III   Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Report ID 13781-4444-1. From Ryan Stanko to Ann Carlson. Date December 14,            NHTSA-0230621-006-0836 Partial Response III   NHTSA-0230621-006-0838 Partial Response III   Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Report ID 13781-4445-1. From Ryan Stanko to Ann Carlson. Date December 14,            NHTSA-0230621-006-0839 Partial Response III   NHTSA-0230621-006-0841 Partial Response III   Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Report ID 13781-4446-1. From Ryan Stanko to Ann Carlson. Date December 14,            NHTSA-0230621-006-0842 Partial Response III   NHTSA-0230621-006-0844 Partial Response III   Partial redaction            6
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Report ID 13781-4501-1. From Ryan Stanko to Ann Carlson. Date December 16,            NHTSA-0230621-006-0845 Partial Response III   NHTSA-0230621-006-0847 Partial Response III   Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Report ID 13781-4502-1. From Ryan Stanko to Ann Carlson. Date December 16,            NHTSA-0230621-006-0848 Partial Response III   NHTSA-0230621-006-0850 Partial Response III   Partial redaction            6
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Report ID 13781-4503-1. From Ryan Stanko to Ann Carlson. Date December 16,            NHTSA-0230621-006-0851 Partial Response III   NHTSA-0230621-006-0853 Partial Response III   Partial redaction            6
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Report ID 13781-4504-1. From Ryan Stanko to Ann Carlson. Date December 16,            NHTSA-0230621-006-0854 Partial Response III   NHTSA-0230621-006-0856 Partial Response III   Partial redaction            6
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Report ID 13781-4513-1. From Ryan Stanko to Ann Carlson. Date December 19,            NHTSA-0230621-006-0857 Partial Response III   NHTSA-0230621-006-0859 Partial Response III   Partial redaction            6
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Report ID 13781-4542-1. From Ryan Stanko to Ann Carlson. Date December 23,            NHTSA-0230621-006-0860 Partial Response III   NHTSA-0230621-006-0862 Partial Response III   Partial redaction            6
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Report ID 13781-4543-1. From Ryan Stanko to Ann Carlson. Date December 23,            NHTSA-0230621-006-0863 Partial Response III   NHTSA-0230621-006-0865 Partial Response III   Partial redaction            6
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Report ID 13781-4552-1. From Ryan Stanko to Ann Carlson. Date December 26,            NHTSA-0230621-006-0866 Partial Response III   NHTSA-0230621-006-0868 Partial Response III   Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Report ID 13781-4556-1. From Ryan Stanko to Ann Carlson. Date December 28,            NHTSA-0230621-006-0869 Partial Response III   NHTSA-0230621-006-0871 Partial Response III   Partial redaction            6
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Report ID 13781-4557-1. From Ryan Stanko to Ann Carlson. Date December 28,            NHTSA-0230621-006-0872 Partial Response III   NHTSA-0230621-006-0874 Partial Response III   Partial redaction            6
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                                                                                                                                                                                                                                  WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                               Record Description                                                      Start Page                                    End Page                       Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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Report ID 13781-4558-1. From Ryan Stanko to Ann Carlson. Date December 28,            NHTSA-0230621-006-0875 Partial Response III   NHTSA-0230621-006-0877 Partial Response III   Partial redaction            6
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Report ID 13781-4559-1. From Ryan Stanko to Ann Carlson. Date December 28,            NHTSA-0230621-006-0878 Partial Response III   NHTSA-0230621-006-0880 Partial Response III   Partial redaction            6
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Report ID 13781-4560-1. From Ryan Stanko to Ann Carlson. Date December 28,            NHTSA-0230621-006-0881 Partial Response III   NHTSA-0230621-006-0883 Partial Response III   Partial redaction            6
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Report ID 13781-4564-1. From Ryan Stanko to Ann Carlson. Date December 29,            NHTSA-0230621-006-0884 Partial Response III   NHTSA-0230621-006-0886 Partial Response III   Partial redaction            6
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Report ID 13781-4565-1. From Ryan Stanko to Ann Carlson. Date December 29,            NHTSA-0230621-006-0887 Partial Response III   NHTSA-0230621-006-0889 Partial Response III   Partial redaction            6
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Report ID 13781-4577-1. From Ryan Stanko to Ann Carlson. Date December 30,            NHTSA-0230621-006-0890 Partial Response III   NHTSA-0230621-006-0892 Partial Response III   Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0893 Partial Response III   NHTSA-0230621-006-0895 Partial Response III   Partial redaction            6
Report ID 13781-4583-1. From Ryan Stanko to Ann Carlson. Date January 3, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0896 Partial Response III   NHTSA-0230621-006-0898 Partial Response III   Partial redaction            6
Report ID 13781-4584-1. From Ryan Stanko to Ann Carlson. Date January 3, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0899 Partial Response III   NHTSA-0230621-006-0901 Partial Response III   Partial redaction            6
Report ID 13781-4585-1. From Ryan Stanko to Ann Carlson. Date January 3, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0902 Partial Response III   NHTSA-0230621-006-0904 Partial Response III   Partial redaction            6
Report ID 13781-4586-1. From Ryan Stanko to Ann Carlson. Date January 3, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0905 Partial Response III   NHTSA-0230621-006-0907 Partial Response III   Partial redaction            6
Report ID 13781-4587-1. From Ryan Stanko to Ann Carlson. Date January 3, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Report ID 13781-4588-1. From Ryan Stanko to Ann Carlson. Date January 3, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0911 Partial Response III   NHTSA-0230621-006-0913 Partial Response III   Partial redaction            6
Report ID 13781-4590-1. From Ryan Stanko to Ann Carlson. Date January 4, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0914 Partial Response III   NHTSA-0230621-006-0916 Partial Response III   Partial redaction            6
Report ID 13781-4596-1. From Ryan Stanko to Ann Carlson. Date January 6, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0917 Partial Response III   NHTSA-0230621-006-0919 Partial Response III   Partial redaction            6
Report ID 13781-4597-1. From Ryan Stanko to Ann Carlson. Date January 6, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0920 Partial Response III   NHTSA-0230621-006-0922 Partial Response III   Partial redaction            6
Report ID 13781-4598-1. From Ryan Stanko to Ann Carlson. Date January 6, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0923 Partial Response III   NHTSA-0230621-006-0925 Partial Response III   Partial redaction            6
Report ID 13781-4599-1. From Ryan Stanko to Ann Carlson. Date January 6, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0926 Partial Response III   NHTSA-0230621-006-0928 Partial Response III   Partial redaction            6
Report ID 13781-4604-1. From Ryan Stanko to Ann Carlson. Date January 9, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0929 Partial Response III   NHTSA-0230621-006-0931 Partial Response III   Partial redaction            6
Report ID 13781-4607-1. From Ryan Stanko to Ann Carlson. Date January 9, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0932 Partial Response III   NHTSA-0230621-006-0934 Partial Response III   Partial redaction            6
Report ID 13781-4608-1. From Ryan Stanko to Ann Carlson. Date January 9, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0935 Partial Response III   NHTSA-0230621-006-0937 Partial Response III   Partial redaction            6
Report ID 13781-4609-1. From Ryan Stanko to Ann Carlson. Date January 9, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0938 Partial Response III   NHTSA-0230621-006-0940 Partial Response III   Partial redaction            6
Report ID 13781-4610-1. From Ryan Stanko to Ann Carlson. Date January 9, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0941 Partial Response III   NHTSA-0230621-006-0943 Partial Response III   Partial redaction            6
Report ID 13781-4611-1. From Ryan Stanko to Ann Carlson. Date January 9, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0944 Partial Response III   NHTSA-0230621-006-0946 Partial Response III   Partial redaction            6
Report ID 13781-4625-1. From Ryan Stanko to Ann Carlson. Date January 11, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0947 Partial Response III   NHTSA-0230621-006-0949 Partial Response III   Partial redaction            6
Report ID 13781-4626-1. From Ryan Stanko to Ann Carlson. Date January 11, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0950 Partial Response III   NHTSA-0230621-006-0952 Partial Response III   Partial redaction            6
Report ID 13781-4627-1. From Ryan Stanko to Ann Carlson. Date January 11, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                  WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                               Record Description                                                      Start Page                                    End Page                       Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-0953 Partial Response III   NHTSA-0230621-006-0955 Partial Response III   Partial redaction            6
Report ID 13781-4649-1. From Ryan Stanko to Ann Carlson. Date January 12, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0956 Partial Response III   NHTSA-0230621-006-0958 Partial Response III   Partial redaction            6
Report ID 13781-4693-1. From Ryan Stanko to Ann Carlson. Date January 17, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0959 Partial Response III   NHTSA-0230621-006-0961 Partial Response III   Partial redaction            6
Report ID 13781-4694-1. From Ryan Stanko to Ann Carlson. Date January 17, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0962 Partial Response III   NHTSA-0230621-006-0964 Partial Response III   Partial redaction            6
Report ID 13781-4695-1. From Ryan Stanko to Ann Carlson. Date January 17, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0965 Partial Response III   NHTSA-0230621-006-0967 Partial Response III   Partial redaction            6
Report ID 13781-4696-1. From Ryan Stanko to Ann Carlson. Date January 17, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0968 Partial Response III   NHTSA-0230621-006-0970 Partial Response III   Partial redaction            6
Report ID 13781-4698-1. From Ryan Stanko to Ann Carlson. Date January 17, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0971 Partial Response III   NHTSA-0230621-006-0973 Partial Response III   Partial redaction            6
Report ID 13781-4699-1. From Ryan Stanko to Ann Carlson. Date January 17, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0974 Partial Response III   NHTSA-0230621-006-0976 Partial Response III   Partial redaction            6
Report ID 13781-4700-1. From Ryan Stanko to Ann Carlson. Date January 17, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0977 Partial Response III   NHTSA-0230621-006-0979 Partial Response III   Partial redaction            6
Report ID 13781-4724-1. From Ryan Stanko to Ann Carlson. Date January 18, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0980 Partial Response III   NHTSA-0230621-006-0982 Partial Response III   Partial redaction            6
Report ID 13781-4725-1. From Ryan Stanko to Ann Carlson. Date January 18, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0983 Partial Response III   NHTSA-0230621-006-0985 Partial Response III   Partial redaction            6
Report ID 13781-4727-1. From Ryan Stanko to Ann Carlson. Date January 18, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0986 Partial Response III   NHTSA-0230621-006-0988 Partial Response III   Partial redaction            6
Report ID 13781-4733-1. From Ryan Stanko to Ann Carlson. Date January 18, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0989 Partial Response III   NHTSA-0230621-006-0991 Partial Response III   Partial redaction            6
Report ID 13781-4748-1. From Ryan Stanko to Ann Carlson. Date January 20, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0992 Partial Response III   NHTSA-0230621-006-0994 Partial Response III   Partial redaction            6
Report ID 13781-4749-1. From Ryan Stanko to Ann Carlson. Date January 20, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0995 Partial Response III   NHTSA-0230621-006-0997 Partial Response III   Partial redaction            6
Report ID 13781-4752-1. From Ryan Stanko to Ann Carlson. Date January 23, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0998 Partial Response III   NHTSA-0230621-006-1000 Partial Response III   Partial redaction            6
Report ID 13781-4753-1. From Ryan Stanko to Ann Carlson. Date January 23, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1001 Partial Response III   NHTSA-0230621-006-1003 Partial Response III   Partial redaction            6
Report ID 13781-4754-1. From Ryan Stanko to Ann Carlson. Date January 23, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1004 Partial Response III   NHTSA-0230621-006-1006 Partial Response III   Partial redaction            6
Report ID 13781-4755-1. From Ryan Stanko to Ann Carlson. Date January 23, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1007 Partial Response III   NHTSA-0230621-006-1009 Partial Response III   Partial redaction            6
Report ID 13781-4778-1. From Ryan Stanko to Ann Carlson. Date January 27, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1010 Partial Response III   NHTSA-0230621-006-1012 Partial Response III   Partial redaction            6
Report ID 13781-4807-1. From Ryan Stanko to Ann Carlson. Date February 6, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1013 Partial Response III   NHTSA-0230621-006-1015 Partial Response III   Partial redaction            6
Report ID 13781-4808-1. From Ryan Stanko to Ann Carlson. Date February 6, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1016 Partial Response III   NHTSA-0230621-006-1018 Partial Response III   Partial redaction            6
Report ID 13781-4830-1. From Ryan Stanko to Ann Carlson. Date February 10, 2023.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1019 Partial Response III   NHTSA-0230621-006-1021 Partial Response III   Partial redaction            6
Report ID 13781-4831-1. From Ryan Stanko to Ann Carlson. Date February 10, 2023.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1022 Partial Response III   NHTSA-0230621-006-1024 Partial Response III   Partial redaction            6
Report ID 13781-4835-1. From Ryan Stanko to Ann Carlson. Date February 13, 2023.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1025 Partial Response III   NHTSA-0230621-006-1027 Partial Response III   Partial redaction            6
Report ID 13781-4908-1. From Ryan Stanko to Ann Carlson. Date February 21, 2023.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1028 Partial Response III   NHTSA-0230621-006-1030 Partial Response III   Partial redaction            6
Report ID 13781-4909-1. From Ryan Stanko to Ann Carlson. Date February 21, 2023.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                  WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                               Record Description                                                      Start Page                                    End Page                       Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-1031 Partial Response III   NHTSA-0230621-006-1033 Partial Response III   Partial redaction            6
Report ID 13781-4910-1. From Ryan Stanko to Ann Carlson. Date February 21, 2023.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1034 Partial Response III   NHTSA-0230621-006-1036 Partial Response III   Partial redaction            6
Report ID 13781-4911-1. From Ryan Stanko to Ann Carlson. Date February 21, 2023.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1037 Partial Response III   NHTSA-0230621-006-1039 Partial Response III   Partial redaction            6
Report ID 13781-4912-1. From Ryan Stanko to Ann Carlson. Date February 21, 2023.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1040 Partial Response III   NHTSA-0230621-006-1042 Partial Response III   Partial redaction            6
Report ID 13781-4913-1. From Ryan Stanko to Ann Carlson. Date February 21, 2023.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1043 Partial Response III   NHTSA-0230621-006-1045 Partial Response III   Partial redaction            6
Report ID 13781-4915-1. From Ryan Stanko to Ann Carlson. Date February 22, 2023.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1046 Partial Response III   NHTSA-0230621-006-1048 Partial Response III   Partial redaction            6
Report ID 13781-4917-1. From Alex Green to Ann Carlson. Date February 23, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1049 Partial Response III   NHTSA-0230621-006-1051 Partial Response III   Partial redaction            6
Report ID 13781-4918-1. From Ryan Stanko to Ann Carlson. Date February 24, 2023.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1052 Partial Response III   NHTSA-0230621-006-1054 Partial Response III   Partial redaction            6
Report ID 13781-4923-1. From Ryan Stanko to Ann Carlson. Date February 27, 2023.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1055 Partial Response III   NHTSA-0230621-006-1057 Partial Response III   Partial redaction            6
Report ID 13781-4924-1. From Ryan Stanko to Ann Carlson. Date February 27, 2023.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1058 Partial Response III   NHTSA-0230621-006-1060 Partial Response III   Partial redaction            6
Report ID 13781-4925-1. From Ryan Stanko to Ann Carlson. Date February 27, 2023.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1061 Partial Response III   NHTSA-0230621-006-1063 Partial Response III   Partial redaction            6
Report ID 13781-4926-1. From Ryan Stanko to Ann Carlson. Date February 27, 2023.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1064 Partial Response III   NHTSA-0230621-006-1066 Partial Response III   Partial redaction            6
Report ID 13781-4927-1. From Ryan Stanko to Ann Carlson. Date February 27, 2023.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1067 Partial Response III   NHTSA-0230621-006-1069 Partial Response III   Partial redaction            6
Report ID 13781-4928-1. From Ryan Stanko to Ann Carlson. Date February 27, 2023.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1070 Partial Response III   NHTSA-0230621-006-1072 Partial Response III   Partial redaction            6
Report ID 13781-4929-1. From Ryan Stanko to Ann Carlson. Date February 27, 2023.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1073 Partial Response III   NHTSA-0230621-006-1075 Partial Response III   Partial redaction            6
Report ID 13781-4933-1. From Alex Green to Ann Carlson. Date February 28, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1076 Partial Response III   NHTSA-0230621-006-1078 Partial Response III   Partial redaction            6
Report ID 13781-4944-1. From Ryan Stanko to Ann Carlson. Date March 1, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1079 Partial Response III   NHTSA-0230621-006-1081 Partial Response III   Partial redaction            6
Report ID 13781-4949-1. From Alex Green to Ann Carlson. Date March 2, 2023.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1082 Partial Response III   NHTSA-0230621-006-1084 Partial Response III   Partial redaction            6
Report ID 13781-4951-1. From Ryan Stanko to Ann Carlson. Date March 3, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1085 Partial Response III   NHTSA-0230621-006-1087 Partial Response III   Partial redaction            6
Report ID 13781-4952-1. From Ryan Stanko to Ann Carlson. Date March 3, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1088 Partial Response III   NHTSA-0230621-006-1090 Partial Response III   Partial redaction            6
Report ID 13781-4954-1. From Ryan Stanko to Ann Carlson. Date March 6, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1091 Partial Response III   NHTSA-0230621-006-1093 Partial Response III   Partial redaction            6
Report ID 13781-4956-1. From Ryan Stanko to Ann Carlson. Date March 6, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1094 Partial Response III   NHTSA-0230621-006-1096 Partial Response III   Partial redaction            6
Report ID 13781-4957-1. From Ryan Stanko to Ann Carlson. Date March 6, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1097 Partial Response III   NHTSA-0230621-006-1099 Partial Response III   Partial redaction            6
Report ID 13781-4961-1. From Alex Green to Ann Carlson. Date March 7, 2023.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1100 Partial Response III   NHTSA-0230621-006-1102 Partial Response III   Partial redaction            6
Report ID 13781-4962-1. From Alex Green to Ann Carlson. Date March 7, 2023.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1103 Partial Response III   NHTSA-0230621-006-1105 Partial Response III   Partial redaction            6
Report ID 13781-4963-1. From Ryan Stanko to Ann Carlson. Date March 7, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1106 Partial Response III   NHTSA-0230621-006-1108 Partial Response III   Partial redaction            6
Report ID 13781-4966-1. From Ryan Stanko to Ann Carlson. Date March 8, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                  WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                               Record Description                                                      Start Page                                    End Page                       Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-1109 Partial Response III   NHTSA-0230621-006-1111 Partial Response III   Partial redaction            6
Report ID 13781-4967-1. From Ryan Stanko to Ann Carlson. Date March 8, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1112 Partial Response III   NHTSA-0230621-006-1114 Partial Response III   Partial redaction            6
Report ID 13781-4968-1. From Ryan Stanko to Ann Carlson. Date March 8, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1115 Partial Response III   NHTSA-0230621-006-1117 Partial Response III   Partial redaction            6
Report ID 13781-4983-1. From Alex Green to Ann Carlson. Date March 9, 2023.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1118 Partial Response III   NHTSA-0230621-006-1120 Partial Response III   Partial redaction            6
Report ID 13781-4986-1. From Ryan Stanko to Ann Carlson. Date March 10, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1121 Partial Response III   NHTSA-0230621-006-1123 Partial Response III   Partial redaction            6
Report ID 13781-4987-1. From Ryan Stanko to Ann Carlson. Date March 10, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1124 Partial Response III   NHTSA-0230621-006-1126 Partial Response III   Partial redaction            6
Report ID 13781-4988-1. From Ryan Stanko to Ann Carlson. Date March 10, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1127 Partial Response III   NHTSA-0230621-006-1129 Partial Response III   Partial redaction            6
Report ID 13781-5010-1. From Ryan Stanko to Ann Carlson. Date March 13, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1130 Partial Response III   NHTSA-0230621-006-1132 Partial Response III   Partial redaction            6
Report ID 13781-5011-1. From Ryan Stanko to Ann Carlson. Date March 13, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1133 Partial Response III   NHTSA-0230621-006-1135 Partial Response III   Partial redaction            6
Report ID 13781-5012-1. From Ryan Stanko to Ann Carlson. Date March 13, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1136 Partial Response III   NHTSA-0230621-006-1138 Partial Response III   Partial redaction            6
Report ID 13781-5013-1. From Ryan Stanko to Ann Carlson. Date March 13, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1139 Partial Response III   NHTSA-0230621-006-1141 Partial Response III   Partial redaction            6
Report ID 13781-5014-1. From Ryan Stanko to Ann Carlson. Date March 13, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1142 Partial Response III   NHTSA-0230621-006-1144 Partial Response III   Partial redaction            6
Report ID 13781-5015-1. From Ryan Stanko to Ann Carlson. Date March 13, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1145 Partial Response III   NHTSA-0230621-006-1147 Partial Response III   Partial redaction            6
Report ID 13781-5016-1. From Ryan Stanko to Ann Carlson. Date March 13, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1148 Partial Response III   NHTSA-0230621-006-1150 Partial Response III   Partial redaction            6
Report ID 13781-5017-1. From Ryan Stanko to Ann Carlson. Date March 13, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1151 Partial Response III   NHTSA-0230621-006-1153 Partial Response III   Partial redaction            6
Report ID 13781-5018-1. From Ryan Stanko to Ann Carlson. Date March 13, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1154 Partial Response III   NHTSA-0230621-006-1156 Partial Response III   Partial redaction            6
Report ID 13781-5019-1. From Ryan Stanko to Ann Carlson. Date March 13, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1157 Partial Response III   NHTSA-0230621-006-1159 Partial Response III   Partial redaction            6
Report ID 13781-5037-1. From Alex Green to Ann Carlson. Date March 14, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1160 Partial Response III   NHTSA-0230621-006-1162 Partial Response III   Partial redaction            6
Report ID 13781-5038-1. From Alex Green to Ann Carlson. Date March 14, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1163 Partial Response III   NHTSA-0230621-006-1165 Partial Response III   Partial redaction            6
Report ID 13781-5039-1. From Alex Green to Ann Carlson. Date March 14, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1166 Partial Response III   NHTSA-0230621-006-1168 Partial Response III   Partial redaction            6
Report ID 13781-5040-1. From Alex Green to Ann Carlson. Date March 14, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1169 Partial Response III   NHTSA-0230621-006-1171 Partial Response III   Partial redaction            6
Report ID 13781-5090-1. From Alex Green to Ann Carlson. Date March 16, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1172 Partial Response III   NHTSA-0230621-006-1174 Partial Response III   Partial redaction            6
Report ID 13781-5091-1. From Alex Green to Ann Carlson. Date March 16, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1175 Partial Response III   NHTSA-0230621-006-1177 Partial Response III   Partial redaction            6
Report ID 13781-5097-1. From Ryan Green to Ann Carlson. Date March 17, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1178 Partial Response III   NHTSA-0230621-006-1180 Partial Response III   Partial redaction            6
Report ID 13781-5100-1. From Ryan Green to Ann Carlson. Date March 17, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1181 Partial Response III   NHTSA-0230621-006-1183 Partial Response III   Partial redaction            6
Report ID 13781-5104-1. From Ryan Green to Ann Carlson. Date March 20, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1184 Partial Response III   NHTSA-0230621-006-1186 Partial Response III   Partial redaction            6
Report ID 13781-5105-1. From Ryan Green to Ann Carlson. Date March 20, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                  WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                               Record Description                                                      Start Page                                    End Page                       Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-1187 Partial Response III   NHTSA-0230621-006-1189 Partial Response III   Partial redaction            6
Report ID 13781-5106-1. From Ryan Green to Ann Carlson. Date March 20, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1190 Partial Response III   NHTSA-0230621-006-1192 Partial Response III   Partial redaction            6
Report ID 13781-5107-1. From Ryan Green to Ann Carlson. Date March 20, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1193 Partial Response III   NHTSA-0230621-006-1195 Partial Response III   Partial redaction            6
Report ID 13781-5108-1. From Ryan Green to Ann Carlson. Date March 20, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1196 Partial Response III   NHTSA-0230621-006-1198 Partial Response III   Partial redaction            6
Report ID 13781-5113-1. From Alex Green to Ann Carlson. Date March 21, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1199 Partial Response III   NHTSA-0230621-006-1201 Partial Response III   Partial redaction            6
Report ID 13781-5115-1. From Ryan Stanko to Ann Carlson. Date March 22, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1202 Partial Response III   NHTSA-0230621-006-1204 Partial Response III   Partial redaction            6
Report ID 13781-5135-1. From Alex Green to Ann Carlson. Date March 23, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1205 Partial Response III   NHTSA-0230621-006-1207 Partial Response III   Partial redaction            6
Report ID 13781-5147-1. From Alex Green to Ann Carlson. Date March 28, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1208 Partial Response III   NHTSA-0230621-006-1210 Partial Response III   Partial redaction            6
Report ID 13781-5148-1. From Alex Green to Ann Carlson. Date March 28, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1211 Partial Response III   NHTSA-0230621-006-1213 Partial Response III   Partial redaction            6
Report ID 13781-5149-1. From Alex Green to Ann Carlson. Date March 28, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1214 Partial Response III   NHTSA-0230621-006-1216 Partial Response III   Partial redaction            6
Report ID 13781-5150-1. From Alex Green to Ann Carlson. Date March 28, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1217 Partial Response III   NHTSA-0230621-006-1219 Partial Response III   Partial redaction            6
Report ID 13781-5151-1. From Alex Green to Ann Carlson. Date March 28, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1220 Partial Response III   NHTSA-0230621-006-1222 Partial Response III   Partial redaction            6
Report ID 13781-5162-1. From Ryan Stanko to Ann Carlson. Date March 29, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1223 Partial Response III   NHTSA-0230621-006-1225 Partial Response III   Partial redaction            6
Report ID 13781-5163-1. From Ryan Stanko to Ann Carlson. Date March 29, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1226 Partial Response III   NHTSA-0230621-006-1228 Partial Response III   Partial redaction            6
Report ID 13781-5165-1. From Alex Green to Ann Carlson. Date March 30, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1229 Partial Response III   NHTSA-0230621-006-1231 Partial Response III   Partial redaction            6
Report ID 13781-5166-1. From Ryan Stanko to Ann Carlson. Date March 31, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1232 Partial Response III   NHTSA-0230621-006-1234 Partial Response III   Partial redaction            6
Report ID 13781-5167-1. From Ryan Stanko to Ann Carlson. Date March 31, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1235 Partial Response III   NHTSA-0230621-006-1237 Partial Response III   Partial redaction            6
Report ID 13781-5168-1. From Ryan Stanko to Ann Carlson. Date March 31, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1238 Partial Response III   NHTSA-0230621-006-1240 Partial Response III   Partial redaction            6
Report ID 13781-5169-1. From Ryan Stanko to Ann Carlson. Date March 31, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1241 Partial Response III   NHTSA-0230621-006-1243 Partial Response III   Partial redaction            6
Report ID 13781-5177-1. From Ryan Stanko to Ann Carlson. Date April 3, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1244 Partial Response III   NHTSA-0230621-006-1246 Partial Response III   Partial redaction            6
Report ID 13781-5194-1. From Alex Green to Ann Carlson. Date April 4, 2023.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1247 Partial Response III   NHTSA-0230621-006-1249 Partial Response III   Partial redaction            6
Report ID 13781-5195-1. From Alex Green to Ann Carlson. Date April 4, 2023.                                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1250 Partial Response III   NHTSA-0230621-006-1252 Partial Response III   Partial redaction            6
Report ID 13781-5199-1. From Ryan Stanko to Ann Carlson. Date April 5, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1253 Partial Response III   NHTSA-0230621-006-1255 Partial Response III   Partial redaction            6
Report ID 13781-5228-1. From Alex Green to Ann Carlson. Date April 11, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1256 Partial Response III   NHTSA-0230621-006-1258 Partial Response III   Partial redaction            6
Report ID 13781-5244-1. From Alex Green to Ann Carlson. Date April 12, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1259 Partial Response III   NHTSA-0230621-006-1261 Partial Response III   Partial redaction            6
Report ID 13781-5245-1. From Alex Green to Ann Carlson. Date April 12, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1262 Partial Response III   NHTSA-0230621-006-1264 Partial Response III   Partial redaction            6
Report ID 13781-5246-1. From Alex Green to Ann Carlson. Date April 12, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                  WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                               Record Description                                                      Start Page                                    End Page                       Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-1265 Partial Response III   NHTSA-0230621-006-1267 Partial Response III   Partial redaction            6
Report ID 13781-5247-1. From Alex Green to Ann Carlson. Date April 12, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1268 Partial Response III   NHTSA-0230621-006-1270 Partial Response III   Partial redaction            6
Report ID 13781-5248-1. From Alex Green to Ann Carlson. Date April 12, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1271 Partial Response III   NHTSA-0230621-006-1273 Partial Response III   Partial redaction            6
Report ID 13781-5255-1. From Alex Green to Ann Carlson. Date April 13, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1274 Partial Response III   NHTSA-0230621-006-1276 Partial Response III   Partial redaction            6
Report ID 13781-5283-1. From Alex Green to Ann Carlson. Date April 14, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1277 Partial Response III   NHTSA-0230621-006-1279 Partial Response III   Partial redaction            6
Report ID 13781-5303-1. From Ryan Stanko to Ann Carlson. Date April 17, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1280 Partial Response III   NHTSA-0230621-006-1282 Partial Response III   Partial redaction            6
Report ID 13781-5304-1. From Ryan Stanko to Ann Carlson. Date April 17, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1283 Partial Response III   NHTSA-0230621-006-1285 Partial Response III   Partial redaction            6
Report ID 13781-5305-1. From Ryan Stanko to Ann Carlson. Date April 17, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1286 Partial Response III   NHTSA-0230621-006-1288 Partial Response III   Partial redaction            6
Report ID 13781-5308-1. From Ryan Stanko to Ann Carlson. Date April 17, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1289 Partial Response III   NHTSA-0230621-006-1291 Partial Response III   Partial redaction            6
Report ID 13781-5309-1. From Ryan Stanko to Ann Carlson. Date April 17, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1292 Partial Response III   NHTSA-0230621-006-1294 Partial Response III   Partial redaction            6
Report ID 13781-5349-1. From Ryan Stanko to Ann Carlson. Date April 19, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1295 Partial Response III   NHTSA-0230621-006-1297 Partial Response III   Partial redaction            6
Report ID 13781-5354-1. From Alex Green to Ann Carlson. Date April 20, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1298 Partial Response III   NHTSA-0230621-006-1300 Partial Response III   Partial redaction            6
Report ID 13781-5355-1. From Alex Green to Ann Carlson. Date April 20, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1301 Partial Response III   NHTSA-0230621-006-1303 Partial Response III   Partial redaction            6
Report ID 13781-5364-1. From Ryan Stanko to Ann Carlson. Date April 21, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1304 Partial Response III   NHTSA-0230621-006-1306 Partial Response III   Partial redaction            6
Report ID 13781-5365-1. From Ryan Stanko to Ann Carlson. Date April 21, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1307 Partial Response III   NHTSA-0230621-006-1309 Partial Response III   Partial redaction            6
Report ID 13781-5366-1. From Alex Green to Ann Carlson. Date April 21, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1310 Partial Response III   NHTSA-0230621-006-1312 Partial Response III   Partial redaction            6
Report ID 13781-5367-1. From Alex Green to Ann Carlson. Date April 21, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1313 Partial Response III   NHTSA-0230621-006-1315 Partial Response III   Partial redaction            6
Report ID 13781-5368-1. From Alex Green to Ann Carlson. Date April 21, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1316 Partial Response III   NHTSA-0230621-006-1318 Partial Response III   Partial redaction            6
Report ID 13781-5369-1. From Ryan Stanko to Ann Carlson. Date April 24, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1319 Partial Response III   NHTSA-0230621-006-1321 Partial Response III   Partial redaction            6
Report ID 13781-5370-1. From Ryan Stanko to Ann Carlson. Date April 24, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1322 Partial Response III   NHTSA-0230621-006-1324 Partial Response III   Partial redaction            6
Report ID 13781-5371-1. From Ryan Stanko to Ann Carlson. Date April 24, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                        of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-1325 Partial Response III   NHTSA-0230621-006-1327 Partial Response III   Partial redaction            6
Report ID 13781-5388-1. From Alex Green to Ann Carlson. Date April 25, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1328 Partial Response III   NHTSA-0230621-006-1330 Partial Response III   Partial redaction            6
Report ID 13781-5391-1. From Ryan Stanko to Ann Carlson. Date April 26, 2023.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1331 Partial Response III   NHTSA-0230621-006-1333 Partial Response III   Partial redaction            6
Report ID 13781-5392-1. From Alex Green to Ann Carlson. Date April 27, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
                                                                                                                                                                                                                             someone’s unique signature can be used for identity verification or potentially misused if made public.
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                        of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-1334 Partial Response III   NHTSA-0230621-006-1336 Partial Response III   Partial redaction            6
Report ID 13781-5393-1. From Alex Green to Ann Carlson. Date April 27, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1337 Partial Response III   NHTSA-0230621-006-1339 Partial Response III   Partial redaction            6
Report ID 13781-5394-1. From Alex Green to Ann Carlson. Date April 27, 2023.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1340 Partial Response III   NHTSA-0230621-006-1342 Partial Response III   Partial redaction            6
Report ID 13781-5416-1. From Ryan Stanko to Ann Carlson. Date May 1, 2023.                                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                    Case 1:24-cv-01353-TSC                                                                   Document 26-4              Vaughn Index
                                                                                                                                                                                                                                                                                                                 Filed 04/02/25                                                  Page 30 of 197
                                                                                                                                                                                                                                  WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                                    End Page                       Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-1343 Partial Response III   NHTSA-0230621-006-1345 Partial Response III   Partial redaction            6
Report ID 13781-5417-1. From Ryan Stanko to Ann Carlson. Date May 1, 2023.                                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1346 Partial Response III   NHTSA-0230621-006-1348 Partial Response III   Partial redaction            6
Report ID 13781-5418-1. From Ryan Stanko to Ann Carlson. Date May 1, 2023.                                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1349 Partial Response III   NHTSA-0230621-006-1351 Partial Response III   Partial redaction            6
Report ID 13781-5419-1. From Ryan Stanko to Ann Carlson. Date May 1, 2023.                                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1352 Partial Response III   NHTSA-0230621-006-1354 Partial Response III   Partial redaction            6
Report ID 13781-5420-1. From Ryan Stanko to Ann Carlson. Date May 1, 2023.                                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1355 Partial Response III   NHTSA-0230621-006-1357 Partial Response III   Partial redaction            6
Report ID 13781-5421-1. From Ryan Stanko to Ann Carlson. Date May 1, 2023.                                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
                                                                                                                                                                                                                             someone’s unique signature can be used for identity verification or potentially misused if made public.
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                                                                                      NHTSA-0230621-006-1358 Partial Response III   NHTSA-0230621-006-1360 Partial Response III   Partial redaction            6
Report ID 13781-5427-1. From Ryan Stanko to Ann Carlson. Date May 4, 2023.                                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
                                                                                                                                                                                                                             someone’s unique signature can be used for identity verification or potentially misused if made public.
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                        of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-1361 Partial Response III   NHTSA-0230621-006-1363 Partial Response III   Partial redaction            6
Report ID 13781-5428-1. From Alex Green to Ann Carlson. Date May 4, 2023.                                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
                                                                                                                                                                                                                             someone’s unique signature can be used for identity verification or potentially misused if made public.
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                        of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-1364 Partial Response III   NHTSA-0230621-006-1366 Partial Response III   Partial redaction            6
Report ID 13781-5441-1. From Alex Green to Ann Carlson. Date May 5, 2023.                                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
                                                                                                                                                                                                                             someone’s unique signature can be used for identity verification or potentially misused if made public.
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Letter. Subject: Confidentiality Determination for Standing General Order 2021-01
                                                                                                                                                                                                                             of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
Incident Reports 10561-1595-1 and 10561-1595-2. From Dylan Voneiff to Christie      NHTSA-0230621-006-001 Partial Response IV       NHTSA-0230621-006-003 Partial Response IV     Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
Iannetta. Date June 12, 2024.
                                                                                                                                                                                                                             someone’s unique signature can be used for identity verification or potentially misused if made public.
                                                                                                                                                                                                                             This document contains personally identifying information (PII) consisting of a signature. Disclosure of this information would constitute an unwarranted invasion of personal privacy because a signature is a unique and personal identifier. The public interest in release
Letter. Subject: Request for Confidential Treatment - APTIV - Report ID 10561-1595-                                                                                                                                          of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                    NHTSA-0230621-006-004 Partial Response IV       NHTSA-0230621-006-006 Partial Response IV     Partial redaction            6
1. From Christie Iannetta to Ann Carlson. Date November 5, 2021.                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Letter. Subject: Request for Confidential Treatment - APTIV - Report ID 10561-1595-                                                                                                                                          of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                    NHTSA-0230621-006-007 Partial Response IV       NHTSA-0230621-006-009 Partial Response IV     Partial redaction            6
2. From Christie Iannetta to Adam Raviv, cc'ing Dylan Voneiff. Date June 3, 2024.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
                                                                                                                                                                                                                             someone’s unique signature can be used for identity verification or potentially misused if made public.
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Letter. Subject: Confidentiality Determination for Certain Standing General Order
                                                                                                                                                                                                                             of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
2021-01 Incident Reports Submitted by BMW of North America, LLC. From Dylan         NHTSA-0230621-006-010 Partial Response IV       NHTSA-0230621-006-013 Partial Response IV     Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
Voneiff to Samuel Campbell, III, cc'ing Jonathan Gannon. Date July 2, 2024.
                                                                                                                                                                                                                             someone’s unique signature can be used for identity verification or potentially misused if made public.
                                                                                                                                                                                                                             This document contains personally identifying information (PII) consisting of a signature. Disclosure of this information would constitute an unwarranted invasion of personal privacy because a signature is a unique and personal identifier. The public interest in release
Letter. Subject: Submission of Confidential Information ADAS-SGO Incident Report
                                                                                                                                                                                                                             of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
Submission Incident Report Filename CONF-MACDD-010039-07202021-001. From NHTSA-0230621-006-014 Partial Response IV                  NHTSA-0230621-006-016 Partial Response IV     Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
Samuel Campbell, III to Ann Carlson. Date July 20, 2021.
                                                                                                                                                                                                                             someone’s unique signature can be used for identity verification or potentially misused if made public.
                                                                                                                                                                                                                             This document contains personally identifying information (PII) consisting of a signature. Disclosure of this information would constitute an unwarranted invasion of personal privacy because a signature is a unique and personal identifier. The public interest in release
Letter. Subject: Submission of Confidential Information ADAS-SGO Incident Report
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Submission Incident Report Filename CONF-MACDD-010039-07302021-001. From NHTSA-0230621-006-017 Partial Response IV                  NHTSA-0230621-006-019 Partial Response IV     Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
Samuel Campbell, III to Ann Carlson. Date July 30, 2021.
                                                                                                                                                                                                                             someone’s unique signature can be used for identity verification or potentially misused if made public.
                                                                                                                                                                                                                             This document contains personally identifying information (PII) consisting of a signature. Disclosure of this information would constitute an unwarranted invasion of personal privacy because a signature is a unique and personal identifier. The public interest in release
Letter. Subject: Submission of Confidential Information ADAS-SGO Incident Report
                                                                                                                                                                                                                             of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
Submission Incident Report Filename CONF-10039-8-3-Incident Report - SGO-2021- NHTSA-0230621-006-020 Partial Response IV            NHTSA-0230621-006-022 Partial Response IV     Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
01. From Samuel Campbell, III to Ann Carlson. Date August 16, 2021.
                                                                                                                                                                                                                             someone’s unique signature can be used for identity verification or potentially misused if made public.
                                                                                                                                                                                                                             This document contains personally identifying information (PII) consisting of a signature. Disclosure of this information would constitute an unwarranted invasion of personal privacy because a signature is a unique and personal identifier. The public interest in release
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                                                                                                                                                                                                                             of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
Submission Incident Report ID: 10039-1520-1. From Samuel Campbell, III to Ann       NHTSA-0230621-006-023 Partial Response IV       NHTSA-0230621-006-025 Partial Response IV     Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
Carlson. Date October 27, 2021.
                                                                                                                                                                                                                             someone’s unique signature can be used for identity verification or potentially misused if made public.
Letter. Subject: Submission of Confidential Information ADAS-SGO Incident Report                                                                                                                                             This document contains personally identifying information (PII) consisting of a signature. Disclosure of this information would constitute an unwarranted invasion of personal privacy because a signature is a unique and personal identifier. The public interest in release
Submission Incident Report IDs: 10039-1520-2, 10039-1520-3, 10039-1520-4, 10039-                                                                                                                                             of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                 NHTSA-0230621-006-026 Partial Response IV          NHTSA-0230621-006-028 Partial Response IV     Partial redaction            6
1548-4, 10039-1548-5. From Samuel Campbell, III to Ann Carlson. Date December                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
10, 2021.                                                                                                                                                                                                                    someone’s unique signature can be used for identity verification or potentially misused if made public.
Letter. Subject: Submission of Confidential Information ADAS-SGO Incident Report                                                                                                                                             This document contains personally identifying information (PII) consisting of a signature. Disclosure of this information would constitute an unwarranted invasion of personal privacy because a signature is a unique and personal identifier. The public interest in release
Submission Incident Report IDs: 10039-1520-2, 10039-1520-3, 10039-1520-4, 10039-                                                                                                                                             of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                 NHTSA-0230621-006-029 Partial Response IV          NHTSA-0230621-006-031 Partial Response IV     Partial redaction            6
1548-4, 10039-1548-5. From Samuel Campbell, III to Ann Carlson. Date December                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
10, 2021.                                                                                                                                                                                                                    someone’s unique signature can be used for identity verification or potentially misused if made public.
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Submission Incident Report IDs: 10039-1520-2, 10039-1520-3, 10039-1520-4, 10039-                                                                                                                                             of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                 NHTSA-0230621-006-032 Partial Response IV          NHTSA-0230621-006-034 Partial Response IV     Partial redaction            6
1548-4, 10039-1548-5. From Samuel Campbell, III to Ann Carlson. Date December                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                             of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
Submission Incident Report ID: 10039-1548-2. From Samuel Campbell, III to Ann       NHTSA-0230621-006-035 Partial Response IV       NHTSA-0230621-006-037 Partial Response IV     Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
Carlson. Date October 27, 2021.
                                                                                                                                                                                                                             someone’s unique signature can be used for identity verification or potentially misused if made public.
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Submission Incident Report ID: 10039-1548-3. From Samuel Campbell, III to Adam      NHTSA-0230621-006-038 Partial Response IV       NHTSA-0230621-006-040 Partial Response IV     Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
Raviv. Date June 14, 2024.
                                                                                                                                                                                                                             someone’s unique signature can be used for identity verification or potentially misused if made public.
Letter. Subject: Submission of Confidential Information ADAS-SGO Incident Report                                                                                                                                             This document contains personally identifying information (PII) consisting of a signature. Disclosure of this information would constitute an unwarranted invasion of personal privacy because a signature is a unique and personal identifier. The public interest in release
Submission Incident Report IDs: 10039-1520-2, 10039-1520-3, 10039-1520-4, 10039-                                                                                                                                             of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                 NHTSA-0230621-006-041 Partial Response IV          NHTSA-0230621-006-043 Partial Response IV     Partial redaction            6
1548-4, 10039-1548-5. From Samuel Campbell, III to Ann Carlson. Date December                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                 NHTSA-0230621-006-044 Partial Response IV          NHTSA-0230621-006-046 Partial Response IV     Partial redaction            6
1548-4, 10039-1548-5. From Samuel Campbell, III to Ann Carlson. Date December                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Submission Incident Report ID - 10039-3261-1. From Samuel Campbell, III to Ann      NHTSA-0230621-006-047 Partial Response IV       NHTSA-0230621-006-049 Partial Response IV     Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
Carlson. Date June 24, 2022.
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Submission Incident Report ID - 10039-3261-2. From Samuel Campbell, III to Ann      NHTSA-0230621-006-050 Partial Response IV       NHTSA-0230621-006-052 Partial Response IV     Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
Carlson. Date July 6, 2022.
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Submission Incident Report ID - 10039-3261-3. From Samuel Campbell, III to Ann      NHTSA-0230621-006-053 Partial Response IV       NHTSA-0230621-006-055 Partial Response IV     Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
Carlson. Date July 15, 2022.
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                                                                                                                                               Case 1:24-cv-01353-TSC                                                                  Document 26-4              Vaughn Index
                                                                                                                                                                                                                                                                                                           Filed 04/02/25                                                  Page 31 of 197
                                                                                                                                                                                                                            WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                 Record Description                                                   Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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Submission Incident Report ID - 10039-3261-3. From Samuel Campbell, III to Ann      NHTSA-0230621-006-056 Partial Response IV   NHTSA-0230621-006-058 Partial Response IV   Partial redaction            6
                                                                                                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
Carlson. Date August 15, 2022.
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Submission Incident Report ID - 10039-3997-1. From Samuel Campbell, III to John     NHTSA-0230621-006-059 Partial Response IV   NHTSA-0230621-006-061 Partial Response IV   Partial redaction            6
                                                                                                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
Donaldson. Date October 12, 2022.
                                                                                                                                                                                                                       someone’s unique signature can be used for identity verification or potentially misused if made public.
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Submission Incident Report ID - 10039-3997-2. From Samuel Campbell, III to John     NHTSA-0230621-006-062 Partial Response IV   NHTSA-0230621-006-064 Partial Response IV   Partial redaction            6
                                                                                                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Submission Incident Report ID - 10039-3997-3. From Samuel Campbell, III to John     NHTSA-0230621-006-065 Partial Response IV   NHTSA-0230621-006-067 Partial Response IV   Partial redaction            6
                                                                                                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Submission Incident Report ID - 10039-4636-2. From Samuel Campbell, III to John     NHTSA-0230621-006-068 Partial Response IV   NHTSA-0230621-006-070 Partial Response IV   Partial redaction            6
                                                                                                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
Donaldson. Date January 23, 2023.
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Submission Incident Report ID - 10039-4636-3. From Samuel Campbell, III to John     NHTSA-0230621-006-071 Partial Response IV   NHTSA-0230621-006-073 Partial Response IV   Partial redaction            6
                                                                                                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Submission Incident Report ID - 10039-4636-4. From Samuel Campbell, III to John     NHTSA-0230621-006-074 Partial Response IV   NHTSA-0230621-006-076 Partial Response IV   Partial redaction            6
                                                                                                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
Donaldson. Date February 15, 2023.
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Submission Incident Report ID - 10039-4932-1. From Samuel Campbell, III to John     NHTSA-0230621-006-077 Partial Response IV   NHTSA-0230621-006-079 Partial Response IV   Partial redaction            6
                                                                                                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
Donaldson. Date February 28, 2023.
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Submission Incident Report ID - 10039-4932-2. From Samuel Campbell, III to John     NHTSA-0230621-006-080 Partial Response IV   NHTSA-0230621-006-082 Partial Response IV   Partial redaction            6
                                                                                                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
Donaldson. Date March 9, 2023.
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Submission Incident Report ID - 10039-4932-3. From Samuel Campbell, III to John     NHTSA-0230621-006-083 Partial Response IV   NHTSA-0230621-006-085 Partial Response IV   Partial redaction            6
                                                                                                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Submission Incident Report ID - 10039-4932-4. From Samuel Campbell, III to John     NHTSA-0230621-006-086 Partial Response IV   NHTSA-0230621-006-088 Partial Response IV   Partial redaction            6
                                                                                                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
Donaldson. Date April 14, 2023.
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Submission Incident Report ID - 10039-4932-5. From Samuel Campbell, III to John     NHTSA-0230621-006-089 Partial Response IV   NHTSA-0230621-006-091 Partial Response IV   Partial redaction            6
                                                                                                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Submission Incident Report ID - 10039-5057-1. From Samuel Campbell, III to John     NHTSA-0230621-006-092 Partial Response IV   NHTSA-0230621-006-094 Partial Response IV   Partial redaction            6
                                                                                                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Submission Incident Report ID - 10039-5057-2. From Samuel Campbell, III to John     NHTSA-0230621-006-095 Partial Response IV   NHTSA-0230621-006-097 Partial Response IV   Partial redaction            6
                                                                                                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Submission Incident Report ID - 10039-5057-3. From Samuel Campbell, III to John     NHTSA-0230621-006-098 Partial Response IV   NHTSA-0230621-006-100 Partial Response IV   Partial redaction            6
                                                                                                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Submission Incident Report ID - 10039-5057-4. From Samuel Campbell, III to John     NHTSA-0230621-006-101 Partial Response IV   NHTSA-0230621-006-103 Partial Response IV   Partial redaction            6
                                                                                                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Submission Incident Report ID - 10039-6029-1. From Samuel Campbell, III to Ann      NHTSA-0230621-006-104 Partial Response IV   NHTSA-0230621-006-106 Partial Response IV   Partial redaction            6
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Carlson. Date August 10, 2023.
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Submission Incident Report ID - 10039-6029-2. From Samuel Campbell, III to Ann      NHTSA-0230621-006-107 Partial Response IV   NHTSA-0230621-006-109 Partial Response IV   Partial redaction            6
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Submission Incident Report ID - 10039-6029-3. From Samuel Campbell, III to Ann      NHTSA-0230621-006-110 Partial Response IV   NHTSA-0230621-006-112 Partial Response IV   Partial redaction            6
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Letter. Subject: Confidentiality Determination for Certain Standing General Order
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2021-01 Incident Reports submitted by Daimler Truck North America LLC. From         NHTSA-0230621-006-113 Partial Response IV   NHTSA-0230621-006-116 Partial Response IV   Partial redaction            6
                                                                                                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
Dylan Voneiff to Kerem Bilge and David Kayes. Date June 12, 2024.
                                                                                                                                                                                                                       someone’s unique signature can be used for identity verification or potentially misused if made public.
Letter. Subject: Request for Confidential Treatment: DTNA Incident Report ID 12381-                                                                                                                                    This document contains personally identifying information (PII) consisting of a signature. Disclosure of this information would constitute an unwarranted invasion of personal privacy because a signature is a unique and personal identifier. The public interest in release
4852-1 Daimler Truck North America LLC's Submission of Incident Report Under the                                                                                                                                       of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                    NHTSA-0230621-006-117 Partial Response IV   NHTSA-0230621-006-120 Partial Response IV   Partial redaction            6
First Amended Standing General Order - 2021-01. From Kerem Bilge to Ann Carlson.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Letter. Subject: Request for Confidential Treatment: DTNA Incident Report ID 12381-                                                                                                                                    This document contains personally identifying information (PII) consisting of a signature. Disclosure of this information would constitute an unwarranted invasion of personal privacy because a signature is a unique and personal identifier. The public interest in release
4852-2 Daimler Truck North America LLC's Submission of Incident Report Under the                                                                                                                                       of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                    NHTSA-0230621-006-121 Partial Response IV   NHTSA-0230621-006-124 Partial Response IV   Partial redaction            6
First Amended Standing General Order - 2021-01. From Kerem Bilge to Ann Carlson.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
Date June 5, 2024.                                                                                                                                                                                                     someone’s unique signature can be used for identity verification or potentially misused if made public.
Letter. Subject: Request for Confidential Treatment: DTNA Incident Report ID 12381-                                                                                                                                    This document contains personally identifying information (PII) consisting of a signature. Disclosure of this information would constitute an unwarranted invasion of personal privacy because a signature is a unique and personal identifier. The public interest in release
4852-3 Daimler Truck North America LLC's Submission of Incident Report Under the                                                                                                                                       of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                    NHTSA-0230621-006-125 Partial Response IV   NHTSA-0230621-006-128 Partial Response IV   Partial redaction            6
First Amended Standing General Order - 2021-01. From Kerem Bilge to Ann Carlson.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
Date March 15, 2023.                                                                                                                                                                                                   someone’s unique signature can be used for identity verification or potentially misused if made public.
Letter. Subject: Request for Confidential Treatment: DTNA Incident Report ID 12381-                                                                                                                                    This document contains personally identifying information (PII) consisting of a signature. Disclosure of this information would constitute an unwarranted invasion of personal privacy because a signature is a unique and personal identifier. The public interest in release
4852-4 Daimler Truck North America LLC's Submission of Incident Report Under the                                                                                                                                       of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                    NHTSA-0230621-006-129 Partial Response IV   NHTSA-0230621-006-131 Partial Response IV   Partial redaction            6
First Amended Standing General Order - 2021-01. From David Kayes to Ann Carlson.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
Date April 14, 2023.                                                                                                                                                                                                   someone’s unique signature can be used for identity verification or potentially misused if made public.
Letter. Subject: Request for Confidential Treatment: DTNA Incident Report ID 12381-                                                                                                                                    This document contains personally identifying information (PII) consisting of a signature. Disclosure of this information would constitute an unwarranted invasion of personal privacy because a signature is a unique and personal identifier. The public interest in release
4095-1 Daimler Truck North America LLC's Submission of Incident Report Under the                                                                                                                                       of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                    NHTSA-0230621-006-132 Partial Response IV   NHTSA-0230621-006-135 Partial Response IV   Partial redaction            6
First Amended Standing General Order - 2021-01. From Kerem Bilge to Ann Carlson.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
Date June 10, 2024.                                                                                                                                                                                                    someone’s unique signature can be used for identity verification or potentially misused if made public.
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                                                                                    NHTSA-0230621-006-136 Partial Response IV   NHTSA-0230621-006-139 Partial Response IV   Partial redaction            6
First Amended Standing General Order - 2021-01. From Kerem Bilge to Ann Carlson.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
Date June 10, 2024.                                                                                                                                                                                                    someone’s unique signature can be used for identity verification or potentially misused if made public.




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                                                                                                                                                 Case 1:24-cv-01353-TSC                                                                               Document 26-4     Vaughn Index
                                                                                                                                                                                                                                                                                                                                                                           Filed 04/02/25                                                                                                 Page 32 of 197
                                                                                                                                                                                                                                  WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                  Record Description                                                Start Page                                     End Page                     Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
Letter. Subject: Confidentiality Determination for Standing General Order 2021-01                                                                                                                                        This document contains personally identifying information (PII) consisting of a signature. Disclosure of this information would constitute an unwarranted invasion of personal privacy because a signature is a unique and personal identifier. The public interest in release
Incident Report 13781-3074-2 and Modification of Confidentiality Determination for                                                                                                                                       of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                    NHTSA-0230621-006-140 Partial Response IV     NHTSA-0230621-006-144 Partial Response IV   Partial redaction            6
Incident Report 13781-3074-1. From Kerry Kolodziej to Eric C. Williams, cc'ing Ryan                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
Stanko+A306. Date June 18, 2024.                                                                                                                                                                                         someone’s unique signature can be used for identity verification or potentially misused if made public.
                                                                                                                                                                                                                         This document contains personally identifying information (PII) consisting of a signature. Disclosure of this information would constitute an unwarranted invasion of personal privacy because a signature is a unique and personal identifier. The public interest in release
Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                    of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-145 Partial Response IV   NHTSA-0230621-006-147 Partial Response IV   Partial redaction            6
Report ID 13781-3074-1. From Ryan Stanko to Ann Carlson. Date June 2, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
                                                                                                                                                                                                                         someone’s unique signature can be used for identity verification or potentially misused if made public.
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                    of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-148 Partial Response IV   NHTSA-0230621-006-150 Partial Response IV   Partial redaction            6
Report ID 13781-3074-2. From Ryan Stanko to Ann Carlson. Date June 5, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         confidential, and otherwise not publicly available and that Tesla has taken measures to ensure that the information is not released outside of the company. Tesla represented that it customarily and actually keeps private the information at issue and provided such information under an assurance of privacy. Submission under NHTSA’s statutory and regulatory framework governing confidential information provides an assurance that any such information
                                                                                                                                                                                                                         determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by which Tesla identifies and examines field incidents, learns from vehicles through data collection, how Tesla conducts
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Incident Report. Tesla, Inc. - United States Department of Transportation, National                                                                                                                                      Tesla has taken measures to ensure that the information is not released outside of the company. Tesla represented that it customarily and actually keeps private the information at issue and provided such information under an assurance of privacy. Submission under NHTSA’s statutory and regulatory framework governing confidential information provides an assurance that any such information determined to be confidential will be protected from public
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Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-151 Partial Response IV   NHTSA-0230621-006-153 Partial Response IV   Partial redaction           4, 6           and may also include statistical or detailed proprietary information about a new feature. Releasing confidential commercial or financial information could also impact the willingness of regulated entities to provide NHTSA with such confidential information in the future, either voluntarily or when required by law. Therefore, it would foreseeably harm NHTSA’s interest in obtaining confidential information, which is critical to its vehicle safety mission. NHTSA
13781-3074-1, 1-Day Report.                                                                                                                                                                                              also considered whether any further information within this record could be segregated and disclosed, but any further disclosure will cause harm to Tesla and also to NHTSA as it endeavors to fulfill its important mission of ensuring vehicle safety by continuing to receive confidential information from vehicle manufacturers. Based on Tesla’s representations and other available information, NHTSA concluded that the information was entitled to confidential
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Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-154 Partial Response IV   NHTSA-0230621-006-156 Partial Response IV   Partial redaction           4, 6           and may also include statistical or detailed proprietary information about a new feature. Releasing confidential commercial or financial information could also impact the willingness of regulated entities to provide NHTSA with such confidential information in the future, either voluntarily or when required by law. Therefore, it would foreseeably harm NHTSA’s interest in obtaining confidential information, which is critical to its vehicle safety mission. NHTSA
13781-3074-2, 10-Day Update.                                                                                                                                                                                             also considered whether any further information within this record could be segregated and disclosed, but any further disclosure will cause harm to Tesla and also to NHTSA as it endeavors to fulfill its important mission of ensuring vehicle safety by continuing to receive confidential information from vehicle manufacturers. Based on Tesla’s representations and other available information, NHTSA concluded that the information was entitled to confidential
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Letter. Subject: Confidentiality Determination for Standing General Order 2021-01
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Incident Reports 855-4093-1 and 855-4921-1. From Dylan Voneiff to Paul                NHTSA-0230621-006-001 Partial Response V    NHTSA-0230621-006-003 Partial Response V    Partial redaction            6
                                                                                                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
Hemmersbaugh. Date September 11, 2024.
                                                                                                                                                                                                                         someone’s unique signature can be used for identity verification or potentially misused if made public.
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Letter. Subject: Request for Confidentiality Concerning SGO 2021-01 Report. From
                                                                                                                                                                                                                         of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
Matthew Beckwith to Ann Carlson, cc'ing Stephen Hench and Ashley Simpson. Date        NHTSA-0230621-006-004 Partial Response V    NHTSA-0230621-006-007 Partial Response V    Partial redaction            6
                                                                                                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
October 23, 2022.
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Letter. Subject: Mercedes-Benz USA's Request for Confidentiality Concerning SGO
                                                                                                                                                                                                                         of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
2021-01 Report ID #855-4921-1. From Paul Hemmersbaugh to Ann Carlson. Date            NHTSA-0230621-006-008 Partial Response V    NHTSA-0230621-006-011 Partial Response V    Partial redaction            6
                                                                                                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
February 24, 2023.
                                                                                                                                                                                                                         someone’s unique signature can be used for identity verification or potentially misused if made public.
                                                                                                                                                                                                                         This document contains personally identifying information (PII) consisting of a signature. Disclosure of this information would constitute an unwarranted invasion of personal privacy because a signature is a unique and personal identifier. The public interest in release
Letter. Subject: Confidentiality Determination for Standing General Order 2021-01
                                                                                                                                                                                                                         of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
Incident Report 1306-1376-4. From Sarah Kohlhofer to Cory Hoffman, cc'ing Toyota      NHTSA-0230621-006-012 Partial Response V    NHTSA-0230621-006-014 Partial Response V    Partial redaction            6
                                                                                                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
Vehicle Safety & Compliance Liaison Office. Date June 26, 2024.
                                                                                                                                                                                                                         someone’s unique signature can be used for identity verification or potentially misused if made public.
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Letter. Subject: Standing General Order 2021-01; Incident Report 1306-1376-4
                                                                                                                                                                                                                         of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
Request for Confidential Treatment. From Cory Hoffman to Ann Carlson. Date            NHTSA-0230621-006-015 Partial Response V    NHTSA-0230621-006-020 Partial Response V    Partial redaction            6
                                                                                                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
December 15, 2021.
                                                                                                                                                                                                                         someone’s unique signature can be used for identity verification or potentially misused if made public.
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Letter. Subject: Confidentiality Determination for Certain Standing General Order
                                                                                                                                                                                                                         of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
2021-01 Incident Reports. From Michael Kuppersmith to Eric Williams. Date             NHTSA-0230621-006-021 Partial Response V    NHTSA-0230621-006-024 Partial Response V    Partial redaction            6
                                                                                                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
September 26, 2024.
                                                                                                                                                                                                                         someone’s unique signature can be used for identity verification or potentially misused if made public.
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                                                                                      NHTSA-0230621-006-025 Partial Response V    NHTSA-0230621-006-027 Partial Response V    Partial redaction            6
Report ID 13781-1978-2. From Alex Green to Ann Carlson. Date December 30, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-028 Partial Response V    NHTSA-0230621-006-030 Partial Response V    Partial redaction            6
Report ID 13781-1979-2. From Alex Green to Ann Carlson. Date December 30, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-031 Partial Response V    NHTSA-0230621-006-033 Partial Response V    Partial redaction            6
Report ID 13781-1986-2. From Alex Green to Ann Carlson. Date December 30, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-034 Partial Response V    NHTSA-0230621-006-036 Partial Response V    Partial redaction            6
Report ID 13781-1991-2. From Alex Green to Ann Carlson. Date January 10, 2022.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-037 Partial Response V    NHTSA-0230621-006-039 Partial Response V    Partial redaction            6
Report ID 13781-1992-2. From Alex Green to Ann Carlson. Date January 10, 2022.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-040 Partial Response V    NHTSA-0230621-006-042 Partial Response V    Partial redaction            6
Report ID 13781-2008-2. From Alex Green to Ann Carlson. Date January 10, 2022.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-043 Partial Response V    NHTSA-0230621-006-045 Partial Response V    Partial redaction            6
Report ID 13781-2009-2. From Alex Green to Ann Carlson. Date January 10, 2022.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                                                                                           Filed 04/02/25                                                  Page 33 of 197
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                               Record Description                                                     Start Page                                  End Page                    Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-046 Partial Response V   NHTSA-0230621-006-048 Partial Response V   Partial redaction            6
Report ID 13781-2010-2. From Alex Green to Ann Carlson. Date January 10, 2022.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-049 Partial Response V   NHTSA-0230621-006-051 Partial Response V   Partial redaction            6
Report ID 13781-2011-2. From Alex Green to Ann Carlson. Date January 10, 2022.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-052 Partial Response V   NHTSA-0230621-006-054 Partial Response V   Partial redaction            6
Report ID 13781-2012-2. From Alex Green to Ann Carlson. Date January 10, 2022.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-055 Partial Response V   NHTSA-0230621-006-057 Partial Response V   Partial redaction            6
Report ID 13781-2013-2. From Alex Green to Ann Carlson. Date January 10, 2022.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-058 Partial Response V   NHTSA-0230621-006-060 Partial Response V   Partial redaction            6
Report ID 13781-2592-2. From Alex Green to Ann Carlson. Date March 29, 2022.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-061 Partial Response V   NHTSA-0230621-006-063 Partial Response V   Partial redaction            6
Report ID 13781-2795-2. From Alex Green to Ann Carlson. Date April 25, 2022.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-064 Partial Response V   NHTSA-0230621-006-066 Partial Response V   Partial redaction            6
Report ID 13781-42-2. From Alex Green to Ann Carlson. Date January 7, 2022.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-067 Partial Response V   NHTSA-0230621-006-069 Partial Response V   Partial redaction            6
Report ID 13781-43-2. From Alex Green to Ann Carlson. Date January 7, 2022.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-070 Partial Response V   NHTSA-0230621-006-072 Partial Response V   Partial redaction            6
Report ID 13781-1039-2. From Alex Green to Ann Carlson. Date August 20, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-073 Partial Response V   NHTSA-0230621-006-075 Partial Response V   Partial redaction            6
Report ID 13781-1041-2. From Alex Green to Ann Carlson. Date August 20, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-076 Partial Response V   NHTSA-0230621-006-078 Partial Response V   Partial redaction            6
Report ID 13781-1045-1. From Alex Green to Ann Carlson. Date August 13, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-079 Partial Response V   NHTSA-0230621-006-081 Partial Response V   Partial redaction            6
Report ID 13781-1045-2. From Alex Green to Ann Carlson. Date January 7, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-082 Partial Response V   NHTSA-0230621-006-084 Partial Response V   Partial redaction            6
Report ID 13781-1046-1. From Alex Green to Ann Carlson. Date August 13, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-085 Partial Response V   NHTSA-0230621-006-087 Partial Response V   Partial redaction            6
Report ID 13781-1046-2. From Alex Green to Ann Carlson. Date January 7, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-088 Partial Response V   NHTSA-0230621-006-090 Partial Response V   Partial redaction            6
Report ID 13781-1048-1. From Alex Green to Ann Carlson. Date August 13, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-091 Partial Response V   NHTSA-0230621-006-093 Partial Response V   Partial redaction            6
Report ID 13781-1048-2. From Alex Green to Ann Carlson. Date January 7, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-094 Partial Response V   NHTSA-0230621-006-096 Partial Response V   Partial redaction            6
Report ID 13781-1049-1. From Alex Green to Ann Carlson. Date August 13, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-097 Partial Response V   NHTSA-0230621-006-099 Partial Response V   Partial redaction            6
Report ID 13781-1049-2. From Alex Green to Ann Carlson. Date January 7, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-100 Partial Response V   NHTSA-0230621-006-102 Partial Response V   Partial redaction            6
Report ID 13781-1050-2. From Alex Green to Ann Carlson. Date August 20, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-103 Partial Response V   NHTSA-0230621-006-105 Partial Response V   Partial redaction            6
Report ID 13781-1086-2. From Alex Green to Ann Carlson. Date August 20, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-106 Partial Response V   NHTSA-0230621-006-108 Partial Response V   Partial redaction            6
Report ID 13781-1087-2. From Alex Green to Ann Carlson. Date August 20, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-109 Partial Response V   NHTSA-0230621-006-111 Partial Response V   Partial redaction            6
Report ID 13781-1090-2. From Alex Green to Ann Carlson. Date August 20, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-112 Partial Response V   NHTSA-0230621-006-114 Partial Response V   Partial redaction            6
Report ID 13781-1096-2. From Alex Green to Ann Carlson. Date August 20, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-115 Partial Response V   NHTSA-0230621-006-117 Partial Response V   Partial redaction            6
Report ID 13781-1100-2. From Alex Green to Ann Carlson. Date August 20, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-118 Partial Response V   NHTSA-0230621-006-120 Partial Response V   Partial redaction            6
Report ID 13781-1102-1. From Alex Green to Ann Carlson. Date August 20, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-121 Partial Response V   NHTSA-0230621-006-123 Partial Response V   Partial redaction            6
Report ID 13781-1102-2. From Alex Green to Ann Carlson. Date January 7, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                Case 1:24-cv-01353-TSC                                                                 Document 26-4              Vaughn Index
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                               Record Description                                                     Start Page                                  End Page                    Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-124 Partial Response V   NHTSA-0230621-006-126 Partial Response V   Partial redaction            6
Report ID 13781-1111-2. From Alex Green to Ann Carlson. Date August 30, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-127 Partial Response V   NHTSA-0230621-006-129 Partial Response V   Partial redaction            6
Report ID 13781-1112-2. From Alex Green to Ann Carlson. Date August 30, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-130 Partial Response V   NHTSA-0230621-006-132 Partial Response V   Partial redaction            6
Report ID 13781-1140-1. From Alex Green to Ann Carlson. Date August 30, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-133 Partial Response V   NHTSA-0230621-006-135 Partial Response V   Partial redaction            6
Report ID 13781-1140-2. From Alex Green to Ann Carlson. Date January 7, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-136 Partial Response V   NHTSA-0230621-006-138 Partial Response V   Partial redaction            6
Report ID 13781-1150-1. From Alex Green to Ann Carlson. Date August 30, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-139 Partial Response V   NHTSA-0230621-006-141 Partial Response V   Partial redaction            6
Report ID 13781-1150-2. From Alex Green to Ann Carlson. Date January 7, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-142 Partial Response V   NHTSA-0230621-006-144 Partial Response V   Partial redaction            6
Report ID 13781-1151-1. From Alex Green to Ann Carlson. Date August 30, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-145 Partial Response V   NHTSA-0230621-006-147 Partial Response V   Partial redaction            6
Report ID 13781-1151-2. From Alex Green to Ann Carlson. Date January 7, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-148 Partial Response V   NHTSA-0230621-006-150 Partial Response V   Partial redaction            6
Report ID 13781-1154-2. From Alex Green to Ann Carlson. Date September 3, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-151 Partial Response V   NHTSA-0230621-006-153 Partial Response V   Partial redaction            6
Report ID 13781-1157-2. From Alex Green to Ann Carlson. Date September 3, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-154 Partial Response V   NHTSA-0230621-006-156 Partial Response V   Partial redaction            6
Report ID 13781-1193-1. From Alex Green to Ann Carlson. Date September 3, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-157 Partial Response V   NHTSA-0230621-006-159 Partial Response V   Partial redaction            6
Report ID 13781-1193-2. From Alex Green to Ann Carlson. Date January 7, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-160 Partial Response V   NHTSA-0230621-006-162 Partial Response V   Partial redaction            6
Report ID 13781-1194-1. From Alex Green to Ann Carlson. Date September 3, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-163 Partial Response V   NHTSA-0230621-006-165 Partial Response V   Partial redaction            6
Report ID 13781-1194-2. From Alex Green to Ann Carlson. Date January 7, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-166 Partial Response V   NHTSA-0230621-006-168 Partial Response V   Partial redaction            6
Report ID 13781-1197-2. From Alex Green to Ann Carlson. Date September 10, 2021.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-169 Partial Response V   NHTSA-0230621-006-171 Partial Response V   Partial redaction            6
Report ID 13781-1198-2. From Alex Green to Ann Carlson. Date September 10, 2021.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-172 Partial Response V   NHTSA-0230621-006-174 Partial Response V   Partial redaction            6
Report ID 13781-1218-1. From Alex Green to Ann Carlson. Date September 10, 2021.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-175 Partial Response V   NHTSA-0230621-006-177 Partial Response V   Partial redaction            6
Report ID 13781-1218-2. From Alex Green to Ann Carlson. Date January 7, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-178 Partial Response V   NHTSA-0230621-006-180 Partial Response V   Partial redaction            6
Report ID 13781-1242-2. From Alex Green to Ann Carlson. Date September 17, 2021.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-181 Partial Response V   NHTSA-0230621-006-183 Partial Response V   Partial redaction            6
Report ID 13781-1243-2. From Alex Green to Ann Carlson. Date September 17, 2021.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-184 Partial Response V   NHTSA-0230621-006-186 Partial Response V   Partial redaction            6
Report ID 13781-1244-2. From Alex Green to Ann Carlson. Date September 17, 2021.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-187 Partial Response V   NHTSA-0230621-006-189 Partial Response V   Partial redaction            6
Report ID 13781-1245-2. From Alex Green to Ann Carlson. Date September 17, 2021.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-190 Partial Response V   NHTSA-0230621-006-192 Partial Response V   Partial redaction            6
Report ID 13781-1254-2. From Alex Green to Ann Carlson. Date September 17, 2021.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-193 Partial Response V   NHTSA-0230621-006-195 Partial Response V   Partial redaction            6
Report ID 13781-1331-2. From Alex Green to Ann Carlson. Date September 24, 2021.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-196 Partial Response V   NHTSA-0230621-006-198 Partial Response V   Partial redaction            6
Report ID 13781-1332-2. From Alex Green to Ann Carlson. Date September 24, 2021.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-199 Partial Response V   NHTSA-0230621-006-201 Partial Response V   Partial redaction            6
Report ID 13781-1333-2. From Alex Green to Ann Carlson. Date September 24, 2021.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                               Record Description                                                     Start Page                                  End Page                    Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-202 Partial Response V   NHTSA-0230621-006-204 Partial Response V   Partial redaction            6
Report ID 13781-1339-2. From Alex Green to Ann Carlson. Date September 24, 2021.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-205 Partial Response V   NHTSA-0230621-006-207 Partial Response V   Partial redaction            6
Report ID 13781-1343-2. From Alex Green to Ann Carlson. Date October 1, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-208 Partial Response V   NHTSA-0230621-006-210 Partial Response V   Partial redaction            6
Report ID 13781-1344-1. From Alex Green to Ann Carlson. Date September 24, 2021.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-211 Partial Response V   NHTSA-0230621-006-213 Partial Response V   Partial redaction            6
Report ID 13781-1344-2. From Alex Green to Ann Carlson. Date January 7, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-214 Partial Response V   NHTSA-0230621-006-216 Partial Response V   Partial redaction            6
Report ID 13781-1345-2. From Alex Green to Ann Carlson. Date October 1, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-217 Partial Response V   NHTSA-0230621-006-219 Partial Response V   Partial redaction            6
Report ID 13781-1351-2. From Alex Green to Ann Carlson. Date October 1, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-220 Partial Response V   NHTSA-0230621-006-222 Partial Response V   Partial redaction            6
Report ID 13781-1352-2. From Alex Green to Ann Carlson. Date October 1, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-223 Partial Response V   NHTSA-0230621-006-225 Partial Response V   Partial redaction            6
Report ID 13781-1353-2. From Alex Green to Ann Carlson. Date October 1, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-226 Partial Response V   NHTSA-0230621-006-228 Partial Response V   Partial redaction            6
Report ID 13781-1355-2. From Alex Green to Ann Carlson. Date October 1, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-229 Partial Response V   NHTSA-0230621-006-231 Partial Response V   Partial redaction            6
Report ID 13781-1356-2. From Alex Green to Ann Carlson. Date October 1, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-232 Partial Response V   NHTSA-0230621-006-234 Partial Response V   Partial redaction            6
Report ID 13781-1357-2. From Alex Green to Ann Carlson. Date October 1, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-235 Partial Response V   NHTSA-0230621-006-237 Partial Response V   Partial redaction            6
Report ID 13781-1372-2. From Alex Green to Ann Carlson. Date October 8, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-238 Partial Response V   NHTSA-0230621-006-240 Partial Response V   Partial redaction            6
Report ID 13781-1374-2. From Alex Green to Ann Carlson. Date October 8, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-241 Partial Response V   NHTSA-0230621-006-243 Partial Response V   Partial redaction            6
Report ID 13781-1375-2. From Alex Green to Ann Carlson. Date October 8, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-244 Partial Response V   NHTSA-0230621-006-246 Partial Response V   Partial redaction            6
Report ID 13781-1383-2. From Alex Green to Ann Carlson. Date October 8, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-247 Partial Response V   NHTSA-0230621-006-249 Partial Response V   Partial redaction            6
Report ID 13781-1388-2. From Alex Green to Ann Carlson. Date October 8, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-250 Partial Response V   NHTSA-0230621-006-252 Partial Response V   Partial redaction            6
Report ID 13781-1390-2. From Alex Green to Ann Carlson. Date October 8, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-253 Partial Response V   NHTSA-0230621-006-255 Partial Response V   Partial redaction            6
Report ID 13781-1404-2. From Alex Green to Ann Carlson. Date October 15, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-256 Partial Response V   NHTSA-0230621-006-258 Partial Response V   Partial redaction            6
Report ID 13781-1405-2. From Alex Green to Ann Carlson. Date October 15, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-259 Partial Response V   NHTSA-0230621-006-261 Partial Response V   Partial redaction            6
Report ID 13781-1406-2. From Alex Green to Ann Carlson. Date October 15, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-262 Partial Response V   NHTSA-0230621-006-264 Partial Response V   Partial redaction            6
Report ID 13781-1407-2. From Alex Green to Ann Carlson. Date October 15, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-265 Partial Response V   NHTSA-0230621-006-267 Partial Response V   Partial redaction            6
Report ID 13781-1408-2. From Alex Green to Ann Carlson. Date October 15, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-268 Partial Response V   NHTSA-0230621-006-270 Partial Response V   Partial redaction            6
Report ID 13781-1439-2. From Alex Green to Ann Carlson. Date October 15, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-271 Partial Response V   NHTSA-0230621-006-273 Partial Response V   Partial redaction            6
Report ID 13781-1511-2. From Alex Green to Ann Carlson. Date October 22, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-274 Partial Response V   NHTSA-0230621-006-276 Partial Response V   Partial redaction            6
Report ID 13781-1512-2. From Alex Green to Ann Carlson. Date October 22, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-277 Partial Response V   NHTSA-0230621-006-279 Partial Response V   Partial redaction            6
Report ID 13781-1513-2. From Alex Green to Ann Carlson. Date October 22, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                               Record Description                                                     Start Page                                  End Page                    Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-280 Partial Response V   NHTSA-0230621-006-282 Partial Response V   Partial redaction            6
Report ID 13781-1516-2. From Alex Green to Ann Carlson. Date October 22, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-283 Partial Response V   NHTSA-0230621-006-285 Partial Response V   Partial redaction            6
Report ID 13781-1521-2. From Alex Green to Ann Carlson. Date October 22, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-286 Partial Response V   NHTSA-0230621-006-288 Partial Response V   Partial redaction            6
Report ID 13781-1527-2. From Alex Green to Ann Carlson. Date October 22, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-289 Partial Response V   NHTSA-0230621-006-291 Partial Response V   Partial redaction            6
Report ID 13781-1537-2. From Alex Green to Ann Carlson. Date October 29, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-292 Partial Response V   NHTSA-0230621-006-294 Partial Response V   Partial redaction            6
Report ID 13781-1538-2. From Alex Green to Ann Carlson. Date October 29, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-295 Partial Response V   NHTSA-0230621-006-297 Partial Response V   Partial redaction            6
Report ID 13781-1541-2. From Alex Green to Ann Carlson. Date October 29, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-298 Partial Response V   NHTSA-0230621-006-300 Partial Response V   Partial redaction            6
Report ID 13781-1542-2. From Alex Green to Ann Carlson. Date October 29, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-301 Partial Response V   NHTSA-0230621-006-303 Partial Response V   Partial redaction            6
Report ID 13781-1543-2. From Alex Green to Ann Carlson. Date October 29, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-304 Partial Response V   NHTSA-0230621-006-306 Partial Response V   Partial redaction            6
Report ID 13781-1544-2. From Alex Green to Ann Carlson. Date October 29, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-307 Partial Response V   NHTSA-0230621-006-309 Partial Response V   Partial redaction            6
Report ID 13781-1545-2. From Alex Green to Ann Carlson. Date October 29, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-310 Partial Response V   NHTSA-0230621-006-312 Partial Response V   Partial redaction            6
Report ID 13781-1546-2. From Alex Green to Ann Carlson. Date October 29, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-313 Partial Response V   NHTSA-0230621-006-315 Partial Response V   Partial redaction            6
Report ID 13781-1547-2. From Alex Green to Ann Carlson. Date October 29, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-316 Partial Response V   NHTSA-0230621-006-318 Partial Response V   Partial redaction            6
Report ID 13781-1551-2. From Alex Green to Ann Carlson. Date October 29, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-319 Partial Response V   NHTSA-0230621-006-321 Partial Response V   Partial redaction            6
Report ID 13781-1553-2. From Alex Green to Ann Carlson. Date November 5, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-322 Partial Response V   NHTSA-0230621-006-324 Partial Response V   Partial redaction            6
Report ID 13781-1554-2. From Alex Green to Ann Carlson. Date October 29, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-325 Partial Response V   NHTSA-0230621-006-327 Partial Response V   Partial redaction            6
Report ID 13781-1555-2. From Alex Green to Ann Carlson. Date November 5, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-328 Partial Response V   NHTSA-0230621-006-330 Partial Response V   Partial redaction            6
Report ID 13781-1556-2. From Alex Green to Ann Carlson. Date November 5, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-331 Partial Response V   NHTSA-0230621-006-333 Partial Response V   Partial redaction            6
Report ID 13781-1573-2. From Alex Green to Ann Carlson. Date November 5, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-334 Partial Response V   NHTSA-0230621-006-336 Partial Response V   Partial redaction            6
Report ID 13781-1574-2. From Alex Green to Ann Carlson. Date November 5, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-337 Partial Response V   NHTSA-0230621-006-339 Partial Response V   Partial redaction            6
Report ID 13781-1575-2. From Alex Green to Ann Carlson. Date November 5, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-340 Partial Response V   NHTSA-0230621-006-342 Partial Response V   Partial redaction            6
Report ID 13781-1584-2. From Alex Green to Ann Carlson. Date November 5, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-343 Partial Response V   NHTSA-0230621-006-345 Partial Response V   Partial redaction            6
Report ID 13781-1585-2. From Alex Green to Ann Carlson. Date November 5, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-346 Partial Response V   NHTSA-0230621-006-348 Partial Response V   Partial redaction            6
Report ID 13781-1589-2. From Alex Green to Ann Carlson. Date November 5, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-349 Partial Response V   NHTSA-0230621-006-351 Partial Response V   Partial redaction            6
Report ID 13781-1598-2. From Alex Green to Ann Carlson. Date November 5, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-352 Partial Response V   NHTSA-0230621-006-354 Partial Response V   Partial redaction            6
Report ID 13781-1599-2. From Alex Green to Ann Carlson. Date November 5, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-355 Partial Response V   NHTSA-0230621-006-357 Partial Response V   Partial redaction            6
Report ID 13781-1619-2. From Alex Green to Ann Carlson. Date November 12, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-358 Partial Response V   NHTSA-0230621-006-360 Partial Response V   Partial redaction            6
Report ID 13781-1631-2. From Alex Green to Ann Carlson. Date November 12, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-361 Partial Response V   NHTSA-0230621-006-363 Partial Response V   Partial redaction            6
Report ID 13781-1632-2. From Alex Green to Ann Carlson. Date November 12, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-364 Partial Response V   NHTSA-0230621-006-366 Partial Response V   Partial redaction            6
Report ID 13781-1646-2. From Alex Green to Ann Carlson. Date November 12, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-367 Partial Response V   NHTSA-0230621-006-369 Partial Response V   Partial redaction            6
Report ID 13781-1647-2. From Alex Green to Ann Carlson. Date November 12, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-370 Partial Response V   NHTSA-0230621-006-372 Partial Response V   Partial redaction            6
Report ID 13781-1662-2. From Alex Green to Ann Carlson. Date November 12, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-373 Partial Response V   NHTSA-0230621-006-375 Partial Response V   Partial redaction            6
Report ID 13781-1663-2. From Alex Green to Ann Carlson. Date November 12, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-376 Partial Response V   NHTSA-0230621-006-378 Partial Response V   Partial redaction            6
Report ID 13781-1734-2. From Alex Green to Ann Carlson. Date November 22, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-379 Partial Response V   NHTSA-0230621-006-381 Partial Response V   Partial redaction            6
Report ID 13781-1737-2. From Alex Green to Ann Carlson. Date November 19, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-382 Partial Response V   NHTSA-0230621-006-384 Partial Response V   Partial redaction            6
Report ID 13781-1749-2. From Alex Green to Ann Carlson. Date November 19, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-385 Partial Response V   NHTSA-0230621-006-387 Partial Response V   Partial redaction            6
Report ID 13781-1750-2. From Alex Green to Ann Carlson. Date November 19, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-388 Partial Response V   NHTSA-0230621-006-390 Partial Response V   Partial redaction            6
Report ID 13781-1771-2. From Alex Green to Ann Carlson. Date November 30, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-391 Partial Response V   NHTSA-0230621-006-393 Partial Response V   Partial redaction            6
Report ID 13781-1772-2. From Alex Green to Ann Carlson. Date November 30, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-394 Partial Response V   NHTSA-0230621-006-396 Partial Response V   Partial redaction            6
Report ID 13781-1773-2. From Alex Green to Ann Carlson. Date November 30, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-397 Partial Response V   NHTSA-0230621-006-399 Partial Response V   Partial redaction            6
Report ID 13781-1775-2. From Alex Green to Ann Carlson. Date November 30, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-400 Partial Response V   NHTSA-0230621-006-402 Partial Response V   Partial redaction            6
Report ID 13781-1776-2. From Alex Green to Ann Carlson. Date November 30, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-403 Partial Response V   NHTSA-0230621-006-405 Partial Response V   Partial redaction            6
Report ID 13781-1784-2. From Alex Green to Ann Carlson. Date December 3, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-406 Partial Response V   NHTSA-0230621-006-408 Partial Response V   Partial redaction            6
Report ID 13781-1785-1. From Alex Green to Ann Carlson. Date November 29, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-409 Partial Response V   NHTSA-0230621-006-411 Partial Response V   Partial redaction            6
Report ID 13781-1785-2. From Alex Green to Ann Carlson. Date December 3, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-412 Partial Response V   NHTSA-0230621-006-414 Partial Response V   Partial redaction            6
Report ID 13781-1793-2. From Alex Green to Ann Carlson. Date December 3, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-415 Partial Response V   NHTSA-0230621-006-417 Partial Response V   Partial redaction            6
Report ID 13781-1800-2. From Alex Green to Ann Carlson. Date December 3, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-418 Partial Response V   NHTSA-0230621-006-420 Partial Response V   Partial redaction            6
Report ID 13781-1802-2. From Alex Green to Ann Carlson. Date December 3, 2021.                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-421 Partial Response V   NHTSA-0230621-006-423 Partial Response V   Partial redaction            6
Report ID 13781-1825-2. From Alex Green to Ann Carlson. Date December 10, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-424 Partial Response V   NHTSA-0230621-006-426 Partial Response V   Partial redaction            6
Report ID 13781-1826-2. From Alex Green to Ann Carlson. Date December 10, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-427 Partial Response V   NHTSA-0230621-006-429 Partial Response V   Partial redaction            6
Report ID 13781-1854-2. From Alex Green to Ann Carlson. Date December 23, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-430 Partial Response V   NHTSA-0230621-006-432 Partial Response V   Partial redaction            6
Report ID 13781-1855-2. From Alex Green to Ann Carlson. Date December 23, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-433 Partial Response V   NHTSA-0230621-006-435 Partial Response V   Partial redaction            6
Report ID 13781-1856-2. From Alex Green to Ann Carlson. Date December 23, 2021.                                                                                                                                        information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                              WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                 Record Description                                                   Start Page                                   End Page                     Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                    of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-436 Partial Response V    NHTSA-0230621-006-438 Partial Response V    Partial redaction            6
Report ID 13781-1857-2. From Alex Green to Ann Carlson. Date December 23, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-439 Partial Response V    NHTSA-0230621-006-441 Partial Response V    Partial redaction            6
Report ID 13781-1858-2. From Alex Green to Ann Carlson. Date December 23, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-442 Partial Response V    NHTSA-0230621-006-444 Partial Response V    Partial redaction            6
Report ID 13781-1913-2. From Alex Green to Ann Carlson. Date December 23, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-445 Partial Response V    NHTSA-0230621-006-447 Partial Response V    Partial redaction            6
Report ID 13781-1932-2. From Alex Green to Ann Carlson. Date December 23, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-448 Partial Response V    NHTSA-0230621-006-450 Partial Response V    Partial redaction            6
Report ID 13781-1933-2. From Alex Green to Ann Carlson. Date December 23, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-451 Partial Response V    NHTSA-0230621-006-453 Partial Response V    Partial redaction            6
Report ID 13781-1934-2. From Alex Green to Ann Carlson. Date December 23, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-454 Partial Response V    NHTSA-0230621-006-456 Partial Response V    Partial redaction            6
Report ID 13781-1936-2. From Alex Green to Ann Carlson. Date December 23, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-457 Partial Response V    NHTSA-0230621-006-459 Partial Response V    Partial redaction            6
Report ID 13781-1939-2. From Alex Green to Ann Carlson. Date December 23, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-460 Partial Response V    NHTSA-0230621-006-462 Partial Response V    Partial redaction            6
Report ID 13781-1950-2. From Alex Green to Ann Carlson. Date December 23, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-463 Partial Response V    NHTSA-0230621-006-465 Partial Response V    Partial redaction            6
Report ID 13781-1951-2. From Alex Green to Ann Carlson. Date December 23, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-466 Partial Response V    NHTSA-0230621-006-468 Partial Response V    Partial redaction            6
Report ID 13781-1952-2. From Alex Green to Ann Carlson. Date December 23, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-469 Partial Response V    NHTSA-0230621-006-471 Partial Response V    Partial redaction            6
Report ID 13781-1953-2. From Alex Green to Ann Carlson. Date December 30, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-472 Partial Response V    NHTSA-0230621-006-474 Partial Response V    Partial redaction            6
Report ID 13781-1954-2. From Alex Green to Ann Carlson. Date December 23, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-475 Partial Response V    NHTSA-0230621-006-477 Partial Response V    Partial redaction            6
Report ID 13781-1975-2. From Alex Green to Ann Carlson. Date December 30, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-478 Partial Response V    NHTSA-0230621-006-480 Partial Response V    Partial redaction            6
Report ID 13781-1976-2. From Alex Green to Ann Carlson. Date December 30, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-481 Partial Response V    NHTSA-0230621-006-483 Partial Response V    Partial redaction            6
Report ID 13781-1977-2. From Alex Green to Ann Carlson. Date December 30, 2021.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request
                                                                                                                                                                                                                         in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary, confidential, and otherwise not publicly available and that Tesla has taken measures to ensure that the information is not released
                                                                                                                                                                                                                         outside of the company. Tesla represented that it customarily and actually keeps private the information at issue and provided such information under an assurance of privacy. Submission under NHTSA’s statutory and regulatory framework governing confidential
                                                                                                                                                                                                                         information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would
                                                                                                                                                                                                                         foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by which Tesla identifies and examines field incidents, learns from vehicles through data collection, how Tesla conducts customer, how
                                                                                                                                                                                                                         Tesla’s software and vehicle technology work, and may also include statistical or detailed proprietary information about a new feature. Releasing confidential commercial or financial information could also impact the willingness of regulated entities to provide
Letter. Subject: Confidentiality Determination for Certain Standing General Order
                                                                                                                                                                                                                         NHTSA with such confidential information in the future, either voluntarily or when required by law. Therefore, it would foreseeably harm NHTSA’s interest in obtaining confidential information, which is critical to its vehicle safety mission. NHTSA also considered
2021-01 Incident Reports Submitted by Tesla, Inc. From Kerry Kolodziej to Eric      NHTSA-0230621-006-001 Partial Response VI     NHTSA-0230621-006-044 Partial Response VI   Partial redaction           4, 6
                                                                                                                                                                                                                         whether any further information within this record could be segregated and disclosed, but any further disclosure will cause harm to Tesla and also to NHTSA as it endeavors to fulfill its important mission of ensuring vehicle safety by continuing to receive confidential
Williams. Date August 28, 2024.
                                                                                                                                                                                                                         information from vehicle manufacturers. Based on Tesla’s representations and other available information, NHTSA concluded that the information was entitled to confidential treatment pursuant to Exemption 4 of FOIA.

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Report ID 13781-4299-2. From Ryan Stanko to Ann Carlson. Date November 23,            NHTSA-0230621-006-045 Partial Response VI   NHTSA-0230621-006-047 Partial Response VI   Partial redaction            6
                                                                                                                                                                                                                         information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                 Case 1:24-cv-01353-TSC                                                                           Document 26-4        Vaughn Index
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                                                                                                                                                                                                                                 WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



                                                                                                                                                                                                                         This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the version of ADAS/ADS with which a vehicle involved in the incident is equipped. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part
                                                                                                                                                                                                                         512. Tesla described that the information is proprietary, confidential, and otherwise not publicly available and that Tesla has taken measures to ensure that the information is not released outside of the company. Tesla represented that it customarily and actually keeps private the information at issue and provided such information under an assurance of privacy. Submission under NHTSA’s statutory and
                                                                                                                                                                                                                         regulatory framework governing confidential information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information
                                                                                                                                                                                                                         private, for example, by revealing the process by which Tesla identifies and examines field incidents, learns from vehicles through data collection, how Tesla conducts customer, how Tesla’s software and vehicle technology work, and may also include statistical or detailed proprietary information about a new feature. Releasing confidential commercial or financial information could also impact the
                                                                                                                                                                                                                         willingness of regulated entities to provide NHTSA with such confidential information in the future, either voluntarily or when required by law. Therefore, it would foreseeably harm NHTSA’s interest in obtaining confidential information, which is critical to its vehicle safety mission. NHTSA also considered whether any further information within this record could be segregated and disclosed, but
                                                                                                                                                                                                                         any further disclosure would cause harm to Tesla and also to NHTSA as it endeavors to fulfill its important mission of ensuring vehicle safety by continuing to receive confidential information from vehicle manufacturers. Based on Tesla’s representations and other available information, NHTSA concluded that the information was entitled to confidential treatment pursuant to Exemption 4 of FOIA.

                                                                                                                                                                                                                         This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains whether the vehicle was within its operational design domain (ODD) at the time of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49
                                                                                                                                                                                                                         C.F.R. Part 512. Tesla described that the information is proprietary, confidential, and otherwise not publicly available and that Tesla has taken measures to ensure that the information is not released outside of the company. Tesla represented that it customarily and actually keeps private the information at issue and provided such information under an assurance of privacy. Submission under NHTSA’s
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                                                                                                                                                                                                                         4 of FOIA.
Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-048 Partial Response VI   NHTSA-0230621-006-049 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4299-2, 10-Day Update.                                                                                                                                                                                             information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                                                                                                                                                         This document contains Vehicle Identification Number(s) (VINs) of vehicle owners. A VIN consists of 17 characters, with the last 6 digits sequentially assigned by the manufacturer in the production process. The Agency has redacted the last 6 digits of VIN(s) in this document. A full VIN can be used to identify personally identifying information. For example, a complete VIN coupled with
                                                                                                                                                                                                                         information on a commercial database, such as Westlaw, easily can be used to identify the name, address, date of birth and lien information of a vehicle owner. As such, the disclosure of full VIN information would jeopardize the personal privacy of individuals. VINs contain personal information that falls within the category of files “similar” to “personnel and medical files” for Exemption 6
                                                                                                                                                                                                                         purposes. There is a significant privacy interest, and the public interest is not substantial because disclosure of complete VINs would not shed light on the agency’s performance of its statutory duties. Even assuming the public interest qualified for the Exemption 6 balancing test, the privacy interest in nondisclosure outweighs the public interest in disclosure because the PII available through the
                                                                                                                                                                                                                         disclosure of a complete VIN is so sensitive that it fits into a genus in which the balance characteristically tips in favor of nondisclosure. Therefore, if this information is released, it would constitute a clearly unwarranted invasion of personal privacy.

                                                                                                                                                                                                                         This document contains information on specific geographical locations of reported crashes, including latitude, longitude, address, and zip code, and information on when the incident occurred, including the date the incident occurred and when the reporting entity received notice of the incident. Release of this information creates a threat to privacy. When taken together with other unredacted data in the
                                                                                                                                                                                                                         incident report, such as vehicle make and model, city, and state, the location and date information could be used to ascertain the identities of individuals involved in the crash, for example, through a simple internet search. The disclosure of location and date data implicates a substantial privacy interest because it interferes with personal privacy, namely unwanted solicitation, harassment, and contact by
                                                                                                                                                                                                                         the media, attorneys, and other interested parties. Moreover, it is more than likely that the individuals involved in the reported crashes would resent an unsolicited intrusion into their experiences as the reported crashes may involve injuries of a personal and upsetting nature. The mere fact that the crashes occurred in public does not lessen the unwanted intrusion into an individual’s privacy.
                                                                                                                                                                                                                         Furthermore, it matters little that the privacy intrusion does not occur immediately as long as there is a probability of an intrusion. There is a substantial privacy interest in nondisclosure of the location and date data, which outweighs any public interest in the release of the redacted data.




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Report ID 13781-4300-2. From Ryan Stanko to Ann Carlson. Date November 23,            NHTSA-0230621-006-050 Partial Response VI   NHTSA-0230621-006-052 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-053 Partial Response VI   NHTSA-0230621-006-054 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4300-2, 10-Day Update.                                                                                                                                                                                             information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Report ID 13781-4301-2. From Ryan Stanko to Ann Carlson. Date November 23,            NHTSA-0230621-006-055 Partial Response VI   NHTSA-0230621-006-057 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-058 Partial Response VI   NHTSA-0230621-006-059 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4302-2. From Ryan Stanko to Ann Carlson. Date November 23,            NHTSA-0230621-006-060 Partial Response VI   NHTSA-0230621-006-062 Partial Response VI   Partial redaction            6
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                                                                                                                                                                                                                                 WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-063 Partial Response VI   NHTSA-0230621-006-064 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4304-2. From Ryan Stanko to Ann Carlson. Date November 23,            NHTSA-0230621-006-065 Partial Response VI   NHTSA-0230621-006-067 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-068 Partial Response VI   NHTSA-0230621-006-069 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4304-2, 10-Day Update.                                                                                                                                                                                             information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Report ID 13781-4305-2. From Ryan Stanko to Ann Carlson. Date November 23,            NHTSA-0230621-006-070 Partial Response VI   NHTSA-0230621-006-072 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-073 Partial Response VI   NHTSA-0230621-006-074 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4305-2, 10-Day Update.                                                                                                                                                                                             information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-075 Partial Response VI   NHTSA-0230621-006-076 Partial Response VI   Partial redaction            6
Report ID 13781-4327-2. From Ryan Stanko to Ann Carlson. Date December 5, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                  WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                                                                                                                     Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-078 Partial Response VI   NHTSA-0230621-006-079 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-080 Partial Response VI   NHTSA-0230621-006-082 Partial Response VI   Partial redaction            6
Report ID 13781-4328-2. From Ryan Stanko to Ann Carlson. Date December 5, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National                                                                                                                                      Tesla has taken measures to ensure that the information is not released outside of the company. Tesla represented that it customarily and actually keeps private the information at issue and provided such information under an assurance of privacy. Submission under NHTSA’s statutory and regulatory framework governing confidential information provides an assurance that any such information determined to be confidential will be protected from public
                                                                                                                                                                                                                         disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by which Tesla identifies and examines field incidents, learns from vehicles through data collection, how Tesla conducts customer, how Tesla’s software and vehicle technology work,
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-083 Partial Response VI   NHTSA-0230621-006-084 Partial Response VI   Partial redaction           4, 6           and may also include statistical or detailed proprietary information about a new feature. Releasing confidential commercial or financial information could also impact the willingness of regulated entities to provide NHTSA with such confidential information in the future, either voluntarily or when required by law. Therefore, it would foreseeably harm NHTSA’s interest in obtaining confidential information, which is critical to its vehicle safety mission. NHTSA
13781-4328-2, 10-Day Update.                                                                                                                                                                                             also considered whether any further information within this record could be segregated and disclosed, but any further disclosure will cause harm to Tesla and also to NHTSA as it endeavors to fulfill its important mission of ensuring vehicle safety by continuing to receive confidential information from vehicle manufacturers. Based on Tesla’s representations and other available information, NHTSA concluded that the information was entitled to confidential
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                                                                                                                                                                                                                         light on the agency’s performance of its statutory duties. Even assuming the public interest qualified for the Exemption 6 balancing test, the privacy interest in nondisclosure outweighs the public interest in disclosure because the PII available through the disclosure of a complete VIN is so sensitive that it fits into a genus in which the balance characteristically tips in favor of nondisclosure. Therefore, if this information is released, it would constitute a clearly
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                                                                                                                                                                                                                         the location and date data, which outweighs any public interest in the release of the redacted data.

                                                                                                                                                                                                                         This document contains personally identifying information (PII) consisting of an investigating agency. Disclosure of this information would constitute an unwarranted invasion of personal privacy. When taken together with other unredacted data in the incident report, such as vehicle make and model, city, and state, information about the investigator could be used to ascertain the identities of individuals involved in the crash, for example, through a simple
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                    of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-085 Partial Response VI   NHTSA-0230621-006-087 Partial Response VI   Partial redaction            6
Report ID 13781-4333-2. From Ryan Stanko to Ann Carlson. Date December 6, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-088 Partial Response VI   NHTSA-0230621-006-089 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4333-2, 10-Day Update.                                                                                                                                                                                             information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-090 Partial Response VI   NHTSA-0230621-006-092 Partial Response VI   Partial redaction            6
Report ID 13781-4334-2. From Ryan Stanko to Ann Carlson. Date December 6, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                 WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-093 Partial Response VI   NHTSA-0230621-006-094 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4334-2, 10-Day Update.                                                                                                                                                                                             information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-095 Partial Response VI   NHTSA-0230621-006-097 Partial Response VI   Partial redaction            6
Report ID 13781-4335-2. From Ryan Stanko to Ann Carlson. Date December 6, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
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                                                                                      NHTSA-0230621-006-100 Partial Response VI   NHTSA-0230621-006-102 Partial Response VI   Partial redaction            6
Report ID 13781-4336-2. From Ryan Stanko to Ann Carlson. Date December 6, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-103 Partial Response VI   NHTSA-0230621-006-104 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-105 Partial Response VI   NHTSA-0230621-006-107 Partial Response VI   Partial redaction            6
Report ID 13781-4337-2. From Ryan Stanko to Ann Carlson. Date December 6, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                 WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-108 Partial Response VI   NHTSA-0230621-006-109 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-110 Partial Response VI   NHTSA-0230621-006-112 Partial Response VI   Partial redaction            6
Report ID 13781-4338-2. From Ryan Stanko to Ann Carlson. Date December 7, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-113 Partial Response VI   NHTSA-0230621-006-114 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                    of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-115 Partial Response VI   NHTSA-0230621-006-117 Partial Response VI   Partial redaction            6
Report ID 13781-4340-2. From Ryan Stanko to Ann Carlson. Date December 7, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-118 Partial Response VI   NHTSA-0230621-006-119 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4340-2, 10-Day Update.                                                                                                                                                                                             information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-120 Partial Response VI   NHTSA-0230621-006-122 Partial Response VI   Partial redaction            6
Report ID 13781-4341-2. From Ryan Stanko to Ann Carlson. Date December 7, 2022.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                 WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-123 Partial Response VI   NHTSA-0230621-006-124 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4344-2. From Ryan Stanko to Ann Carlson. Date December 12,            NHTSA-0230621-006-125 Partial Response VI   NHTSA-0230621-006-127 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-128 Partial Response VI   NHTSA-0230621-006-129 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4353-2. From Ryan Stanko to Ann Carlson. Date December 15,            NHTSA-0230621-006-130 Partial Response VI   NHTSA-0230621-006-132 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-133 Partial Response VI   NHTSA-0230621-006-134 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4353-3. From Ryan Stanko to Ann Carlson. Date December 20,            NHTSA-0230621-006-135 Partial Response VI   NHTSA-0230621-006-137 Partial Response VI   Partial redaction            6
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                                                                                                                                                                                                                                 WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-138 Partial Response VI   NHTSA-0230621-006-139 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4354-2. From Ryan Stanko to Ann Carlson. Date December 15,            NHTSA-0230621-006-140 Partial Response VI   NHTSA-0230621-006-142 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-143 Partial Response VI   NHTSA-0230621-006-144 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-148 Partial Response VI   NHTSA-0230621-006-149 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4354-3, Monthly Update, December 2022.                                                                                                                                                                             information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Report ID 13781-4355-2. From Ryan Stanko to Ann Carlson. Date December 14,            NHTSA-0230621-006-150 Partial Response VI   NHTSA-0230621-006-152 Partial Response VI   Partial redaction            6
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                                                                                                                                                                                                                                 WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-153 Partial Response VI   NHTSA-0230621-006-154 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4356-2. From Ryan Stanko to Ann Carlson. Date December 14,            NHTSA-0230621-006-155 Partial Response VI   NHTSA-0230621-006-157 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-158 Partial Response VI   NHTSA-0230621-006-159 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4357-2. From Ryan Stanko to Ann Carlson. Date December 14,            NHTSA-0230621-006-160 Partial Response VI   NHTSA-0230621-006-162 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-163 Partial Response VI   NHTSA-0230621-006-164 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4357-2, 10-Day Update.                                                                                                                                                                                             information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Report ID 13781-4358-2. From Ryan Stanko to Ann Carlson. Date December 14,            NHTSA-0230621-006-165 Partial Response VI   NHTSA-0230621-006-167 Partial Response VI   Partial redaction            6
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                                                                                                                                                                                                                                 WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-168 Partial Response VI   NHTSA-0230621-006-169 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4359-2. From Ryan Stanko to Ann Carlson. Date December 14,            NHTSA-0230621-006-170 Partial Response VI   NHTSA-0230621-006-172 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
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Report ID 13781-4361-2. From Ryan Stanko to Ann Carlson. Date December 14,            NHTSA-0230621-006-175 Partial Response VI   NHTSA-0230621-006-177 Partial Response VI   Partial redaction            6
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident
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Report ID 13781-4376-2. From Ryan Stanko to Ann Carlson. Date December 14,            NHTSA-0230621-006-180 Partial Response VI   NHTSA-0230621-006-182 Partial Response VI   Partial redaction            6
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                                                                                                                                                                                                                                 WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-183 Partial Response VI   NHTSA-0230621-006-184 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4376-2, 10-Day Update.                                                                                                                                                                                             information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Report ID 13781-4380-2. From Ryan Stanko to Ann Carlson. Date December 14,            NHTSA-0230621-006-185 Partial Response VI   NHTSA-0230621-006-187 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-188 Partial Response VI   NHTSA-0230621-006-189 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4381-2. From Ryan Stanko to Ann Carlson. Date December 14,            NHTSA-0230621-006-190 Partial Response VI   NHTSA-0230621-006-192 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-193 Partial Response VI   NHTSA-0230621-006-194 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4387-2. From Ryan Stanko to Ann Carlson. Date December 19,            NHTSA-0230621-006-195 Partial Response VI   NHTSA-0230621-006-197 Partial Response VI   Partial redaction            6
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                                                                                                                                                 Case 1:24-cv-01353-TSC                                                                           Document 26-4        Vaughn Index
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                                                                                                                                                                                                                                 WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-198 Partial Response VI   NHTSA-0230621-006-199 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4402-2. From Ryan Stanko to Ann Carlson. Date December 19,            NHTSA-0230621-006-200 Partial Response VI   NHTSA-0230621-006-202 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-203 Partial Response VI   NHTSA-0230621-006-204 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4403-2. From Ryan Stanko to Ann Carlson. Date December 19,            NHTSA-0230621-006-205 Partial Response VI   NHTSA-0230621-006-204 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-208 Partial Response VI   NHTSA-0230621-006-209 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                                                                                                                                                                 WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-213 Partial Response VI   NHTSA-0230621-006-214 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4404-2, 10-Day Update.                                                                                                                                                                                             information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Report ID 13781-4407-2. From Ryan Stanko to Ann Carlson. Date December 19,            NHTSA-0230621-006-215 Partial Response VI   NHTSA-0230621-006-217 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-218 Partial Response VI   NHTSA-0230621-006-219 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4408-2. From Ryan Stanko to Ann Carlson. Date December 19,            NHTSA-0230621-006-220 Partial Response VI   NHTSA-0230621-006-222 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-223 Partial Response VI   NHTSA-0230621-006-224 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4409-2. From Ryan Stanko to Ann Carlson. Date December 19,            NHTSA-0230621-006-225 Partial Response VI   NHTSA-0230621-006-227 Partial Response VI   Partial redaction            6
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                                                                                                                                                                                                                                 WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-228 Partial Response VI   NHTSA-0230621-006-229 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4409-2, 10-Day Update.                                                                                                                                                                                             information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Report ID 13781-4410-2. From Ryan Stanko to Ann Carlson. Date December 19,            NHTSA-0230621-006-230 Partial Response VI   NHTSA-0230621-006-232 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-233 Partial Response VI   NHTSA-0230621-006-234 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4411-2. From Ryan Stanko to Ann Carlson. Date December 19,            NHTSA-0230621-006-235 Partial Response VI   NHTSA-0230621-006-237 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-238 Partial Response VI   NHTSA-0230621-006-239 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4412-2. From Ryan Stanko to Ann Carlson. Date December 19,            NHTSA-0230621-006-240 Partial Response VI   NHTSA-0230621-006-242 Partial Response VI   Partial redaction            6
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                                                                                                                                                                                                                                 WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                                                                                        Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-243 Partial Response VI   NHTSA-0230621-006-244 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4412-2, 10-Day Update.                                                                                                                                                                                             information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident
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Report ID 13781-4414-2. From Ryan Stanko to Ann Carlson. Date December 20,            NHTSA-0230621-006-245 Partial Response VI   NHTSA-0230621-006-247 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-248 Partial Response VI   NHTSA-0230621-006-249 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4414-2, 10-Day Update.                                                                                                                                                                                             information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Report ID 13781-4419-2. From Ryan Stanko to Ann Carlson. Date December 20,            NHTSA-0230621-006-250 Partial Response VI   NHTSA-0230621-006-242 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-253 Partial Response VI   NHTSA-0230621-006-254 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4420-2. From Ryan Stanko to Ann Carlson. Date December 20,            NHTSA-0230621-006-255 Partial Response VI   NHTSA-0230621-006-257 Partial Response VI   Partial redaction            6
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                                                                                                                                                                                                                                 WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-258 Partial Response VI   NHTSA-0230621-006-259 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4421-2. From Ryan Stanko to Ann Carlson. Date December 20,            NHTSA-0230621-006-260 Partial Response VI   NHTSA-0230621-006-262 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-263 Partial Response VI   NHTSA-0230621-006-264 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4423-2. From Ryan Stanko to Ann Carlson. Date December 20,            NHTSA-0230621-006-265 Partial Response VI   NHTSA-0230621-006-267 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-268 Partial Response VI   NHTSA-0230621-006-269 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4424-2. From Ryan Stanko to Ann Carlson. Date December 20,            NHTSA-0230621-006-270 Partial Response VI   NHTSA-0230621-006-272 Partial Response VI   Partial redaction            6
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                                                                                                                                                                                                                                 WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
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Report ID 13781-4440-2. From Ryan Stanko to Ann Carlson. Date December 20,            NHTSA-0230621-006-275 Partial Response VI   NHTSA-0230621-006-277 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-278 Partial Response VI   NHTSA-0230621-006-279 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4440-2, 10-Day Update.                                                                                                                                                                                             information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Report ID 13781-4443-2. From Ryan Stanko to Ann Carlson. Date December 23,            NHTSA-0230621-006-280 Partial Response VI   NHTSA-0230621-006-282 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-283 Partial Response VI   NHTSA-0230621-006-284 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4444-2. From Ryan Stanko to Ann Carlson. Date December 23,            NHTSA-0230621-006-285 Partial Response VI   NHTSA-0230621-006-287 Partial Response VI   Partial redaction            6
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                                                                                                                                                                                                                                 WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-288 Partial Response VI   NHTSA-0230621-006-289 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4445-2. From Ryan Stanko to Ann Carlson. Date December 23,            NHTSA-0230621-006-290 Partial Response VI   NHTSA-0230621-006-288 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-293 Partial Response VI   NHTSA-0230621-006-294 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4445-2, 10-Day Update.                                                                                                                                                                                             information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Report ID 13781-4446-2. From Ryan Stanko to Ann Carlson. Date December 23,            NHTSA-0230621-006-295 Partial Response VI   NHTSA-0230621-006-297 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-298 Partial Response VI   NHTSA-0230621-006-299 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4446-2, 10-Day Update.                                                                                                                                                                                             information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Report ID 13781-4479-2. From Ryan Stanko to Ann Carlson. Date December 20,            NHTSA-0230621-006-300 Partial Response VI   NHTSA-0230621-006-302 Partial Response VI   Partial redaction            6
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                                                                                                                                                                                                                                 WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-303 Partial Response VI   NHTSA-0230621-006-304 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4501-2. From Ryan Stanko to Ann Carlson. Date December 23,            NHTSA-0230621-006-305 Partial Response VI   NHTSA-0230621-006-307 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-308 Partial Response VI   NHTSA-0230621-006-309 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4501-2, 10-Day Update.                                                                                                                                                                                             information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Report ID 13781-4502-2. From Ryan Stanko to Ann Carlson. Date December 23,            NHTSA-0230621-006-310 Partial Response VI   NHTSA-0230621-006-312 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
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Report ID 13781-4503-2. From Ryan Stanko to Ann Carlson. Date December 23,            NHTSA-0230621-006-315 Partial Response VI   NHTSA-0230621-006-317 Partial Response VI   Partial redaction            6
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                                                                                                                                                                                                                                 WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
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Report ID 13781-4504-2. From Ryan Stanko to Ann Carlson. Date December 23,            NHTSA-0230621-006-320 Partial Response VI   NHTSA-0230621-006-322 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
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Report ID 13781-4513-2. From Ryan Stanko to Ann Carlson. Date December 23,            NHTSA-0230621-006-325 Partial Response VI   NHTSA-0230621-006-327 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-328 Partial Response VI   NHTSA-0230621-006-329 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4538-2. From Ryan Stanko to Ann Carlson. Date December 29,            NHTSA-0230621-006-330 Partial Response VI   NHTSA-0230621-006-332 Partial Response VI   Partial redaction            6
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                                                                                                                                                                                                                                 WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-333 Partial Response VI   NHTSA-0230621-006-324 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-338 Partial Response VI   NHTSA-0230621-006-339 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4542-2. From Ryan Stanko to Ann Carlson. Date December 29,            NHTSA-0230621-006-340 Partial Response VI   NHTSA-0230621-006-342 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-343 Partial Response VI   NHTSA-0230621-006-344 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4542-2, 10-Day Update.                                                                                                                                                                                             information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Report ID 13781-4543-2. From Ryan Stanko to Ann Carlson. Date December 29,            NHTSA-0230621-006-345 Partial Response VI   NHTSA-0230621-006-347 Partial Response VI   Partial redaction            6
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                                                                                                                                                                                                                                 WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-348 Partial Response VI   NHTSA-0230621-006-349 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4552-2. From Ryan Stanko to Ann Carlson. Date December 30,            NHTSA-0230621-006-350 Partial Response VI   NHTSA-0230621-006-352 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-353 Partial Response VI   NHTSA-0230621-006-354 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4553-1. From Ryan Stanko to Ann Carlson. Date December 26,            NHTSA-0230621-006-355 Partial Response VI   NHTSA-0230621-006-357 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
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Report ID 13781-4556-2. From Ryan Stanko to Ann Carlson. Date December 30,            NHTSA-0230621-006-363 Partial Response VI   NHTSA-0230621-006-365 Partial Response VI   Partial redaction            6
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                                                                                                                                                                                                                                 WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Report ID 13781-4557-2. From Ryan Stanko to Ann Carlson. Date December 30,            NHTSA-0230621-006-368 Partial Response VI   NHTSA-0230621-006-370 Partial Response VI   Partial redaction            6
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Report ID 13781-4558-2. From Ryan Stanko to Ann Carlson. Date December 30,            NHTSA-0230621-006-373 Partial Response VI   NHTSA-0230621-006-375 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-376 Partial Response VI   NHTSA-0230621-006-377 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4558-2, 10-Day Update.                                                                                                                                                                                             information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Report ID 13781-4559-2. From Ryan Stanko to Ann Carlson. Date December 30,            NHTSA-0230621-006-378 Partial Response VI   NHTSA-0230621-006-380 Partial Response VI   Partial redaction            6
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                                                                                                                                                                                                                                 WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-381 Partial Response VI   NHTSA-0230621-006-382 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4560-2. From Ryan Stanko to Ann Carlson. Date December 30,            NHTSA-0230621-006-383 Partial Response VI   NHTSA-0230621-006-385 Partial Response VI   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-386 Partial Response VI   NHTSA-0230621-006-387 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-388 Partial Response VI   NHTSA-0230621-006-390 Partial Response VI   Partial redaction            6
Report ID 13781-4564-2. From Ryan Stanko to Ann Carlson. Date January 9, 2023.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-391 Partial Response VI   NHTSA-0230621-006-392 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4564-2, 10-Day Update.                                                                                                                                                                                             information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                    of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-393 Partial Response VI   NHTSA-0230621-006-395 Partial Response VI   Partial redaction            6
Report ID 13781-4565-2. From Ryan Stanko to Ann Carlson. Date January 9, 2023.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                 WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-396 Partial Response VI   NHTSA-0230621-006-397 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4565-2, 10-Day Update.                                                                                                                                                                                             information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-398 Partial Response VI   NHTSA-0230621-006-400 Partial Response VI   Partial redaction            6
Report ID 13781-4577-2. From Ryan Stanko to Ann Carlson. Date January 9, 2023.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-401 Partial Response VI   NHTSA-0230621-006-402 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-403 Partial Response VI   NHTSA-0230621-006-405 Partial Response VI   Partial redaction            6
Report ID 13781-4583-2. From Ryan Stanko to Ann Carlson. Date January 9, 2023.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-406 Partial Response VI   NHTSA-0230621-006-407 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                    of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-408 Partial Response VI   NHTSA-0230621-006-410 Partial Response VI   Partial redaction            6
Report ID 13781-4584-2. From Ryan Stanko to Ann Carlson. Date January 9, 2023.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                 WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-411 Partial Response VI   NHTSA-0230621-006-412 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-413 Partial Response VI   NHTSA-0230621-006-415 Partial Response VI   Partial redaction            6
Report ID 13781-4585-2. From Ryan Stanko to Ann Carlson. Date January 9, 2023.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-416 Partial Response VI   NHTSA-0230621-006-417 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-418 Partial Response VI   NHTSA-0230621-006-419 Partial Response VI   Partial redaction            6
Report ID 13781-4586-2. From Ryan Stanko to Ann Carlson. Date January 9, 2023.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-421 Partial Response VI   NHTSA-0230621-006-422 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                    of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-423 Partial Response VI   NHTSA-0230621-006-425 Partial Response VI   Partial redaction            6
Report ID 13781-4587-2. From Ryan Stanko to Ann Carlson. Date January 11, 2023.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                 Case 1:24-cv-01353-TSC                                                                           Document 26-4        Vaughn Index
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                                                                                                                                                                                                                                 WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-426 Partial Response VI   NHTSA-0230621-006-427 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4587-2, 10-Day Update.                                                                                                                                                                                             information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-428 Partial Response VI   NHTSA-0230621-006-430 Partial Response VI   Partial redaction            6
Report ID 13781-4588-2. From Ryan Stanko to Ann Carlson. Date January 11, 2023.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-431 Partial Response VI   NHTSA-0230621-006-432 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4588-2, 10-Day Update.                                                                                                                                                                                             information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-433 Partial Response VI   NHTSA-0230621-006-435 Partial Response VI   Partial redaction            6
Report ID 13781-4590-2. From Ryan Stanko to Ann Carlson. Date January 11, 2023.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-436 Partial Response VI   NHTSA-0230621-006-437 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-438 Partial Response VI   NHTSA-0230621-006-440 Partial Response VI   Partial redaction            6
Report ID 13781-4592-2. From Ryan Stanko to Ann Carlson. Date January 11, 2023.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                 WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-441 Partial Response VI   NHTSA-0230621-006-442 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4592-2, 10-Day Update.                                                                                                                                                                                             information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-443 Partial Response VI   NHTSA-0230621-006-445 Partial Response VI   Partial redaction            6
Report ID 13781-4596-2. From Ryan Stanko to Ann Carlson. Date January 15, 2023.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-446 Partial Response VI   NHTSA-0230621-006-447 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-448 Partial Response VI   NHTSA-0230621-006-450 Partial Response VI   Partial redaction            6
Report ID 13781-4597-2. From Ryan Stanko to Ann Carlson. Date January 15, 2023.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-451 Partial Response VI   NHTSA-0230621-006-452 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-453 Partial Response VI   NHTSA-0230621-006-455 Partial Response VI   Partial redaction            6
Report ID 13781-4598-2. From Ryan Stanko to Ann Carlson. Date January 15, 2023.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                 WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-456 Partial Response VI   NHTSA-0230621-006-457 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4598-2, 10-Day Update.                                                                                                                                                                                             information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-458 Partial Response VI   NHTSA-0230621-006-460 Partial Response VI   Partial redaction            6
Report ID 13781-4599-2. From Ryan Stanko to Ann Carlson. Date January 15, 2023.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-461 Partial Response VI   NHTSA-0230621-006-462 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-463 Partial Response VI   NHTSA-0230621-006-465 Partial Response VI   Partial redaction            6
Report ID 13781-4604-2. From Ryan Stanko to Ann Carlson. Date January 15, 2023.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-466 Partial Response VI   NHTSA-0230621-006-467 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-468 Partial Response VI   NHTSA-0230621-006-470 Partial Response VI   Partial redaction            6
Report ID 13781-4606-1. From Ryan Stanko to Ann Carlson. Date January 9, 2023.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                 WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-471 Partial Response VI   NHTSA-0230621-006-472 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4606-1, 1-Day Report.                                                                                                                                                                                              information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-473 Partial Response VI   NHTSA-0230621-006-475 Partial Response VI   Partial redaction            6
Report ID 13781-4606-2. From Ryan Stanko to Ann Carlson. Date January 18, 2023.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-476 Partial Response VI   NHTSA-0230621-006-477 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4606-2, 10-Day Update.                                                                                                                                                                                             information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-478 Partial Response VI   NHTSA-0230621-006-480 Partial Response VI   Partial redaction            6
Report ID 13781-4607-2. From Ryan Stanko to Ann Carlson. Date January 18, 2023.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-481 Partial Response VI   NHTSA-0230621-006-482 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-483 Partial Response VI   NHTSA-0230621-006-485 Partial Response VI   Partial redaction            6
Report ID 13781-4608-2. From Ryan Stanko to Ann Carlson. Date January 18, 2023.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                 WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-486 Partial Response VI   NHTSA-0230621-006-487 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-488 Partial Response VI   NHTSA-0230621-006-490 Partial Response VI   Partial redaction            6
Report ID 13781-4609-2. From Ryan Stanko to Ann Carlson. Date January 18, 2023.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-491 Partial Response VI   NHTSA-0230621-006-492 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-493 Partial Response VI   NHTSA-0230621-006-495 Partial Response VI   Partial redaction            6
Report ID 13781-4610-2. From Ryan Stanko to Ann Carlson. Date January 18, 2023.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-496 Partial Response VI   NHTSA-0230621-006-497 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-498 Partial Response VI   NHTSA-0230621-006-500 Partial Response VI   Partial redaction            6
Report ID 13781-4611-2. From Ryan Stanko to Ann Carlson. Date January 18, 2023.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                 WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-501 Partial Response VI   NHTSA-0230621-006-502 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-503 Partial Response VI   NHTSA-0230621-006-505 Partial Response VI   Partial redaction            6
Report ID 13781-4625-2. From Ryan Stanko to Ann Carlson. Date January 19, 2023.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-506 Partial Response VI   NHTSA-0230621-006-507 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-508 Partial Response VI   NHTSA-0230621-006-510 Partial Response VI   Partial redaction            6
Report ID 13781-4626-2. From Ryan Stanko to Ann Carlson. Date January 19, 2023.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-511 Partial Response VI   NHTSA-0230621-006-512 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4627-2. From Ryan Stanko to Ann Carlson. Date January 19, 2023.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                 WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                 End Page                     Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Report ID 13781-4637-2. From Ryan Stanko to Ann Carlson. Date January 19, 2023.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-521 Partial Response VI   NHTSA-0230621-006-522 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4637-2, 10-Day Update.                                                                                                                                                                                             information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-523 Partial Response VI   NHTSA-0230621-006-525 Partial Response VI   Partial redaction            6
Report ID 13781-4638-2. From Ryan Stanko to Ann Carlson. Date January 19, 2023.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-526 Partial Response VI   NHTSA-0230621-006-527 Partial Response VI   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4639-2. From Ryan Stanko to Ann Carlson. Date January 19, 2023.                                                                                                                                          information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                 Record Description                                                     Start Page                                  End Page                      Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-531 Partial Response VI    NHTSA-0230621-006-532 Partial Response VI    Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-536 Partial Response VI    NHTSA-0230621-006-537 Partial Response VI    Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4649-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Confidentiality Determination for Certain Standing General Order
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2021-01 Incident Reports Submitted by Tesla, Inc. From Kerry Kolodziej to Eric        NHTSA-0230621-006-001 Partial Response VII   NHTSA-0230621-006-049 Partial Response VII   Partial redaction           4, 6
                                                                                                                                                                                                                           whether any further information within this record could be segregated and disclosed, but any further disclosure will cause harm to Tesla and also to NHTSA as it endeavors to fulfill its important mission of ensuring vehicle safety by continuing to receive confidential
Williams. Date September 6, 2024.
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                                                                                      NHTSA-0230621-006-050 Partial Response VII   NHTSA-0230621-006-052 Partial Response VII   Partial redaction            6
Report ID 13781-4693-2. From Ryan Stanko to Ann Carlson. Date January 24, 2023.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-053 Partial Response VII   NHTSA-0230621-006-054 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4693-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-055 Partial Response VII   NHTSA-0230621-006-057 Partial Response VII   Partial redaction            6
Report ID 13781-4694-2. From Ryan Stanko to Ann Carlson. Date January 25, 2023.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                  Case 1:24-cv-01353-TSC                                                                            Document 26-4        Vaughn Index
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                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                  End Page                      Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-058 Partial Response VII   NHTSA-0230621-006-059 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-060 Partial Response VII   NHTSA-0230621-006-062 Partial Response VII   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-063 Partial Response VII   NHTSA-0230621-006-064 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4695-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                      of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-065 Partial Response VII   NHTSA-0230621-006-067 Partial Response VII   Partial redaction            6
Report ID 13781-4696-2. From Ryan Stanko to Ann Carlson. Date January 25, 2023.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-068 Partial Response VII   NHTSA-0230621-006-069 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4696-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-070 Partial Response VII   NHTSA-0230621-006-072 Partial Response VII   Partial redaction            6
Report ID 13781-4698-2. From Ryan Stanko to Ann Carlson. Date January 25, 2023.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                  End Page                      Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-073 Partial Response VII   NHTSA-0230621-006-074 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-075 Partial Response VII   NHTSA-0230621-006-077 Partial Response VII   Partial redaction            6
Report ID 13781-4699-2. From Ryan Stanko to Ann Carlson. Date January 25, 2023.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-078 Partial Response VII   NHTSA-0230621-006-079 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                      of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-080 Partial Response VII   NHTSA-0230621-006-082 Partial Response VII   Partial redaction            6
Report ID 13781-4700-2. From Ryan Stanko to Ann Carlson. Date January 25, 2023.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-083 Partial Response VII   NHTSA-0230621-006-084 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-085 Partial Response VII   NHTSA-0230621-006-087 Partial Response VII   Partial redaction            6
Report ID 13781-4709-2. From Ryan Stanko to Ann Carlson. Date January 26, 2023.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                  End Page                      Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-088 Partial Response VII   NHTSA-0230621-006-089 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-090 Partial Response VII   NHTSA-0230621-006-092 Partial Response VII   Partial redaction            6
Report ID 13781-4724-2. From Ryan Stanko to Ann Carlson. Date January 26, 2023.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-093 Partial Response VII   NHTSA-0230621-006-094 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-095 Partial Response VII   NHTSA-0230621-006-097 Partial Response VII   Partial redaction            6
Report ID 13781-4725-2. From Ryan Stanko to Ann Carlson. Date January 26, 2023.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-098 Partial Response VII   NHTSA-0230621-006-099 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4725-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-100 Partial Response VII   NHTSA-0230621-006-102 Partial Response VII   Partial redaction            6
Report ID 13781-4727-2. From Ryan Stanko to Ann Carlson. Date January 26, 2023.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                  End Page                      Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-103 Partial Response VII   NHTSA-0230621-006-104 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-105 Partial Response VII   NHTSA-0230621-006-107 Partial Response VII   Partial redaction            6
Report ID 13781-4733-2. From Ryan Stanko to Ann Carlson. Date January 26, 2023.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-108 Partial Response VII   NHTSA-0230621-006-109 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-110 Partial Response VII   NHTSA-0230621-006-112 Partial Response VII   Partial redaction            6
Report ID 13781-4747-2. From Ryan Stanko to Ann Carlson. Date January 26, 2023.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-113 Partial Response VII   NHTSA-0230621-006-114 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4747-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-115 Partial Response VII   NHTSA-0230621-006-117 Partial Response VII   Partial redaction            6
Report ID 13781-4748-2. From Ryan Stanko to Ann Carlson. Date January 30, 2023.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                                                                                                                                          Filed 04/02/25                                                                                 Page 76 of 197
                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                  End Page                      Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-118 Partial Response VII   NHTSA-0230621-006-119 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4748-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-120 Partial Response VII   NHTSA-0230621-006-122 Partial Response VII   Partial redaction            6
Report ID 13781-4749-2. From Ryan Stanko to Ann Carlson. Date January 30, 2023.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-123 Partial Response VII   NHTSA-0230621-006-124 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-4752-2. From Ryan Stanko to Ann Carlson. Date January 30, 2023.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-128 Partial Response VII   NHTSA-0230621-006-129 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-130 Partial Response VII   NHTSA-0230621-006-132 Partial Response VII   Partial redaction            6
Report ID 13781-4753-2. From Ryan Stanko to Ann Carlson. Date January 30, 2023.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                  End Page                      Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
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Report ID 13781-4754-2. From Ryan Stanko to Ann Carlson. Date January 30, 2023.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-143 Partial Response VII   NHTSA-0230621-006-144 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4755-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                      of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-145 Partial Response VII   NHTSA-0230621-006-147 Partial Response VII   Partial redaction            6
Report ID 13781-4776-2. From Ryan Stanko to Ann Carlson. Date January 30, 2023.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                  Case 1:24-cv-01353-TSC                                                                            Document 26-4        Vaughn Index
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                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                  End Page                      Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-148 Partial Response VII   NHTSA-0230621-006-149 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-150 Partial Response VII   NHTSA-0230621-006-152 Partial Response VII   Partial redaction            6
Report ID 13781-4777-2. From Ryan Stanko to Ann Carlson. Date February 6, 2023.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-153 Partial Response VII   NHTSA-0230621-006-154 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-155 Partial Response VII   NHTSA-0230621-006-157 Partial Response VII   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-158 Partial Response VII   NHTSA-0230621-006-159 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4778-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-160 Partial Response VII   NHTSA-0230621-006-162 Partial Response VII   Partial redaction            6
Report ID 13781-4786-2. From Ryan Stanko to Ann Carlson. Date February 6, 2023.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                  Case 1:24-cv-01353-TSC                                                                            Document 26-4        Vaughn Index
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                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                  End Page                      Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-163 Partial Response VII   NHTSA-0230621-006-164 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-165 Partial Response VII   NHTSA-0230621-006-167 Partial Response VII   Partial redaction            6
Report ID 13781-4788-2. From Ryan Stanko to Ann Carlson. Date February 6, 2023.                                                                                                                                            information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-168 Partial Response VII   NHTSA-0230621-006-169 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                      of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-175 Partial Response VII   NHTSA-0230621-006-177 Partial Response VII   Partial redaction            6
Report ID 13781-4807-2. From Ryan Stanko to Ann Carlson. Date February 13, 2023.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                  Case 1:24-cv-01353-TSC                                                                            Document 26-4        Vaughn Index
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                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                  End Page                      Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-178 Partial Response VII   NHTSA-0230621-006-179 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4807-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-180 Partial Response VII   NHTSA-0230621-006-182 Partial Response VII   Partial redaction            6
Report ID 13781-4808-2. From Ryan Stanko to Ann Carlson. Date February 13, 2023.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-183 Partial Response VII   NHTSA-0230621-006-184 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-185 Partial Response VII   NHTSA-0230621-006-187 Partial Response VII   Partial redaction            6
Report ID 13781-4822-2. From Ryan Stanko to Ann Carlson. Date February 13, 2023.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-188 Partial Response VII   NHTSA-0230621-006-189 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                      of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-190 Partial Response VII   NHTSA-0230621-006-192 Partial Response VII   Partial redaction            6
Report ID 13781-4823-2. From Ryan Stanko to Ann Carlson. Date February 18, 2023.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                  Case 1:24-cv-01353-TSC                                                                            Document 26-4        Vaughn Index
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                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                  End Page                      Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-193 Partial Response VII   NHTSA-0230621-006-194 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4823-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-195 Partial Response VII   NHTSA-0230621-006-197 Partial Response VII   Partial redaction            6
Report ID 13781-4824-2. From Ryan Stanko to Ann Carlson. Date February 13, 2023.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-198 Partial Response VII   NHTSA-0230621-006-199 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-200 Partial Response VII   NHTSA-0230621-006-202 Partial Response VII   Partial redaction            6
Report ID 13781-4825-2. From Ryan Stanko to Ann Carlson. Date February 13, 2023.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-203 Partial Response VII   NHTSA-0230621-006-204 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-205 Partial Response VII   NHTSA-0230621-006-207 Partial Response VII   Partial redaction            6
Report ID 13781-4830-2. From Ryan Stanko to Ann Carlson. Date February 18, 2023.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                  End Page                      Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



                                                                                                                                                                                                                           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the version of ADAS/ADS with which a vehicle involved in the incident is equipped. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-208 Partial Response VII   NHTSA-0230621-006-209 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4830-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                      of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-210 Partial Response VII   NHTSA-0230621-006-212 Partial Response VII   Partial redaction            6
Report ID 13781-4831-2. From Ryan Stanko to Ann Carlson. Date February 18, 2023.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-213 Partial Response VII   NHTSA-0230621-006-214 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-215 Partial Response VII   NHTSA-0230621-006-217 Partial Response VII   Partial redaction            6
Report ID 13781-4835-2. From Ryan Stanko to Ann Carlson. Date February 18, 2023.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-218 Partial Response VII   NHTSA-0230621-006-219 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-220 Partial Response VII   NHTSA-0230621-006-222 Partial Response VII   Partial redaction            6
Report ID 13781-4908-2. From Ryan Stanko to Ann Carlson. Date February 28, 2023.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-223 Partial Response VII   NHTSA-0230621-006-224 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-225 Partial Response VII   NHTSA-0230621-006-227 Partial Response VII   Partial redaction            6
Report ID 13781-4909-2. From Ryan Stanko to Ann Carlson. Date February 28, 2023.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-228 Partial Response VII   NHTSA-0230621-006-229 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-230 Partial Response VII   NHTSA-0230621-006-232 Partial Response VII   Partial redaction            6
Report ID 13781-4910-2. From Ryan Stanko to Ann Carlson. Date February 28, 2023.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-235 Partial Response VII   NHTSA-0230621-006-237 Partial Response VII   Partial redaction            6
Report ID 13781-4911-2. From Ryan Stanko to Ann Carlson. Date February 28, 2023.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                  End Page                      Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-238 Partial Response VII   NHTSA-0230621-006-239 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4911-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-240 Partial Response VII   NHTSA-0230621-006-242 Partial Response VII   Partial redaction            6
Report ID 13781-4912-2. From Ryan Stanko to Ann Carlson. Date February 28, 2023.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-243 Partial Response VII   NHTSA-0230621-006-244 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4912-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-245 Partial Response VII   NHTSA-0230621-006-247 Partial Response VII   Partial redaction            6
Report ID 13781-4913-2. From Ryan Stanko to Ann Carlson. Date March 2, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-248 Partial Response VII   NHTSA-0230621-006-249 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4913-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-250 Partial Response VII   NHTSA-0230621-006-252 Partial Response VII   Partial redaction            6
Report ID 13781-4915-2. From Ryan Stanko to Ann Carlson. Date February 28, 2023.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                  Case 1:24-cv-01353-TSC                                                                            Document 26-4        Vaughn Index
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                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                  End Page                      Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-253 Partial Response VII   NHTSA-0230621-006-254 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-255 Partial Response VII   NHTSA-0230621-006-257 Partial Response VII   Partial redaction            6
Report ID 13781-4916-2. From Ryan Stanko to Ann Carlson. Date February 28, 2023.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-258 Partial Response VII   NHTSA-0230621-006-259 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-260 Partial Response VII   NHTSA-0230621-006-262 Partial Response VII   Partial redaction            6
Report ID 13781-4917-2. From Ryan Stanko to Ann Carlson. Date February 28, 2023.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-263 Partial Response VII   NHTSA-0230621-006-264 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-265 Partial Response VII   NHTSA-0230621-006-267 Partial Response VII   Partial redaction            6
Report ID 13781-4918-2. From Ryan Stanko to Ann Carlson. Date February 28, 2023.                                                                                                                                           information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                  End Page                      Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-268 Partial Response VII   NHTSA-0230621-006-269 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-270 Partial Response VII   NHTSA-0230621-006-272 Partial Response VII   Partial redaction            6
Report ID 13781-4923-2. From Ryan Stanko to Ann Carlson. Date March 8, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-273 Partial Response VII   NHTSA-0230621-006-274 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-275 Partial Response VII   NHTSA-0230621-006-277 Partial Response VII   Partial redaction            6
Report ID 13781-4924-2. From Ryan Stanko to Ann Carlson. Date March 8, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-278 Partial Response VII   NHTSA-0230621-006-279 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4924-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-280 Partial Response VII   NHTSA-0230621-006-282 Partial Response VII   Partial redaction            6
Report ID 13781-4925-2. From Ryan Stanko to Ann Carlson. Date March 8, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                  End Page                      Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-283 Partial Response VII   NHTSA-0230621-006-284 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-285 Partial Response VII   NHTSA-0230621-006-287 Partial Response VII   Partial redaction            6
Report ID 13781-4926-2. From Ryan Stanko to Ann Carlson. Date March 8, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-288 Partial Response VII   NHTSA-0230621-006-289 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-290 Partial Response VII   NHTSA-0230621-006-292 Partial Response VII   Partial redaction            6
Report ID 13781-4927-2. From Ryan Stanko to Ann Carlson. Date March 8, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-293 Partial Response VII   NHTSA-0230621-006-294 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4927-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-295 Partial Response VII   NHTSA-0230621-006-297 Partial Response VII   Partial redaction            6
Report ID 13781-4928-2. From Ryan Stanko to Ann Carlson. Date March 8, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                  End Page                      Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-298 Partial Response VII   NHTSA-0230621-006-299 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-300 Partial Response VII   NHTSA-0230621-006-302 Partial Response VII   Partial redaction            6
Report ID 13781-4929-2. From Ryan Stanko to Ann Carlson. Date March 8, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-303 Partial Response VII   NHTSA-0230621-006-304 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4929-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-305 Partial Response VII   NHTSA-0230621-006-307 Partial Response VII   Partial redaction            6
Report ID 13781-4933-2. From Ryan Stanko to Ann Carlson. Date March 8, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-308 Partial Response VII   NHTSA-0230621-006-309 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-310 Partial Response VII   NHTSA-0230621-006-312 Partial Response VII   Partial redaction            6
Report ID 13781-4944-2. From Ryan Stanko to Ann Carlson. Date March 8, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                  End Page                      Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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                                                                                      NHTSA-0230621-006-315 Partial Response VII   NHTSA-0230621-006-317 Partial Response VII   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-318 Partial Response VII   NHTSA-0230621-006-319 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4949-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-320 Partial Response VII   NHTSA-0230621-006-322 Partial Response VII   Partial redaction            6
Report ID 13781-4951-2. From Ryan Stanko to Ann Carlson. Date March 13, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-323 Partial Response VII   NHTSA-0230621-006-324 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-325 Partial Response VII   NHTSA-0230621-006-327 Partial Response VII   Partial redaction            6
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                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                  End Page                      Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-333 Partial Response VII   NHTSA-0230621-006-334 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4954-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-335 Partial Response VII   NHTSA-0230621-006-337 Partial Response VII   Partial redaction            6
Report ID 13781-4956-2. From Ryan Stanko to Ann Carlson. Date March 13, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-338 Partial Response VII   NHTSA-0230621-006-339 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-340 Partial Response VII   NHTSA-0230621-006-342 Partial Response VII   Partial redaction            6
Report ID 13781-4957-2. From Ryan Stanko to Ann Carlson. Date March 13, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                  End Page                      Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-343 Partial Response VII   NHTSA-0230621-006-344 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-350 Partial Response VII   NHTSA-0230621-006-352 Partial Response VII   Partial redaction            6
Report ID 13781-4962-2. From Ryan Stanko to Ann Carlson. Date March 13, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-353 Partial Response VII   NHTSA-0230621-006-354 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-355 Partial Response VII   NHTSA-0230621-006-357 Partial Response VII   Partial redaction            6
Report ID 13781-4963-2. From Ryan Stanko to Ann Carlson. Date March 13, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                  End Page                      Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-358 Partial Response VII   NHTSA-0230621-006-359 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-360 Partial Response VII   NHTSA-0230621-006-362 Partial Response VII   Partial redaction            6
Report ID 13781-4966-2. From Ryan Stanko to Ann Carlson. Date March 13, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-363 Partial Response VII   NHTSA-0230621-006-364 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                      of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-365 Partial Response VII   NHTSA-0230621-006-367 Partial Response VII   Partial redaction            6
Report ID 13781-4967-2. From Ryan Stanko to Ann Carlson. Date March 13, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-368 Partial Response VII   NHTSA-0230621-006-369 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4967-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-370 Partial Response VII   NHTSA-0230621-006-372 Partial Response VII   Partial redaction            6
Report ID 13781-4968-2. From Ryan Stanko to Ann Carlson. Date March 13, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                  End Page                      Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-373 Partial Response VII   NHTSA-0230621-006-374 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4968-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-375 Partial Response VII   NHTSA-0230621-006-377 Partial Response VII   Partial redaction            6
Report ID 13781-4983-2. From Ryan Stanko to Ann Carlson. Date March 13, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-378 Partial Response VII   NHTSA-0230621-006-379 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-380 Partial Response VII   NHTSA-0230621-006-382 Partial Response VII   Partial redaction            6
Report ID 13781-4986-2. From Ryan Stanko to Ann Carlson. Date March 20, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-383 Partial Response VII   NHTSA-0230621-006-384 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-4986-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                      of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-385 Partial Response VII   NHTSA-0230621-006-387 Partial Response VII   Partial redaction            6
Report ID 13781-4987-2. From Ryan Stanko to Ann Carlson. Date March 20, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                  End Page                      Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-388 Partial Response VII   NHTSA-0230621-006-389 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-390 Partial Response VII   NHTSA-0230621-006-392 Partial Response VII   Partial redaction            6
Report ID 13781-4988-2. From Ryan Stanko to Ann Carlson. Date March 20, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-393 Partial Response VII   NHTSA-0230621-006-394 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-395 Partial Response VII   NHTSA-0230621-006-397 Partial Response VII   Partial redaction            6
Report ID 13781-5010-2. From Ryan Stanko to Ann Carlson. Date March 22, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-398 Partial Response VII   NHTSA-0230621-006-399 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-5010-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                      of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-400 Partial Response VII   NHTSA-0230621-006-402 Partial Response VII   Partial redaction            6
Report ID 13781-5011-2. From Ryan Stanko to Ann Carlson. Date March 22, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                  End Page                      Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-403 Partial Response VII   NHTSA-0230621-006-404 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-405 Partial Response VII   NHTSA-0230621-006-407 Partial Response VII   Partial redaction            6
Report ID 13781-5012-2. From Ryan Stanko to Ann Carlson. Date March 22, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-408 Partial Response VII   NHTSA-0230621-006-409 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-410 Partial Response VII   NHTSA-0230621-006-412 Partial Response VII   Partial redaction            6
Report ID 13781-5013-2. From Ryan Stanko to Ann Carlson. Date March 22, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-413 Partial Response VII   NHTSA-0230621-006-414 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-5013-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                      of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-415 Partial Response VII   NHTSA-0230621-006-417 Partial Response VII   Partial redaction            6
Report ID 13781-5014-2. From Ryan Stanko to Ann Carlson. Date March 22, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                  Case 1:24-cv-01353-TSC                                                                            Document 26-4        Vaughn Index
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                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                  End Page                      Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-418 Partial Response VII   NHTSA-0230621-006-419 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-5014-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-420 Partial Response VII   NHTSA-0230621-006-422 Partial Response VII   Partial redaction            6
Report ID 13781-5015-2. From Ryan Stanko to Ann Carlson. Date March 22, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-423 Partial Response VII   NHTSA-0230621-006-424 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-425 Partial Response VII   NHTSA-0230621-006-427 Partial Response VII   Partial redaction            6
Report ID 13781-5016-2. From Ryan Stanko to Ann Carlson. Date March 22, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-428 Partial Response VII   NHTSA-0230621-006-429 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                      of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-430 Partial Response VII   NHTSA-0230621-006-432 Partial Response VII   Partial redaction            6
Report ID 13781-5017-2. From Ryan Stanko to Ann Carlson. Date March 22, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                  Case 1:24-cv-01353-TSC                                                                            Document 26-4        Vaughn Index
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                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                  End Page                      Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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                                                                                                                                                                                                                           4 of FOIA.
Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-433 Partial Response VII   NHTSA-0230621-006-434 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-435 Partial Response VII   NHTSA-0230621-006-437 Partial Response VII   Partial redaction            6
Report ID 13781-5018-2. From Ryan Stanko to Ann Carlson. Date March 22, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-438 Partial Response VII   NHTSA-0230621-006-439 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-440 Partial Response VII   NHTSA-0230621-006-442 Partial Response VII   Partial redaction            6
Report ID 13781-5019-2. From Ryan Stanko to Ann Carlson. Date March 22, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-443 Partial Response VII   NHTSA-0230621-006-444 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                      of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-445 Partial Response VII   NHTSA-0230621-006-447 Partial Response VII   Partial redaction            6
Report ID 13781-5037-2. From Ryan Stanko to Ann Carlson. Date March 22, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                  Case 1:24-cv-01353-TSC                                                                            Document 26-4        Vaughn Index
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                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                  End Page                      Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-448 Partial Response VII   NHTSA-0230621-006-449 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-5037-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-450 Partial Response VII   NHTSA-0230621-006-452 Partial Response VII   Partial redaction            6
Report ID 13781-5038-2. From Ryan Stanko to Ann Carlson. Date March 22, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-453 Partial Response VII   NHTSA-0230621-006-454 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-455 Partial Response VII   NHTSA-0230621-006-457 Partial Response VII   Partial redaction            6
Report ID 13781-5039-2. From Ryan Stanko to Ann Carlson. Date March 22, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-458 Partial Response VII   NHTSA-0230621-006-459 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                      of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-460 Partial Response VII   NHTSA-0230621-006-462 Partial Response VII   Partial redaction            6
Report ID 13781-5040-2. From Ryan Stanko to Ann Carlson. Date March 22, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
                                                                                                                                                                                                                           someone’s unique signature can be used for identity verification or potentially misused if made public.




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                                                                                                                                                  Case 1:24-cv-01353-TSC                                                                            Document 26-4        Vaughn Index
                                                                                                                                                                                                                                                                                                                                                          Filed 04/02/25                                                                                 Page 99 of 197
                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                  End Page                      Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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                                                                                                                                                                                                                           4 of FOIA.
Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-463 Partial Response VII   NHTSA-0230621-006-464 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-5040-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-465 Partial Response VII   NHTSA-0230621-006-467 Partial Response VII   Partial redaction            6
Report ID 13781-5059-1. From Ryan Stanko to Ann Carlson. Date March 15, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-468 Partial Response VII   NHTSA-0230621-006-470 Partial Response VII   Partial redaction            6
Report ID 13781-5059-2. From Ryan Stanko to Ann Carlson. Date March 22, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-471 Partial Response VII   NHTSA-0230621-006-472 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-5059-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-473 Partial Response VII   NHTSA-0230621-006-475 Partial Response VII   Partial redaction            6
Report ID 13781-5090-2. From Ryan Stanko to Ann Carlson. Date March 22, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-476 Partial Response VII   NHTSA-0230621-006-477 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                      of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-478 Partial Response VII   NHTSA-0230621-006-480 Partial Response VII   Partial redaction            6
Report ID 13781-5091-2. From Ryan Stanko to Ann Carlson. Date March 22, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                  End Page                      Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-481 Partial Response VII   NHTSA-0230621-006-482 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-5091-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-483 Partial Response VII   NHTSA-0230621-006-485 Partial Response VII   Partial redaction            6
Report ID 13781-5097-2. From Ryan Stanko to Ann Carlson. Date March 27, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-486 Partial Response VII   NHTSA-0230621-006-487 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-5097-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-488 Partial Response VII   NHTSA-0230621-006-490 Partial Response VII   Partial redaction            6
Report ID 13781-5100-2. From Ryan Stanko to Ann Carlson. Date March 27, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-491 Partial Response VII   NHTSA-0230621-006-492 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-493 Partial Response VII   NHTSA-0230621-006-495 Partial Response VII   Partial redaction            6
Report ID 13781-5104-2. From Ryan Stanko to Ann Carlson. Date March 28, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                  End Page                      Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-496 Partial Response VII   NHTSA-0230621-006-497 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-5104-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                      of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-498 Partial Response VII   NHTSA-0230621-006-500 Partial Response VII   Partial redaction            6
Report ID 13781-5105-2. From Ryan Stanko to Ann Carlson. Date March 28, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-501 Partial Response VII   NHTSA-0230621-006-502 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-503 Partial Response VII   NHTSA-0230621-006-505 Partial Response VII   Partial redaction            6
Report ID 13781-5106-2. From Ryan Stanko to Ann Carlson. Date March 28, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-506 Partial Response VII   NHTSA-0230621-006-507 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-508 Partial Response VII   NHTSA-0230621-006-510 Partial Response VII   Partial redaction            6
Report ID 13781-5107-2. From Ryan Stanko to Ann Carlson. Date March 28, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                Case 1:24-cv-01353-TSC                                                                           Document 26-4           Vaughn Index
                                                                                                                                                                                                                                                                                                                                                      Filed 04/02/25                                                                                  Page 102 of 197
                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-511 Partial Response VII   NHTSA-0230621-006-512 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-5107-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-513 Partial Response VII   NHTSA-0230621-006-515 Partial Response VII   Partial redaction            6
Report ID 13781-5108-2. From Ryan Stanko to Ann Carlson. Date March 28, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-516 Partial Response VII   NHTSA-0230621-006-517 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-518 Partial Response VII   NHTSA-0230621-006-520 Partial Response VII   Partial redaction            6
Report ID 13781-5113-2. From Ryan Stanko to Ann Carlson. Date March 28, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-521 Partial Response VII   NHTSA-0230621-006-522 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-523 Partial Response VII   NHTSA-0230621-006-525 Partial Response VII   Partial redaction            6
Report ID 13781-5115-2. From Ryan Stanko to Ann Carlson. Date March 28, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                Case 1:24-cv-01353-TSC                                                                           Document 26-4           Vaughn Index
                                                                                                                                                                                                                                                                                                                                                      Filed 04/02/25                                                                                  Page 103 of 197
                                                                                                                                                                                                                                   WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                  End Page                      Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-526 Partial Response VII   NHTSA-0230621-006-527 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-5115-2, 10-Day Update.                                                                                                                                                                                               information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-528 Partial Response VII   NHTSA-0230621-006-530 Partial Response VII   Partial redaction            6
Report ID 13781-5135-2. From Ryan Stanko to Ann Carlson. Date March 28, 2023.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-531 Partial Response VII   NHTSA-0230621-006-532 Partial Response VII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-533 Partial Response VII   NHTSA-0230621-006-535 Partial Response VII   Partial redaction            6
Report ID 13781-5147-2. From Ryan Stanko to Ann Carlson. Date April 3, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Report ID 13781-5148-2. From Ryan Stanko to Ann Carlson. Date April 6, 2023.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                     WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                 Record Description                                                     Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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                                                                                                                                                                                                                             purposes. There is a significant privacy interest, and the public interest is not substantial because disclosure of complete VINs would not shed light on the agency’s performance of its statutory duties. Even assuming the public interest qualified for the Exemption 6 balancing test, the privacy interest in nondisclosure outweighs the public interest in disclosure because the PII available through the
                                                                                                                                                                                                                             disclosure of a complete VIN is so sensitive that it fits into a genus in which the balance characteristically tips in favor of nondisclosure. Therefore, if this information is released, it would constitute a clearly unwarranted invasion of personal privacy.

                                                                                                                                                                                                                             This document contains information on specific geographical locations of reported crashes, including latitude, longitude, address, and zip code, and information on when the incident occurred, including the date the incident occurred and when the reporting entity received notice of the incident. Release of this information creates a threat to privacy. When taken together with other unredacted data in the
                                                                                                                                                                                                                             incident report, such as vehicle make and model, city, and state, the location and date information could be used to ascertain the identities of individuals involved in the crash, for example, through a simple internet search. The disclosure of location and date data implicates a substantial privacy interest because it interferes with personal privacy, namely unwanted solicitation, harassment, and contact by
                                                                                                                                                                                                                             the media, attorneys, and other interested parties. Moreover, it is more than likely that the individuals involved in the reported crashes would resent an unsolicited intrusion into their experiences as the reported crashes may involve injuries of a personal and upsetting nature. The mere fact that the crashes occurred in public does not lessen the unwanted intrusion into an individual’s privacy.
                                                                                                                                                                                                                             Furthermore, it matters little that the privacy intrusion does not occur immediately as long as there is a probability of an intrusion. There is a substantial privacy interest in nondisclosure of the location and date data, which outweighs any public interest in the release of the redacted data.




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Letter. Subject: Confidentiality Determination for Certain Standing General Order
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2021-01 Incident Reports Submitted by Tesla, Inc. From Kerry Kolodziej to Eric        NHTSA-0230621-006-001 Partial Response VIII   NHTSA-0230621-006-042 Partial Response VIII   Partial redaction            6
                                                                                                                                                                                                                             whether any further information within this record could be segregated and disclosed, but any further disclosure will cause harm to Tesla and also to NHTSA as it endeavors to fulfill its important mission of ensuring vehicle safety by continuing to receive confidential
Williams. Date September 27, 2024.
                                                                                                                                                                                                                             information from vehicle manufacturers. Based on Tesla’s representations and other available information, NHTSA concluded that the information was entitled to confidential treatment pursuant to Exemption 4 of FOIA.

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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                        of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-043 Partial Response VIII   NHTSA-0230621-006-045 Partial Response VIII   Partial redaction            6
Report ID 13781-3425-2. From Ryan Stanko to Ann Carlson. Date July 25, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                             4 of FOIA.
Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-046 Partial Response VIII   NHTSA-0230621-006-048 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3425-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                        of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-049 Partial Response VIII   NHTSA-0230621-006-051 Partial Response VIII   Partial redaction            6
Report ID 13781-3449-2. From Ryan Stanko to Ann Carlson. Date July 25, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                             4 of FOIA.
Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-052 Partial Response VIII   NHTSA-0230621-006-054 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3449-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-055 Partial Response VIII   NHTSA-0230621-006-057 Partial Response VIII   Partial redaction            6
Report ID 13781-3457-2. From Ryan Stanko to Ann Carlson. Date July 26, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                 Case 1:24-cv-01353-TSC                                                                            Document 26-4           Vaughn Index
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                                                                                                                                                                                                                                     WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



                                                                                                                                                                                                                             This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the version of ADAS/ADS with which a vehicle involved in the incident is equipped. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-058 Partial Response VIII   NHTSA-0230621-006-060 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3457-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-061 Partial Response VIII   NHTSA-0230621-006-063 Partial Response VIII   Partial redaction            6
Report ID 13781-3458-2. From Ryan Stanko to Ann Carlson. Date July 26, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-064 Partial Response VIII   NHTSA-0230621-006-066 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-067 Partial Response VIII   NHTSA-0230621-006-069 Partial Response VIII   Partial redaction            6
Report ID 13781-3459-2. From Ryan Stanko to Ann Carlson. Date July 26, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-070 Partial Response VIII   NHTSA-0230621-006-072 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-073 Partial Response VIII   NHTSA-0230621-006-075 Partial Response VIII   Partial redaction            6
Report ID 13781-3460-2. From Ryan Stanko to Ann Carlson. Date July 26, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                     WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-076 Partial Response VIII   NHTSA-0230621-006-078 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-079 Partial Response VIII   NHTSA-0230621-006-081 Partial Response VIII   Partial redaction            6
Report ID 13781-3461-2. From Ryan Stanko to Ann Carlson. Date July 26, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-082 Partial Response VIII   NHTSA-0230621-006-084 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-085 Partial Response VIII   NHTSA-0230621-006-087 Partial Response VIII   Partial redaction            6
Report ID 13781-3462-2. From Ryan Stanko to Ann Carlson. Date July 26, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-088 Partial Response VIII   NHTSA-0230621-006-090 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                                                                                                                                                                     WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
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                                                                                      NHTSA-0230621-006-097 Partial Response VIII   NHTSA-0230621-006-099 Partial Response VIII   Partial redaction            6
Report ID 13781-3467-2. From Ryan Stanko to Ann Carlson. Date July 26, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-100 Partial Response VIII   NHTSA-0230621-006-102 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-103 Partial Response VIII   NHTSA-0230621-006-105 Partial Response VIII   Partial redaction            6
Report ID 13781-3468-2. From Ryan Stanko to Ann Carlson. Date July 26, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-106 Partial Response VIII   NHTSA-0230621-006-108 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-109 Partial Response VIII   NHTSA-0230621-006-111 Partial Response VIII   Partial redaction            6
Report ID 13781-3469-2. From Ryan Stanko to Ann Carlson. Date July 29, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                     WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-112 Partial Response VIII   NHTSA-0230621-006-114 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-115 Partial Response VIII   NHTSA-0230621-006-117 Partial Response VIII   Partial redaction            6
Report ID 13781-3470-1. From Ryan Stanko to Ann Carlson. Date July 19, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-118 Partial Response VIII   NHTSA-0230621-006-120 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3470-1, 1-Day Report.                                                                                                                                                                                                  information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-121 Partial Response VIII   NHTSA-0230621-006-123 Partial Response VIII   Partial redaction            6
Report ID 13781-3470-2. From Ryan Stanko to Ann Carlson. Date July 26, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-124 Partial Response VIII   NHTSA-0230621-006-126 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3470-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-127 Partial Response VIII   NHTSA-0230621-006-129 Partial Response VIII   Partial redaction            6
Report ID 13781-3480-2. From Ryan Stanko to Ann Carlson. Date August 1, 2022.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                     WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                                                                                        Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-130 Partial Response VIII   NHTSA-0230621-006-132 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-133 Partial Response VIII   NHTSA-0230621-006-135 Partial Response VIII   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-136 Partial Response VIII   NHTSA-0230621-006-138 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3483-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                        of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-139 Partial Response VIII   NHTSA-0230621-006-141 Partial Response VIII   Partial redaction            6
Report ID 13781-3485-2. From Ryan Stanko to Ann Carlson. Date August 1, 2022.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-142 Partial Response VIII   NHTSA-0230621-006-144 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3485-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                        of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-145 Partial Response VIII   NHTSA-0230621-006-147 Partial Response VIII   Partial redaction            6
Report ID 13781-3487-2. From Ryan Stanko to Ann Carlson. Date August 3, 2022.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                      WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                                                                                                                      Explanation



                                                                                                                                                                                                                             This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the version of ADAS/ADS with which a vehicle involved in the incident is equipped. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-148 Partial Response VIII   NHTSA-0230621-006-150 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3487-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                                                                                                                                                             This document contains information on specific geographical locations of reported crashes, including address and zip code, and information on when the incident occurred, including the date the incident occurred and when the reporting entity received notice of the incident. Release of this information creates a threat to privacy. When taken together with other unredacted data in the incident report,
                                                                                                                                                                                                                             such as vehicle make and model, city, and state, the location and date information could be used to ascertain the identities of individuals involved in the crash, for example, through a simple internet search. The disclosure of location and date data implicates a substantial privacy interest because it interferes with personal privacy, namely unwanted solicitation, harassment, and contact by the media,
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                                                                                      NHTSA-0230621-006-151 Partial Response VIII   NHTSA-0230621-006-153 Partial Response VIII   Partial redaction            6
Report ID 13781-3488-1. From Ryan Stanko to Ann Carlson. Date July 25, 2022.                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National                                                                                                                                          disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by which Tesla identifies and examines field incidents, learns from vehicles through data collection, how Tesla conducts customer, how Tesla’s software and vehicle technology work,
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-154 Partial Response VIII   NHTSA-0230621-006-156 Partial Response VIII   Partial redaction           4, 6           and may also include statistical or detailed proprietary information about a new feature. Releasing confidential commercial or financial information could also impact the willingness of regulated entities to provide NHTSA with such confidential information in the future, either voluntarily or when required by law. Therefore, it would foreseeably harm NHTSA’s interest in obtaining confidential information, which is critical to its vehicle safety mission. NHTSA
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13781-3488-1, 1-Day Report.                                                                                                                                                                                                  treatment pursuant to Exemption 4 of FOIA.

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                                                                                      NHTSA-0230621-006-157 Partial Response VIII   NHTSA-0230621-006-159 Partial Response VIII   Partial redaction            6
Report ID 13781-3488-2. From Ryan Stanko to Ann Carlson. Date August 1, 2022.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-160 Partial Response VIII   NHTSA-0230621-006-162 Partial Response VIII   Partial redaction           4, 6           and may also include statistical or detailed proprietary information about a new feature. Releasing confidential commercial or financial information could also impact the willingness of regulated entities to provide NHTSA with such confidential information in the future, either voluntarily or when required by law. Therefore, it would foreseeably harm NHTSA’s interest in obtaining confidential information, which is critical to its vehicle safety mission. NHTSA
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13781-3488-2, 10-Day Update.                                                                                                                                                                                                 treatment pursuant to Exemption 4 of FOIA.

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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                        of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-163 Partial Response VIII   NHTSA-0230621-006-165 Partial Response VIII   Partial redaction            6
Report ID 13781-3489-2. From Ryan Stanko to Ann Carlson. Date August 3, 2022.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-166 Partial Response VIII   NHTSA-0230621-006-168 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3489-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                                                                                 Case 1:24-cv-01353-TSC                                                                            Document 26-4           Vaughn Index
                                                                                                                                                                                                                                                                                                                                                        Filed 04/02/25                                                                                  Page 111 of 197
                                                                                                                                                                                                                                     WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-169 Partial Response VIII   NHTSA-0230621-006-171 Partial Response VIII   Partial redaction            6
Report ID 13781-3490-2. From Ryan Stanko to Ann Carlson. Date August 1, 2022.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-172 Partial Response VIII   NHTSA-0230621-006-174 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3490-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-175 Partial Response VIII   NHTSA-0230621-006-177 Partial Response VIII   Partial redaction            6
Report ID 13781-3506-2. From Ryan Stanko to Ann Carlson. Date August 1, 2022.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-178 Partial Response VIII   NHTSA-0230621-006-180 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3506-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-181 Partial Response VIII   NHTSA-0230621-006-183 Partial Response VIII   Partial redaction            6
Report ID 13781-3509-2. From Ryan Stanko to Ann Carlson. Date August 1, 2022.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-184 Partial Response VIII   NHTSA-0230621-006-186 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3509-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-187 Partial Response VIII   NHTSA-0230621-006-189 Partial Response VIII   Partial redaction            6
Report ID 13781-3510-2. From Ryan Stanko to Ann Carlson. Date August 1, 2022.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                     WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-190 Partial Response VIII   NHTSA-0230621-006-192 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-193 Partial Response VIII   NHTSA-0230621-006-195 Partial Response VIII   Partial redaction            6
Report ID 13781-3511-2. From Ryan Stanko to Ann Carlson. Date August 1, 2022.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-196 Partial Response VIII   NHTSA-0230621-006-198 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-199 Partial Response VIII   NHTSA-0230621-006-201 Partial Response VIII   Partial redaction            6
Report ID 13781-3512-2. From Ryan Stanko to Ann Carlson. Date August 8, 2022.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-202 Partial Response VIII   NHTSA-0230621-006-203 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-204 Partial Response VIII   NHTSA-0230621-006-206 Partial Response VIII   Partial redaction            6
Report ID 13781-3513-2. From Ryan Stanko to Ann Carlson. Date August 8, 2022.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                      WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                                                                                                                     Explanation
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Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-207 Partial Response VIII   NHTSA-0230621-006-208 Partial Response VIII   Partial redaction           4, 6           and may also include statistical or detailed proprietary information about a new feature. Releasing confidential commercial or financial information could also impact the willingness of regulated entities to provide NHTSA with such confidential information in the future, either voluntarily or when required by law. Therefore, it would foreseeably harm NHTSA’s interest in obtaining confidential information, which is critical to its vehicle safety mission. NHTSA
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                                                                                                                                                                                                                             light on the agency’s performance of its statutory duties. Even assuming the public interest qualified for the Exemption 6 balancing test, the privacy interest in nondisclosure outweighs the public interest in disclosure because the PII available through the disclosure of a complete VIN is so sensitive that it fits into a genus in which the balance characteristically tips in favor of nondisclosure. Therefore, if this information is released, it would constitute a clearly
                                                                                                                                                                                                                             unwarranted invasion of personal privacy.

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                                                                                                                                                                                                                             through a simple internet search. The disclosure of date data implicates a substantial privacy interest because it interferes with personal privacy, namely unwanted solicitation, harassment, and contact by the media, attorneys, and other interested parties. Moreover, it is more than likely that the individuals involved in the reported crashes would resent an unsolicited intrusion into their experiences as the reported crashes may involve injuries of a personal and
                                                                                                                                                                                                                             upsetting nature. The mere fact that the crashes occurred in public does not lessen the unwanted intrusion into an individual’s privacy. Furthermore, it matters little that the privacy intrusion does not occur immediately as long as there is a probability of an intrusion. There is a substantial privacy interest in nondisclosure of the date data, which outweighs any public interest in the release of the redacted data.

                                                                                                                                                                                                                             This document contains personally identifying information (PII) consisting of an investigator’s name, phone number, and email address. Disclosure of this information would constitute an unwarranted invasion of personal privacy. When taken together with other unredacted data in the incident report, such as vehicle make and model, city, and state, information about the investigator could be used to ascertain the identities of individuals involved in the crash,
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                        of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-209 Partial Response VIII   NHTSA-0230621-006-211 Partial Response VIII   Partial redaction            6
Report ID 13781-3517-2. From Ryan Stanko to Ann Carlson. Date August 8, 2022.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-212 Partial Response VIII   NHTSA-0230621-006-213 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3517-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                        of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-214 Partial Response VIII   NHTSA-0230621-006-216 Partial Response VIII   Partial redaction            6
Report ID 13781-3518-2. From Ryan Stanko to Ann Carlson. Date August 8, 2022.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-217 Partial Response VIII   NHTSA-0230621-006-218 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3518-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-219 Partial Response VIII   NHTSA-0230621-006-221 Partial Response VIII   Partial redaction            6
Report ID 13781-3529-2. From Ryan Stanko to Ann Carlson. Date August 8, 2022.                                                                                                                                                information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                     WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



                                                                                                                                                                                                                             This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the version of ADAS/ADS with which a vehicle involved in the incident is equipped. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-222 Partial Response VIII   NHTSA-0230621-006-223 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-224 Partial Response VIII   NHTSA-0230621-006-226 Partial Response VIII   Partial redaction            6
Report ID 13781-3543-2. From Ryan Stanko to Ann Carlson. Date August 15, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-227 Partial Response VIII   NHTSA-0230621-006-228 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-229 Partial Response VIII   NHTSA-0230621-006-231 Partial Response VIII   Partial redaction            6
Report ID 13781-3544-2. From Ryan Stanko to Ann Carlson. Date August 15, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-232 Partial Response VIII   NHTSA-0230621-006-233 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-234 Partial Response VIII   NHTSA-0230621-006-236 Partial Response VIII   Partial redaction            6
Report ID 13781-3552-2. From Ryan Stanko to Ann Carlson. Date August 15, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                     WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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                                                                                      NHTSA-0230621-006-239 Partial Response VIII   NHTSA-0230621-006-241 Partial Response VIII   Partial redaction            6
Report ID 13781-3553-2. From Ryan Stanko to Ann Carlson. Date August 15, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-242 Partial Response VIII   NHTSA-0230621-006-243 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3553-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-244 Partial Response VIII   NHTSA-0230621-006-246 Partial Response VIII   Partial redaction            6
Report ID 13781-3554-2. From Ryan Stanko to Ann Carlson. Date August 15, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-247 Partial Response VIII   NHTSA-0230621-006-248 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-249 Partial Response VIII   NHTSA-0230621-006-251 Partial Response VIII   Partial redaction            6
Report ID 13781-3555-2. From Ryan Stanko to Ann Carlson. Date August 15, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                     WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-252 Partial Response VIII   NHTSA-0230621-006-253 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-254 Partial Response VIII   NHTSA-0230621-006-256 Partial Response VIII   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-257 Partial Response VIII   NHTSA-0230621-006-258 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-259 Partial Response VIII   NHTSA-0230621-006-261 Partial Response VIII   Partial redaction            6
Report ID 13781-3686-2. From Ryan Stanko to Ann Carlson. Date August 30, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-262 Partial Response VIII   NHTSA-0230621-006-263 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                                                                                                                                                                     WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-272 Partial Response VIII   NHTSA-0230621-006-273 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3700-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                        of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-274 Partial Response VIII   NHTSA-0230621-006-276 Partial Response VIII   Partial redaction            6
Report ID 13781-3701-2. From Ryan Stanko to Ann Carlson. Date August 30, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-277 Partial Response VIII   NHTSA-0230621-006-278 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3701-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-279 Partial Response VIII   NHTSA-0230621-006-281 Partial Response VIII   Partial redaction            6
Report ID 13781-3702-2. From Ryan Stanko to Ann Carlson. Date August 30, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                     WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-282 Partial Response VIII   NHTSA-0230621-006-283 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3702-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-284 Partial Response VIII   NHTSA-0230621-006-286 Partial Response VIII   Partial redaction            6
Report ID 13781-3707-2. From Ryan Stanko to Ann Carlson. Date August 30, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-287 Partial Response VIII   NHTSA-0230621-006-288 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3707-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                        of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-289 Partial Response VIII   NHTSA-0230621-006-291 Partial Response VIII   Partial redaction            6
Report ID 13781-3708-2. From Ryan Stanko to Ann Carlson. Date September 6, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-292 Partial Response VIII   NHTSA-0230621-006-293 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3708-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-294 Partial Response VIII   NHTSA-0230621-006-296 Partial Response VIII   Partial redaction            6
Report ID 13781-3709-2. From Ryan Stanko to Ann Carlson. Date August 30, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                     WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-297 Partial Response VIII   NHTSA-0230621-006-298 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3709-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-299 Partial Response VIII   NHTSA-0230621-006-301 Partial Response VIII   Partial redaction            6
Report ID 13781-3710-1. From Ryan Stanko to Ann Carlson. Date August 25, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-302 Partial Response VIII   NHTSA-0230621-006-303 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3710-1, 1-Day Report.                                                                                                                                                                                                  information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-304 Partial Response VIII   NHTSA-0230621-006-306 Partial Response VIII   Partial redaction            6
Report ID 13781-3710-2. From Ryan Stanko to Ann Carlson. Date August 30, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-307 Partial Response VIII   NHTSA-0230621-006-308 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3710-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-309 Partial Response VIII   NHTSA-0230621-006-311 Partial Response VIII   Partial redaction            6
Report ID 13781-3713-1. From Ryan Stanko to Ann Carlson. Date August 27, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                     WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
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13781-3713-1, 1-Day Report.                                                                                                                                                                                                  information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Report ID 13781-3713-2. From Ryan Stanko to Ann Carlson. Date September 6, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-319 Partial Response VIII   NHTSA-0230621-006-321 Partial Response VIII   Partial redaction            6
Report ID 13781-3714-2. From Ryan Stanko to Ann Carlson. Date September 7, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-322 Partial Response VIII   NHTSA-0230621-006-323 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-324 Partial Response VIII   NHTSA-0230621-006-326 Partial Response VIII   Partial redaction            6
Report ID 13781-3715-2. From Ryan Stanko to Ann Carlson. Date September 7, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                     WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-327 Partial Response VIII   NHTSA-0230621-006-328 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-3716-2. From Ryan Stanko to Ann Carlson. Date September 7, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-337 Partial Response VIII   NHTSA-0230621-006-338 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3717-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                        of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-339 Partial Response VIII   NHTSA-0230621-006-341 Partial Response VIII   Partial redaction            6
Report ID 13781-3718-2. From Ryan Stanko to Ann Carlson. Date September 7, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                     WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-342 Partial Response VIII   NHTSA-0230621-006-343 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3718-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-344 Partial Response VIII   NHTSA-0230621-006-346 Partial Response VIII   Partial redaction            6
Report ID 13781-3732-2. From Ryan Stanko to Ann Carlson. Date September 7, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-347 Partial Response VIII   NHTSA-0230621-006-348 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-349 Partial Response VIII   NHTSA-0230621-006-351 Partial Response VIII   Partial redaction            6
Report ID 13781-3734-2. From Ryan Stanko to Ann Carlson. Date September 7, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-352 Partial Response VIII   NHTSA-0230621-006-353 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3734-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Report ID 13781-3739-1. From Ryan Stanko to Ann Carlson. Date September 6, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                 Case 1:24-cv-01353-TSC                                                                            Document 26-4           Vaughn Index
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                                                                                                                                                                                                                                     WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-357 Partial Response VIII   NHTSA-0230621-006-358 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3739-1, 1-Day Report.                                                                                                                                                                                                  information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Report ID 13781-3739-2. From Ryan Stanko to Ann Carlson. Date September 12,           NHTSA-0230621-006-359 Partial Response VIII   NHTSA-0230621-006-361 Partial Response VIII   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-362 Partial Response VIII   NHTSA-0230621-006-363 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-3740-1. From Ryan Stanko to Ann Carlson. Date September 6, 2022.                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-367 Partial Response VIII   NHTSA-0230621-006-368 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3740-1, 1-Day Report.                                                                                                                                                                                                  information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident
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Report ID 13781-3740-2. From Ryan Stanko to Ann Carlson. Date September 12,           NHTSA-0230621-006-369 Partial Response VIII   NHTSA-0230621-006-371 Partial Response VIII   Partial redaction            6
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                                                                                                                                                                                                                                     WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-372 Partial Response VIII   NHTSA-0230621-006-373 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3740-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Report ID 13781-3741-2. From Ryan Stanko to Ann Carlson. Date September 13,           NHTSA-0230621-006-374 Partial Response VIII   NHTSA-0230621-006-376 Partial Response VIII   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-377 Partial Response VIII   NHTSA-0230621-006-378 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-3742-2. From Ryan Stanko to Ann Carlson. Date September 15,           NHTSA-0230621-006-379 Partial Response VIII   NHTSA-0230621-006-381 Partial Response VIII   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-382 Partial Response VIII   NHTSA-0230621-006-383 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-3743-2. From Ryan Stanko to Ann Carlson. Date September 15,           NHTSA-0230621-006-384 Partial Response VIII   NHTSA-0230621-006-386 Partial Response VIII   Partial redaction            6
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                                                                                                                                                                                                                                     WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
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Report ID 13781-3745-2. From Ryan Stanko to Ann Carlson. Date September 15,           NHTSA-0230621-006-389 Partial Response VIII   NHTSA-0230621-006-391 Partial Response VIII   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-392 Partial Response VIII   NHTSA-0230621-006-393 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-3746-2. From Ryan Stanko to Ann Carlson. Date September 13,           NHTSA-0230621-006-394 Partial Response VIII   NHTSA-0230621-006-396 Partial Response VIII   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-397 Partial Response VIII   NHTSA-0230621-006-398 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-3747-2. From Ryan Stanko to Ann Carlson. Date September 15,           NHTSA-0230621-006-399 Partial Response VIII   NHTSA-0230621-006-401 Partial Response VIII   Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                     WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-402 Partial Response VIII   NHTSA-0230621-006-403 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-3765-2. From Ryan Stanko to Ann Carlson. Date September 15,           NHTSA-0230621-006-404 Partial Response VIII   NHTSA-0230621-006-406 Partial Response VIII   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-407 Partial Response VIII   NHTSA-0230621-006-408 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-3771-2. From Ryan Stanko to Ann Carlson. Date September 19,           NHTSA-0230621-006-409 Partial Response VIII   NHTSA-0230621-006-411 Partial Response VIII   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
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Report ID 13781-3789-2. From Ryan Stanko to Ann Carlson. Date September 19,           NHTSA-0230621-006-414 Partial Response VIII   NHTSA-0230621-006-416 Partial Response VIII   Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                 Case 1:24-cv-01353-TSC                                                                            Document 26-4           Vaughn Index
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                                                                                                                                                                                                                                     WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-417 Partial Response VIII   NHTSA-0230621-006-418 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-3790-2. From Ryan Stanko to Ann Carlson. Date September 19,           NHTSA-0230621-006-419 Partial Response VIII   NHTSA-0230621-006-421 Partial Response VIII   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-422 Partial Response VIII   NHTSA-0230621-006-423 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-3791-2. From Ryan Stanko to Ann Carlson. Date September 19,           NHTSA-0230621-006-424 Partial Response VIII   NHTSA-0230621-006-426 Partial Response VIII   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-427 Partial Response VIII   NHTSA-0230621-006-428 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-3792-2. From Ryan Stanko to Ann Carlson. Date September 19,           NHTSA-0230621-006-429 Partial Response VIII   NHTSA-0230621-006-431 Partial Response VIII   Partial redaction            6
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                                                                                                                                                                                                                                     WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-432 Partial Response VIII   NHTSA-0230621-006-433 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3792-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Report ID 13781-3793-2. From Ryan Stanko to Ann Carlson. Date September 19,           NHTSA-0230621-006-434 Partial Response VIII   NHTSA-0230621-006-436 Partial Response VIII   Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-437 Partial Response VIII   NHTSA-0230621-006-438 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-3847-2. From Ryan Stanko to Ann Carlson. Date September 16,           NHTSA-0230621-006-439 Partial Response VIII   NHTSA-0230621-006-441 Partial Response VIII   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-442 Partial Response VIII   NHTSA-0230621-006-443 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-3895-2. From Ryan Stanko to Ann Carlson. Date September 26,           NHTSA-0230621-006-444 Partial Response VIII   NHTSA-0230621-006-446 Partial Response VIII   Partial redaction            6
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                                                                                                                                                                                                                                     WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-447 Partial Response VIII   NHTSA-0230621-006-448 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3895-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Report ID 13781-3896-2. From Ryan Stanko to Ann Carlson. Date September 28,           NHTSA-0230621-006-449 Partial Response VIII   NHTSA-0230621-006-451 Partial Response VIII   Partial redaction            6
                                                                                                                                                                                                                             information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-452 Partial Response VIII   NHTSA-0230621-006-453 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-3899-2. From Ryan Stanko to Ann Carlson. Date September 26,           NHTSA-0230621-006-454 Partial Response VIII   NHTSA-0230621-006-456 Partial Response VIII   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-457 Partial Response VIII   NHTSA-0230621-006-458 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3899-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Report ID 13781-3900-2. From Ryan Stanko to Ann Carlson. Date September 26,           NHTSA-0230621-006-459 Partial Response VIII   NHTSA-0230621-006-461 Partial Response VIII   Partial redaction            6
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                                                                                                                                                                                                                                     WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-462 Partial Response VIII   NHTSA-0230621-006-463 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3900-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident
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Report ID 13781-3905-2. From Ryan Stanko to Ann Carlson. Date September 26,           NHTSA-0230621-006-464 Partial Response VIII   NHTSA-0230621-006-466 Partial Response VIII   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-467 Partial Response VIII   NHTSA-0230621-006-468 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-3910-2. From Ryan Stanko to Ann Carlson. Date September 26,           NHTSA-0230621-006-469 Partial Response VIII   NHTSA-0230621-006-471 Partial Response VIII   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-472 Partial Response VIII   NHTSA-0230621-006-473 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3910-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-474 Partial Response VIII   NHTSA-0230621-006-476 Partial Response VIII   Partial redaction            6
Report ID 13781-3921-2. From Ryan Stanko to Ann Carlson. Date October 7, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                     WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-477 Partial Response VIII   NHTSA-0230621-006-478 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-479 Partial Response VIII   NHTSA-0230621-006-481 Partial Response VIII   Partial redaction            6
Report ID 13781-3922-2. From Ryan Stanko to Ann Carlson. Date October 7, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-482 Partial Response VIII   NHTSA-0230621-006-483 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3922-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-484 Partial Response VIII   NHTSA-0230621-006-486 Partial Response VIII   Partial redaction            6
Report ID 13781-3923-2. From Ryan Stanko to Ann Carlson. Date October 7, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-487 Partial Response VIII   NHTSA-0230621-006-488 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3923-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-489 Partial Response VIII   NHTSA-0230621-006-491 Partial Response VIII   Partial redaction            6
Report ID 13781-3924-2. From Ryan Stanko to Ann Carlson. Date October 7, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                     WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-492 Partial Response VIII   NHTSA-0230621-006-493 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-494 Partial Response VIII   NHTSA-0230621-006-496 Partial Response VIII   Partial redaction            6
Report ID 13781-3925-2. From Ryan Stanko to Ann Carlson. Date October 7, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-497 Partial Response VIII   NHTSA-0230621-006-498 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-499 Partial Response VIII   NHTSA-0230621-006-501 Partial Response VIII   Partial redaction            6
Report ID 13781-3926-2. From Ryan Stanko to Ann Carlson. Date October 7, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-502 Partial Response VIII   NHTSA-0230621-006-503 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-504 Partial Response VIII   NHTSA-0230621-006-506 Partial Response VIII   Partial redaction            6
Report ID 13781-3927-2. From Ryan Stanko to Ann Carlson. Date October 7, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                     WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-507 Partial Response VIII   NHTSA-0230621-006-508 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-509 Partial Response VIII   NHTSA-0230621-006-511 Partial Response VIII   Partial redaction            6
Report ID 13781-3928-2. From Ryan Stanko to Ann Carlson. Date October 7, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-512 Partial Response VIII   NHTSA-0230621-006-513 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-514 Partial Response VIII   NHTSA-0230621-006-516 Partial Response VIII   Partial redaction            6
Report ID 13781-3929-2. From Ryan Stanko to Ann Carlson. Date October 7, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-517 Partial Response VIII   NHTSA-0230621-006-518 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-519 Partial Response VIII   NHTSA-0230621-006-521 Partial Response VIII   Partial redaction            6
Report ID 13781-3930-2. From Ryan Stanko to Ann Carlson. Date October 7, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                     WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-522 Partial Response VIII   NHTSA-0230621-006-523 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-3934-2. From Ryan Stanko to Ann Carlson. Date October 7, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
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                                                                                      NHTSA-0230621-006-529 Partial Response VIII   NHTSA-0230621-006-531 Partial Response VIII   Partial redaction            6
Report ID 13781-3935-2. From Ryan Stanko to Ann Carlson. Date October 7, 2022.                                                                                                                                               information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
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                                                                                                                                                                                                                                     WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-542 Partial Response VIII   NHTSA-0230621-006-543 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3939-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-544 Partial Response VIII   NHTSA-0230621-006-546 Partial Response VIII   Partial redaction            6
Report ID 13781-3945-2. From Ryan Stanko to Ann Carlson. Date October 11, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-547 Partial Response VIII   NHTSA-0230621-006-548 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3945-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-549 Partial Response VIII   NHTSA-0230621-006-551 Partial Response VIII   Partial redaction            6
Report ID 13781-3946-2. From Ryan Stanko to Ann Carlson. Date October 13, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                     WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                      Start Page                                   End Page                       Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-552 Partial Response VIII   NHTSA-0230621-006-553 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-554 Partial Response VIII   NHTSA-0230621-006-556 Partial Response VIII   Partial redaction            6
Report ID 13781-3947-2. From Ryan Stanko to Ann Carlson. Date October 11, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-557 Partial Response VIII   NHTSA-0230621-006-558 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3947-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                                        of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-559 Partial Response VIII   NHTSA-0230621-006-561 Partial Response VIII   Partial redaction            6
Report ID 13781-3948-2. From Ryan Stanko to Ann Carlson. Date October 11, 2022.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-562 Partial Response VIII   NHTSA-0230621-006-563 Partial Response VIII   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3948-2, 10-Day Update.                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Confidentiality Determination for Certain Standing General Order
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2021-01 Incident Reports. From Kerry Kolodziej to Eric Williams. Date September 27, NHTSA-0230621-006-0001 Final Response           NHTSA-0230621-006-0026 Final Response         Partial redaction           4, 6
                                                                                                                                                                                                                             whether any further information within this record could be segregated and disclosed, but any further disclosure will cause harm to Tesla and also to NHTSA as it endeavors to fulfill its important mission of ensuring vehicle safety by continuing to receive confidential
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                                                                                      NHTSA-0230621-006-0027 Final Response         NHTSA-0230621-006-0029 Final Response         Partial redaction            6
Report ID 13781-1980-2. From Alex Green to Ann Carlson. Date December 30, 2021.                                                                                                                                              information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                        Explanation


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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0030 Final Response   NHTSA-0230621-006-0031 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0032 Final Response   NHTSA-0230621-006-0034 Final Response   Partial redaction            6
Report ID 13781-1981-2. From Alex Green to Ann Carlson. Date December 30, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0035 Final Response   NHTSA-0230621-006-0036 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-1981-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                            of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-0037 Final Response   NHTSA-0230621-006-0039 Final Response   Partial redaction            6
Report ID 13781-2046-2. From Alex Green to Ann Carlson. Date January 14, 2022.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0040 Final Response   NHTSA-0230621-006-0041 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2046-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                            of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-0042 Final Response   NHTSA-0230621-006-0044 Final Response   Partial redaction            6
Report ID 13781-2065-2. From Alex Green to Ann Carlson. Date January 14, 2022.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0045 Final Response   NHTSA-0230621-006-0046 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0047 Final Response   NHTSA-0230621-006-0049 Final Response   Partial redaction            6
Report ID 13781-2157-2. From Alex Green to Ann Carlson. Date January 21, 2022.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0050 Final Response   NHTSA-0230621-006-0051 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                            of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-0052 Final Response   NHTSA-0230621-006-0054 Final Response   Partial redaction            6
Report ID 13781-2162-2. From Alex Green to Ann Carlson. Date January 28, 2022.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0055 Final Response   NHTSA-0230621-006-0056 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2162-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0057 Final Response   NHTSA-0230621-006-0059 Final Response   Partial redaction            6
Report ID 13781-2163-2. From Alex Green to Ann Carlson. Date January 28, 2022.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0060 Final Response   NHTSA-0230621-006-0061 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0062 Final Response   NHTSA-0230621-006-0064 Final Response   Partial redaction            6
Report ID 13781-2164-2. From Alex Green to Ann Carlson. Date January 28, 2022.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0065 Final Response   NHTSA-0230621-006-0066 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0067 Final Response   NHTSA-0230621-006-0069 Final Response   Partial redaction            6
Report ID 13781-2165-2. From Alex Green to Ann Carlson. Date January 28, 2022.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0070 Final Response   NHTSA-0230621-006-0071 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2165-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0072 Final Response   NHTSA-0230621-006-0074 Final Response   Partial redaction            6
Report ID 13781-2166-2. From Alex Green to Ann Carlson. Date January 28, 2022.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0075 Final Response   NHTSA-0230621-006-0076 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0077 Final Response   NHTSA-0230621-006-0079 Final Response   Partial redaction            6
Report ID 13781-2172-2. From Alex Green to Ann Carlson. Date January 28, 2022.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0080 Final Response   NHTSA-0230621-006-0081 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0082 Final Response   NHTSA-0230621-006-0084 Final Response   Partial redaction            6
Report ID 13781-2174-2. From Alex Green to Ann Carlson. Date January 28, 2022.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0085 Final Response   NHTSA-0230621-006-0087 Final Response   Partial redaction            6
Report ID 13781-2181-2. From Alex Green to Ann Carlson. Date January 28, 2022.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0088 Final Response   NHTSA-0230621-006-0089 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2181-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0090 Final Response   NHTSA-0230621-006-0092 Final Response   Partial redaction            6
Report ID 13781-2181-3. From Alex Green to Ann Carlson. Date January 28, 2022.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0093 Final Response   NHTSA-0230621-006-0094 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0095 Final Response   NHTSA-0230621-006-0097 Final Response   Partial redaction            6
Report ID 13781-2182-2. From Alex Green to Ann Carlson. Date January 28, 2022.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
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                                                                                      NHTSA-0230621-006-0100 Final Response   NHTSA-0230621-006-0102 Final Response   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0103 Final Response   NHTSA-0230621-006-0104 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2183-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                            of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-0105 Final Response   NHTSA-0230621-006-0107 Final Response   Partial redaction            6
Report ID 13781-2183-3. From Alex Green to Ann Carlson. Date January 28, 2022.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0108 Final Response   NHTSA-0230621-006-0109 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2183-3, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0110 Final Response   NHTSA-0230621-006-0112 Final Response   Partial redaction            6
Report ID 13781-2200-1. From Alex Green to Ann Carlson. Date January 31, 2022.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0113 Final Response   NHTSA-0230621-006-0114 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2200-1, 1-Day Report.                                                                                                                                                                                      information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0115 Final Response   NHTSA-0230621-006-0117 Final Response   Partial redaction            6
Report ID 13781-2200-2. From Alex Green to Ann Carlson. Date February 4, 2022.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0118 Final Response   NHTSA-0230621-006-0119 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2200-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                            of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-0120 Final Response   NHTSA-0230621-006-0122 Final Response   Partial redaction            6
Report ID 13781-2201-2. From Alex Green to Ann Carlson. Date February 4, 2022.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0123 Final Response   NHTSA-0230621-006-0124 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0125 Final Response   NHTSA-0230621-006-0127 Final Response   Partial redaction            6
Report ID 13781-2208-2. From Alex Green to Ann Carlson. Date February 4, 2022.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0128 Final Response   NHTSA-0230621-006-0129 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0130 Final Response   NHTSA-0230621-006-0132 Final Response   Partial redaction            6
Report ID 13781-2214-2. From Alex Green to Ann Carlson. Date February 11, 2022.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0133 Final Response   NHTSA-0230621-006-0134 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                            of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-0135 Final Response   NHTSA-0230621-006-0137 Final Response   Partial redaction            6
Report ID 13781-2229-2. From Alex Green to Ann Carlson. Date February 11, 2022.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0138 Final Response   NHTSA-0230621-006-0139 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2229-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0140 Final Response   NHTSA-0230621-006-0142 Final Response   Partial redaction            6
Report ID 13781-2230-2. From Alex Green to Ann Carlson. Date February 11, 2022.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0143 Final Response   NHTSA-0230621-006-0144 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0145 Final Response   NHTSA-0230621-006-0147 Final Response   Partial redaction            6
Report ID 13781-2239-2. From Alex Green to Ann Carlson. Date February 11, 2022.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0148 Final Response   NHTSA-0230621-006-0149 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                            of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-0150 Final Response   NHTSA-0230621-006-0152 Final Response   Partial redaction            6
Report ID 13781-2251-2. From Alex Green to Ann Carlson. Date February 19, 2022.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                           Case 1:24-cv-01353-TSC                                                                      Document 26-4           Vaughn Index
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0153 Final Response   NHTSA-0230621-006-0154 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0155 Final Response   NHTSA-0230621-006-0157 Final Response   Partial redaction            6
Report ID 13781-2252-2. From Alex Green to Ann Carlson. Date February 19, 2022.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0158 Final Response   NHTSA-0230621-006-0159 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2252-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0160 Final Response   NHTSA-0230621-006-0162 Final Response   Partial redaction            6
Report ID 13781-2276-2. From Alex Green to Ann Carlson. Date February 19, 2022.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0163 Final Response   NHTSA-0230621-006-0165 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0165 Final Response   NHTSA-0230621-006-0167 Final Response   Partial redaction            6
Report ID 13781-2277-2. From Alex Green to Ann Carlson. Date February 19, 2022.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0168 Final Response   NHTSA-0230621-006-0169 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2277-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0170 Final Response   NHTSA-0230621-006-0172 Final Response   Partial redaction            6
Report ID 13781-2278-2. From Alex Green to Ann Carlson. Date February 19, 2022.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0173 Final Response   NHTSA-0230621-006-0174 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2278-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0175 Final Response   NHTSA-0230621-006-0177 Final Response   Partial redaction            6
Report ID 13781-2324-2. From Alex Green to Ann Carlson. Date February 22, 2022.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0178 Final Response   NHTSA-0230621-006-0179 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0180 Final Response   NHTSA-0230621-006-0182 Final Response   Partial redaction            6
Report ID 13781-2332-2. From Alex Green to Ann Carlson. Date February 19, 2022.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0183 Final Response   NHTSA-0230621-006-0184 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2332-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0185 Final Response   NHTSA-0230621-006-0187 Final Response   Partial redaction            6
Report ID 13781-2333-2. From Alex Green to Ann Carlson. Date February 19, 2022.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0188 Final Response   NHTSA-0230621-006-0189 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2333-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0190 Final Response   NHTSA-0230621-006-0192 Final Response   Partial redaction            6
Report ID 13781-2334-2. From Alex Green to Ann Carlson. Date February 19, 2022.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0193 Final Response   NHTSA-0230621-006-0194 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2334-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0195 Final Response   NHTSA-0230621-006-0197 Final Response   Partial redaction            6
Report ID 13781-2341-2. From Alex Green to Ann Carlson. Date February 22, 2022.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0198 Final Response   NHTSA-0230621-006-0199 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0200 Final Response   NHTSA-0230621-006-0202 Final Response   Partial redaction            6
Report ID 13781-2355-2. From Alex Green to Ann Carlson. Date February 25, 2022.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0203 Final Response   NHTSA-0230621-006-0204 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Report ID 13781-2369-2. From Alex Green to Ann Carlson. Date February 25, 2022.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0208 Final Response   NHTSA-0230621-006-0209 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0210 Final Response   NHTSA-0230621-006-0212 Final Response   Partial redaction            6
Report ID 13781-2370-2. From Alex Green to Ann Carlson. Date March 4, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0213 Final Response   NHTSA-0230621-006-0214 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0215 Final Response   NHTSA-0230621-006-0217 Final Response   Partial redaction            6
Report ID 13781-2370-3. From Alex Green to Ann Carlson. Date March 4, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0218 Final Response   NHTSA-0230621-006-0219 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2370-3, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0220 Final Response   NHTSA-0230621-006-0222 Final Response   Partial redaction            6
Report ID 13781-2371-2. From Alex Green to Ann Carlson. Date March 1, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0223 Final Response   NHTSA-0230621-006-0224 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0225 Final Response   NHTSA-0230621-006-0227 Final Response   Partial redaction            6
Report ID 13781-2372-2. From Alex Green to Ann Carlson. Date February 25, 2022.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0228 Final Response   NHTSA-0230621-006-0229 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0230 Final Response   NHTSA-0230621-006-0232 Final Response   Partial redaction            6
Report ID 13781-2373-2. From Alex Green to Ann Carlson. Date February 25, 2022.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0233 Final Response   NHTSA-0230621-006-0234 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0235 Final Response   NHTSA-0230621-006-0237 Final Response   Partial redaction            6
Report ID 13781-2374-2. From Alex Green to Ann Carlson. Date February 25, 2022.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0238 Final Response   NHTSA-0230621-006-0239 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0240 Final Response   NHTSA-0230621-006-0242 Final Response   Partial redaction            6
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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                                                                                      NHTSA-0230621-006-0245 Final Response   NHTSA-0230621-006-0247 Final Response   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
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                                                                                      NHTSA-0230621-006-0253 Final Response   NHTSA-0230621-006-0255 Final Response   Partial redaction            6
Report ID 13781-2430-2. From Alex Green to Ann Carlson. Date March 4, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
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                                                                                      NHTSA-0230621-006-0258 Final Response   NHTSA-0230621-006-0260 Final Response   Partial redaction            6
Report ID 13781-2435-2. From Alex Green to Ann Carlson. Date March 12, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                          WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                                                     Explanation



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                                                                                                                                                                                                                 4 of FOIA.
Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0266 Final Response   NHTSA-0230621-006-0267 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2436-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                                                                                                                                                 purposes. There is a significant privacy interest, and the public interest is not substantial because disclosure of complete VINs would not shed light on the agency’s performance of its statutory duties. Even assuming the public interest qualified for the Exemption 6 balancing test, the privacy interest in nondisclosure outweighs the public interest in disclosure because the PII available through the
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                                                                                      NHTSA-0230621-006-0268 Final Response   NHTSA-0230621-006-0270 Final Response   Partial redaction            6
Report ID 13781-2445-2. From Alex Green to Ann Carlson. Date March 12, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0271 Final Response   NHTSA-0230621-006-0272 Final Response   Partial redaction           4, 6           and may also include statistical or detailed proprietary information about a new feature. Releasing confidential commercial or financial information could also impact the willingness of regulated entities to provide NHTSA with such confidential information in the future, either voluntarily or when required by law. Therefore, it would foreseeably harm NHTSA’s interest in obtaining confidential information, which is critical to its vehicle safety mission. NHTSA
13781-2445-2, 10-Day Update.                                                                                                                                                                                     also considered whether any further information within this record could be segregated and disclosed, but any further disclosure will cause harm to Tesla and also to NHTSA as it endeavors to fulfill its important mission of ensuring vehicle safety by continuing to receive confidential information from vehicle manufacturers. Based on Tesla’s representations and other available information, NHTSA concluded that the information was entitled to confidential
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                            of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-0273 Final Response   NHTSA-0230621-006-0275 Final Response   Partial redaction            6
Report ID 13781-2445-3. From Alex Green to Ann Carlson. Date March 15, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0276 Final Response   NHTSA-0230621-006-0277 Final Response   Partial redaction           4, 6           and may also include statistical or detailed proprietary information about a new feature. Releasing confidential commercial or financial information could also impact the willingness of regulated entities to provide NHTSA with such confidential information in the future, either voluntarily or when required by law. Therefore, it would foreseeably harm NHTSA’s interest in obtaining confidential information, which is critical to its vehicle safety mission. NHTSA
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13781-2445-3, 10-Day Update.                                                                                                                                                                                     treatment pursuant to Exemption 4 of FOIA.

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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-0278 Final Response   NHTSA-0230621-006-0280 Final Response   Partial redaction            6
Report ID 13781-2451-2. From Alex Green to Ann Carlson. Date March 12, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0281 Final Response   NHTSA-0230621-006-0283 Final Response   Partial redaction            6
Report ID 13781-2461-2. From Alex Green to Ann Carlson. Date March 12, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0284 Final Response   NHTSA-0230621-006-0285 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2461-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0286 Final Response   NHTSA-0230621-006-0288 Final Response   Partial redaction            6
Report ID 13781-2480-2. From Alex Green to Ann Carlson. Date March 12, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0289 Final Response   NHTSA-0230621-006-0290 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2480-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0291 Final Response   NHTSA-0230621-006-0293 Final Response   Partial redaction            6
Report ID 13781-2499-2. From Alex Green to Ann Carlson. Date March 18, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0294 Final Response   NHTSA-0230621-006-0295 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0296 Final Response   NHTSA-0230621-006-0298 Final Response   Partial redaction            6
Report ID 13781-2543-2. From Alex Green to Ann Carlson. Date March 21, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0299 Final Response   NHTSA-0230621-006-0300 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2543-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0301 Final Response   NHTSA-0230621-006-0303 Final Response   Partial redaction            6
Report ID 13781-2567-2. From Alex Green to Ann Carlson. Date March 21, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0304 Final Response   NHTSA-0230621-006-0305 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2567-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0306 Final Response   NHTSA-0230621-006-0307 Final Response   Partial redaction            6
Report ID 13781-2573-2. From Alex Green to Ann Carlson. Date March 25, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0309 Final Response   NHTSA-0230621-006-0310 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0311 Final Response   NHTSA-0230621-006-0313 Final Response   Partial redaction            6
Report ID 13781-2580-2. From Alex Green to Ann Carlson. Date March 29, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                                                                                                                             Filed 04/02/25                                                                                 Page 155 of 197
                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0314 Final Response   NHTSA-0230621-006-0315 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0316 Final Response   NHTSA-0230621-006-0318 Final Response   Partial redaction            6
Report ID 13781-2580-3. From Alex Green to Ann Carlson. Date March 29, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0319 Final Response   NHTSA-0230621-006-0320 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2580-3, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0321 Final Response   NHTSA-0230621-006-0323 Final Response   Partial redaction            6
Report ID 13781-2600-2. From Alex Green to Ann Carlson. Date April 4, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0324 Final Response   NHTSA-0230621-006-0325 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2600-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0326 Final Response   NHTSA-0230621-006-0328 Final Response   Partial redaction            6
Report ID 13781-2601-2. From Alex Green to Ann Carlson. Date April 4, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0329 Final Response   NHTSA-0230621-006-0330 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0334 Final Response   NHTSA-0230621-006-0335 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0339 Final Response   NHTSA-0230621-006-0340 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0349 Final Response   NHTSA-0230621-006-0350 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2625-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0351 Final Response   NHTSA-0230621-006-0353 Final Response   Partial redaction            6
Report ID 13781-2626-2. From Alex Green to Ann Carlson. Date April 11, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0354 Final Response   NHTSA-0230621-006-0355 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0356 Final Response   NHTSA-0230621-006-0358 Final Response   Partial redaction            6
Report ID 13781-2627-2. From Alex Green to Ann Carlson. Date April 11, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0359 Final Response   NHTSA-0230621-006-0360 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0364 Final Response   NHTSA-0230621-006-0365 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2628-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0366 Final Response   NHTSA-0230621-006-0368 Final Response   Partial redaction            6
Report ID 13781-2629-2. From Alex Green to Ann Carlson. Date April 11, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0369 Final Response   NHTSA-0230621-006-0370 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2629-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0371 Final Response   NHTSA-0230621-006-0373 Final Response   Partial redaction            6
Report ID 13781-2630-2. From Alex Green to Ann Carlson. Date April 11, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0374 Final Response   NHTSA-0230621-006-0375 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0381 Final Response   NHTSA-0230621-006-0383 Final Response   Partial redaction            6
Report ID 13781-2635-2. From Alex Green to Ann Carlson. Date April 14, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0384 Final Response   NHTSA-0230621-006-0385 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0386 Final Response   NHTSA-0230621-006-0388 Final Response   Partial redaction            6
Report ID 13781-2638-2. From Alex Green to Ann Carlson. Date April 11, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0389 Final Response   NHTSA-0230621-006-0390 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0396 Final Response   NHTSA-0230621-006-0398 Final Response   Partial redaction            6
Report ID 13781-2640-2. From Alex Green to Ann Carlson. Date April 11, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0399 Final Response   NHTSA-0230621-006-0400 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2640-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0401 Final Response   NHTSA-0230621-006-0403 Final Response   Partial redaction            6
Report ID 13781-2641-2. From Alex Green to Ann Carlson. Date April 11, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0404 Final Response   NHTSA-0230621-006-0405 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0406 Final Response   NHTSA-0230621-006-0408 Final Response   Partial redaction            6
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0409 Final Response   NHTSA-0230621-006-0410 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0411 Final Response   NHTSA-0230621-006-0413 Final Response   Partial redaction            6
Report ID 13781-2643-2. From Alex Green to Ann Carlson. Date April 15, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0414 Final Response   NHTSA-0230621-006-0415 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2643-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                            of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-0416 Final Response   NHTSA-0230621-006-0418 Final Response   Partial redaction            6
Report ID 13781-2650-2. From Alex Green to Ann Carlson. Date April 15, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0419 Final Response   NHTSA-0230621-006-0420 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2650-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0421 Final Response   NHTSA-0230621-006-0423 Final Response   Partial redaction            6
Report ID 13781-2656-2. From Alex Green to Ann Carlson. Date April 15, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0424 Final Response   NHTSA-0230621-006-0425 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0426 Final Response   NHTSA-0230621-006-0428 Final Response   Partial redaction            6
Report ID 13781-2667-2. From Alex Green to Ann Carlson. Date April 15, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0429 Final Response   NHTSA-0230621-006-0430 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2667-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                            of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-0431 Final Response   NHTSA-0230621-006-0433 Final Response   Partial redaction            6
Report ID 13781-2668-2. From Alex Green to Ann Carlson. Date April 15, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0434 Final Response   NHTSA-0230621-006-0435 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2668-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0436 Final Response   NHTSA-0230621-006-0438 Final Response   Partial redaction            6
Report ID 13781-2669-2. From Alex Green to Ann Carlson. Date April 15, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0439 Final Response   NHTSA-0230621-006-0438 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0441 Final Response   NHTSA-0230621-006-0443 Final Response   Partial redaction            6
Report ID 13781-2697-2. From Alex Green to Ann Carlson. Date April 15, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0444 Final Response   NHTSA-0230621-006-0445 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2697-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                            of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-0446 Final Response   NHTSA-0230621-006-0448 Final Response   Partial redaction            6
Report ID 13781-2727-2. From Alex Green to Ann Carlson. Date April 25, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0449 Final Response   NHTSA-0230621-006-0450 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2727-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0451 Final Response   NHTSA-0230621-006-0453 Final Response   Partial redaction            6
Report ID 13781-2729-2. From Alex Green to Ann Carlson. Date April 25, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0459 Final Response   NHTSA-0230621-006-0460 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                            of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-0461 Final Response   NHTSA-0230621-006-0463 Final Response   Partial redaction            6
Report ID 13781-2780-2. From Alex Green to Ann Carlson. Date April 25, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0464 Final Response   NHTSA-0230621-006-0465 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2780-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0466 Final Response   NHTSA-0230621-006-0468 Final Response   Partial redaction            6
Report ID 13781-2781-2. From Alex Green to Ann Carlson. Date April 25, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0469 Final Response   NHTSA-0230621-006-0470 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0471 Final Response   NHTSA-0230621-006-0473 Final Response   Partial redaction            6
Report ID 13781-2782-2. From Alex Green to Ann Carlson. Date April 25, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0474 Final Response   NHTSA-0230621-006-0475 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                            of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-0476 Final Response   NHTSA-0230621-006-0478 Final Response   Partial redaction            6
Report ID 13781-2796-2. From Alex Green to Ann Carlson. Date April 25, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                           Case 1:24-cv-01353-TSC                                                                      Document 26-4           Vaughn Index
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0479 Final Response   NHTSA-0230621-006-0480 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2796-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0481 Final Response   NHTSA-0230621-006-0483 Final Response   Partial redaction            6
Report ID 13781-2799-2. From Alex Green to Ann Carlson. Date April 29, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0484 Final Response   NHTSA-0230621-006-0485 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2799-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0486 Final Response   NHTSA-0230621-006-0488 Final Response   Partial redaction            6
Report ID 13781-2801-2. From Alex Green to Ann Carlson. Date April 29, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0489 Final Response   NHTSA-0230621-006-0490 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0491 Final Response   NHTSA-0230621-006-0493 Final Response   Partial redaction            6
Report ID 13781-2804-2. From Ryan Stanko to Ann Carlson. Date May 2, 2022.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0494 Final Response   NHTSA-0230621-006-0496 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2804-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0497 Final Response   NHTSA-0230621-006-0499 Final Response   Partial redaction            6
Report ID 13781-2805-2. From Ryan Stanko to Ann Carlson. Date May 2, 2022.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0500 Final Response   NHTSA-0230621-006-0502 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0503 Final Response   NHTSA-0230621-006-0505 Final Response   Partial redaction            6
Report ID 13781-2806-2. From Ryan Stanko to Ann Carlson. Date May 2, 2022.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0506 Final Response   NHTSA-0230621-006-0508 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2806-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0509 Final Response   NHTSA-0230621-006-0511 Final Response   Partial redaction            6
Report ID 13781-2817-2. From Ryan Stanko to Ann Carlson. Date May 2, 2022.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0512 Final Response   NHTSA-0230621-006-0514 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2817-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0515 Final Response   NHTSA-0230621-006-0517 Final Response   Partial redaction            6
Report ID 13781-2824-2. From Ryan Stanko to Ann Carlson. Date May 3, 2022.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0518 Final Response   NHTSA-0230621-006-0520 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2824-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0521 Final Response   NHTSA-0230621-006-0523 Final Response   Partial redaction            6
Report ID 13781-2825-2. From Ryan Stanko to Ann Carlson. Date May 2, 2022.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0524 Final Response   NHTSA-0230621-006-0526 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0527 Final Response   NHTSA-0230621-006-0529 Final Response   Partial redaction            6
Report ID 13781-2826-2. From Ryan Stanko to Ann Carlson. Date May 2, 2022.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0530 Final Response   NHTSA-0230621-006-0532 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2826-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0533 Final Response   NHTSA-0230621-006-0535 Final Response   Partial redaction            6
Report ID 13781-2828-2. From Ryan Stanko to Ann Carlson. Date May 2, 2022.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0536 Final Response   NHTSA-0230621-006-0538 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2828-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0539 Final Response   NHTSA-0230621-006-0541 Final Response   Partial redaction            6
Report ID 13781-2828-3. From Alex Green to Ann Carlson. Date June 15, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0542 Final Response   NHTSA-0230621-006-0543 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2828-3, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0544 Final Response   NHTSA-0230621-006-0546 Final Response   Partial redaction            6
Report ID 13781-2829-2. From Ryan Stanko to Ann Carlson. Date May 2, 2022.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0547 Final Response   NHTSA-0230621-006-0549 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                                                                                                                                                 Furthermore, it matters little that the privacy intrusion does not occur immediately as long as there is a probability of an intrusion. There is a substantial privacy interest in nondisclosure of the location and date data, which outweighs any public interest in the release of the redacted data.




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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                            of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-0550 Final Response   NHTSA-0230621-006-0552 Final Response   Partial redaction            6
Report ID 13781-2831-2. From Ryan Stanko to Ann Carlson. Date May 6, 2022.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0553 Final Response   NHTSA-0230621-006-0555 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2831-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                            of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-0556 Final Response   NHTSA-0230621-006-0558 Final Response   Partial redaction            6
Report ID 13781-2832-2. From Ryan Stanko to Ann Carlson. Date May 2, 2022.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0559 Final Response   NHTSA-0230621-006-0561 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2832-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Confidentiality Determination for Certain Standing General Order
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2021-01 Incident Reports. From Kerry Kolodziej to Eric Williams. Date October 2,      NHTSA-0230621-006-0562 Final Response   NHTSA-0230621-006-0578 Final Response   Partial redaction            6
                                                                                                                                                                                                                 whether any further information within this record could be segregated and disclosed, but any further disclosure will cause harm to Tesla and also to NHTSA as it endeavors to fulfill its important mission of ensuring vehicle safety by continuing to receive confidential
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                            of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-0579 Final Response   NHTSA-0230621-006-0581 Final Response   Partial redaction            6
Report ID 13781-2833-2. From Ryan Stanko to Ann Carlson. Date May 2, 2022.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                                                                                                                                             Filed 04/02/25                                                                                 Page 171 of 197
                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0582 Final Response   NHTSA-0230621-006-0584 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2833-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0585 Final Response   NHTSA-0230621-006-0587 Final Response   Partial redaction            6
Report ID 13781-2835-2. From Ryan Stanko to Ann Carlson. Date May 2, 2022.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0588 Final Response   NHTSA-0230621-006-0590 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2835-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0591 Final Response   NHTSA-0230621-006-0593 Final Response   Partial redaction            6
Report ID 13781-2840-2. From Ryan Stanko to Ann Carlson. Date May 6, 2022.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0594 Final Response   NHTSA-0230621-006-0596 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2840-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0597 Final Response   NHTSA-0230621-006-0599 Final Response   Partial redaction            6
Report ID 13781-2841-2. From Ryan Stanko to Ann Carlson. Date May 9, 2022.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0600 Final Response   NHTSA-0230621-006-0602 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0603 Final Response   NHTSA-0230621-006-0605 Final Response   Partial redaction            6
Report ID 13781-2842-2. From Ryan Stanko to Ann Carlson. Date May 6, 2022.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0606 Final Response   NHTSA-0230621-006-0608 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2842-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0609 Final Response   NHTSA-0230621-006-0611 Final Response   Partial redaction            6
Report ID 13781-2844-2. From Ryan Stanko to Ann Carlson. Date May 6, 2022.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0612 Final Response   NHTSA-0230621-006-0614 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2844-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0615 Final Response   NHTSA-0230621-006-0617 Final Response   Partial redaction            6
Report ID 13781-2845-2. From Ryan Stanko to Ann Carlson. Date May 6, 2022.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0618 Final Response   NHTSA-0230621-006-0620 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0621 Final Response   NHTSA-0230621-006-0623 Final Response   Partial redaction            6
Report ID 13781-2846-2. From Ryan Stanko to Ann Carlson. Date May 6, 2022.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0624 Final Response   NHTSA-0230621-006-0626 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2846-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0627 Final Response   NHTSA-0230621-006-0629 Final Response   Partial redaction            6
Report ID 13781-2858-2. From Ryan Stanko to Ann Carlson. Date May 6, 2022.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0630 Final Response   NHTSA-0230621-006-0632 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2858-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0633 Final Response   NHTSA-0230621-006-0635 Final Response   Partial redaction            6
Report ID 13781-2868-2. From Ryan Stanko to Ann Carlson. Date May 14, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0636 Final Response   NHTSA-0230621-006-0638 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0639 Final Response   NHTSA-0230621-006-0641 Final Response   Partial redaction            6
Report ID 13781-2869-2. From Ryan Stanko to Ann Carlson. Date May 9, 2022.                                                                                                                                       information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0642 Final Response   NHTSA-0230621-006-0644 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2869-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0645 Final Response   NHTSA-0230621-006-0647 Final Response   Partial redaction            6
Report ID 13781-2873-2. From Ryan Stanko to Ann Carlson. Date May 15, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0648 Final Response   NHTSA-0230621-006-0650 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2873-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0651 Final Response   NHTSA-0230621-006-0653 Final Response   Partial redaction            6
Report ID 13781-2874-2. From Ryan Stanko to Ann Carlson. Date May 15, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0654 Final Response   NHTSA-0230621-006-0656 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0657 Final Response   NHTSA-0230621-006-0659 Final Response   Partial redaction            6
Report ID 13781-2877-2. From Ryan Stanko to Ann Carlson. Date May 15, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0660 Final Response   NHTSA-0230621-006-0662 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0663 Final Response   NHTSA-0230621-006-0665 Final Response   Partial redaction            6
Report ID 13781-2878-2. From Ryan Stanko to Ann Carlson. Date May 15, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0666 Final Response   NHTSA-0230621-006-0668 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0669 Final Response   NHTSA-0230621-006-0671 Final Response   Partial redaction            6
Report ID 13781-2879-2. From Ryan Stanko to Ann Carlson. Date May 15, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                          WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                                                     Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0672 Final Response   NHTSA-0230621-006-0674 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0675 Final Response   NHTSA-0230621-006-0677 Final Response   Partial redaction            6
Report ID 13781-2880-2. From Ryan Stanko to Ann Carlson. Date May 15, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0678 Final Response   NHTSA-0230621-006-0680 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                            of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-0681 Final Response   NHTSA-0230621-006-0683 Final Response   Partial redaction            6
Report ID 13781-2882-2. From Ryan Stanko to Ann Carlson. Date May 16, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
                                                                                                                                                                                                                 someone’s unique signature can be used for identity verification or potentially misused if made public.
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Incident Report. Tesla, Inc. - United States Department of Transportation, National                                                                                                                              disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by which Tesla identifies and examines field incidents, learns from vehicles through data collection, how Tesla conducts customer, how Tesla’s software and vehicle technology work,
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0684 Final Response   NHTSA-0230621-006-0686 Final Response   Partial redaction           4, 6           and may also include statistical or detailed proprietary information about a new feature. Releasing confidential commercial or financial information could also impact the willingness of regulated entities to provide NHTSA with such confidential information in the future, either voluntarily or when required by law. Therefore, it would foreseeably harm NHTSA’s interest in obtaining confidential information, which is critical to its vehicle safety mission. NHTSA
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13781-2882-2, 10-Day Update.                                                                                                                                                                                     treatment pursuant to Exemption 4 of FOIA.

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                                                                                                                                                                                                                 light on the agency’s performance of its statutory duties. Even assuming the public interest qualified for the Exemption 6 balancing test, the privacy interest in nondisclosure outweighs the public interest in disclosure because the PII available through the disclosure of a complete VIN is so sensitive that it fits into a genus in which the balance characteristically tips in favor of nondisclosure. Therefore, if this information is released, it would constitute a clearly
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                                                                                                                                                                                                                 the location and date data, which outweighs any public interest in the release of the redacted data.

                                                                                                                                                                                                                 This document contains personally identifying information (PII) consisting of an investigator’s name, phone number, and email address. Disclosure of this information would constitute an unwarranted invasion of personal privacy. When taken together with other unredacted data in the incident report, such as vehicle make and model, city, and state, information about the investigator could be used to ascertain the identities of individuals involved in the crash,
                                                                                                                                                                                                                 for example, through a simple internet search. The disclosure of the investigator’s contact information implicates a substantial privacy interest because it interferes with personal privacy, namely unwanted solicitation, harassment, and contact by the media, attorneys, and other interested parties. Moreover, it is more than likely that the individuals involved in the reported crashes would resent an unsolicited intrusion into their experiences as the reported crashes
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                            of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-0687 Final Response   NHTSA-0230621-006-0689 Final Response   Partial redaction            6
Report ID 13781-2883-2. From Ryan Stanko to Ann Carlson. Date May 15, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                        Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0690 Final Response   NHTSA-0230621-006-0692 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2883-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0693 Final Response   NHTSA-0230621-006-0695 Final Response   Partial redaction            6
Report ID 13781-2905-2. From Ryan Stanko to Ann Carlson. Date May 15, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0696 Final Response   NHTSA-0230621-006-0698 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0699 Final Response   NHTSA-0230621-006-0701 Final Response   Partial redaction            6
Report ID 13781-2917-2. From Ryan Stanko to Ann Carlson. Date May 15, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0702 Final Response   NHTSA-0230621-006-0704 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2917-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0705 Final Response   NHTSA-0230621-006-0707 Final Response   Partial redaction            6
Report ID 13781-2924-2. From Ryan Stanko to Ann Carlson. Date May 15, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0708 Final Response   NHTSA-0230621-006-0710 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0711 Final Response   NHTSA-0230621-006-0713 Final Response   Partial redaction            6
Report ID 13781-2989-2. From Ryan Stanko to Ann Carlson. Date May 21, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0714 Final Response   NHTSA-0230621-006-0716 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0717 Final Response   NHTSA-0230621-006-0719 Final Response   Partial redaction            6
Report ID 13781-2990-2. From Ryan Stanko to Ann Carlson. Date May 21, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0720 Final Response   NHTSA-0230621-006-0722 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-2990-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0723 Final Response   NHTSA-0230621-006-0725 Final Response   Partial redaction            6
Report ID 13781-2991-2. From Ryan Stanko to Ann Carlson. Date May 21, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0726 Final Response   NHTSA-0230621-006-0728 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0729 Final Response   NHTSA-0230621-006-0731 Final Response   Partial redaction            6
Report ID 13781-3019-2. From Ryan Stanko to Ann Carlson. Date May 21, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0732 Final Response   NHTSA-0230621-006-0734 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0735 Final Response   NHTSA-0230621-006-0737 Final Response   Partial redaction            6
Report ID 13781-3020-2. From Ryan Stanko to Ann Carlson. Date May 21, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0738 Final Response   NHTSA-0230621-006-0740 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3020-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                            of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-0741 Final Response   NHTSA-0230621-006-0743 Final Response   Partial redaction            6
Report ID 13781-3021-2. From Ryan Stanko to Ann Carlson. Date May 21, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0744 Final Response   NHTSA-0230621-006-0746 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0747 Final Response   NHTSA-0230621-006-0749 Final Response   Partial redaction            6
Report ID 13781-3026-2. From Ryan Stanko to Ann Carlson. Date May 28, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0750 Final Response   NHTSA-0230621-006-0752 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0753 Final Response   NHTSA-0230621-006-0755 Final Response   Partial redaction            6
Report ID 13781-3027-2. From Ryan Stanko to Ann Carlson. Date May 28, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0756 Final Response   NHTSA-0230621-006-0758 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                            of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-0759 Final Response   NHTSA-0230621-006-0761 Final Response   Partial redaction            6
Report ID 13781-3035-2. From Ryan Stanko to Ann Carlson. Date May 28, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0762 Final Response   NHTSA-0230621-006-0764 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0765 Final Response   NHTSA-0230621-006-0767 Final Response   Partial redaction            6
Report ID 13781-3036-2. From Ryan Stanko to Ann Carlson. Date May 28, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0768 Final Response   NHTSA-0230621-006-0770 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0771 Final Response   NHTSA-0230621-006-0773 Final Response   Partial redaction            6
Report ID 13781-3037-2. From Ryan Stanko to Ann Carlson. Date May 28, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0774 Final Response   NHTSA-0230621-006-0776 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                            of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-0777 Final Response   NHTSA-0230621-006-0779 Final Response   Partial redaction            6
Report ID 13781-3039-2. From Ryan Stanko to Ann Carlson. Date May 28, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0780 Final Response   NHTSA-0230621-006-0782 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3039-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0783 Final Response   NHTSA-0230621-006-0785 Final Response   Partial redaction            6
Report ID 13781-3040-2. From Ryan Stanko to Ann Carlson. Date May 28, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0786 Final Response   NHTSA-0230621-006-0788 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3040-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0789 Final Response   NHTSA-0230621-006-0791 Final Response   Partial redaction            6
Report ID 13781-3041-2. From Ryan Stanko to Ann Carlson. Date May 28, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0792 Final Response   NHTSA-0230621-006-0794 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0795 Final Response   NHTSA-0230621-006-0797 Final Response   Partial redaction            6
Report ID 13781-3042-2. From Ryan Stanko to Ann Carlson. Date May 28, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0798 Final Response   NHTSA-0230621-006-0800 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3042-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                            of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-0801 Final Response   NHTSA-0230621-006-0803 Final Response   Partial redaction            6
Report ID 13781-3058-2. From Ryan Stanko to Ann Carlson. Date June 5, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0804 Final Response   NHTSA-0230621-006-0806 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3058-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0807 Final Response   NHTSA-0230621-006-0809 Final Response   Partial redaction            6
Report ID 13781-3059-2. From Ryan Stanko to Ann Carlson. Date June 5, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0810 Final Response   NHTSA-0230621-006-0812 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0813 Final Response   NHTSA-0230621-006-0815 Final Response   Partial redaction            6
Report ID 13781-3060-2. From Ryan Stanko to Ann Carlson. Date June 5, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0816 Final Response   NHTSA-0230621-006-0818 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3060-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0819 Final Response   NHTSA-0230621-006-0821 Final Response   Partial redaction            6
Report ID 13781-3061-2. From Ryan Stanko to Ann Carlson. Date June 5, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0822 Final Response   NHTSA-0230621-006-0824 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3061-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0825 Final Response   NHTSA-0230621-006-0827 Final Response   Partial redaction            6
Report ID 13781-3062-2. From Ryan Stanko to Ann Carlson. Date June 5, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0828 Final Response   NHTSA-0230621-006-0830 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3062-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0831 Final Response   NHTSA-0230621-006-0833 Final Response   Partial redaction            6
Report ID 13781-3069-2. From Ryan Stanko to Ann Carlson. Date June 5, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0834 Final Response   NHTSA-0230621-006-0836 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3069-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0837 Final Response   NHTSA-0230621-006-0839 Final Response   Partial redaction            6
Report ID 13781-3070-2. From Ryan Stanko to Ann Carlson. Date June 5, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0840 Final Response   NHTSA-0230621-006-0842 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3070-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0843 Final Response   NHTSA-0230621-006-0845 Final Response   Partial redaction            6
Report ID 13781-3071-2. From Ryan Stanko to Ann Carlson. Date June 5, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0846 Final Response   NHTSA-0230621-006-0848 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3071-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0849 Final Response   NHTSA-0230621-006-0851 Final Response   Partial redaction            6
Report ID 13781-3075-2. From Ryan Stanko to Ann Carlson. Date June 5, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                        Explanation


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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0852 Final Response   NHTSA-0230621-006-0854 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0855 Final Response   NHTSA-0230621-006-0857 Final Response   Partial redaction            6
Report ID 13781-3077-2. From Ryan Stanko to Ann Carlson. Date June 13, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0858 Final Response   NHTSA-0230621-006-0860 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3077-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0861 Final Response   NHTSA-0230621-006-0863 Final Response   Partial redaction            6
Report ID 13781-3078-2. From Ryan Stanko to Ann Carlson. Date June 13, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0864 Final Response   NHTSA-0230621-006-0866 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3078-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0867 Final Response   NHTSA-0230621-006-0869 Final Response   Partial redaction            6
Report ID 13781-3079-2. From Ryan Stanko to Ann Carlson. Date June 13, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                        Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0870 Final Response   NHTSA-0230621-006-0872 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0873 Final Response   NHTSA-0230621-006-0875 Final Response   Partial redaction            6
Report ID 13781-3483-2. From Ryan Stanko to Ann Carlson. Date August 1, 2022.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0876 Final Response   NHTSA-0230621-006-0878 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3483-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                            of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-0879 Final Response   NHTSA-0230621-006-0881 Final Response   Partial redaction            6
Report ID 13781-3620-2. From Alex Green to Ann Carlson. Date August 22, 2022.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0882 Final Response   NHTSA-0230621-006-0883 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0884 Final Response   NHTSA-0230621-006-0886 Final Response   Partial redaction            6
Report ID 13781-3621-2. From Alex Green to Ann Carlson. Date August 22, 2022.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0887 Final Response   NHTSA-0230621-006-0888 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0889 Final Response   NHTSA-0230621-006-0891 Final Response   Partial redaction            6
Report ID 13781-3622-2. From Alex Green to Ann Carlson. Date August 22, 2022.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0892 Final Response   NHTSA-0230621-006-0893 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3622-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0894 Final Response   NHTSA-0230621-006-0896 Final Response   Partial redaction            6
Report ID 13781-3673-2. From Alex Green to Ann Carlson. Date August 22, 2022.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0897 Final Response   NHTSA-0230621-006-0898 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0899 Final Response   NHTSA-0230621-006-0901 Final Response   Partial redaction            6
Report ID 13781-3674-2. From Alex Green to Ann Carlson. Date August 22, 2022.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0902 Final Response   NHTSA-0230621-006-0903 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0904 Final Response   NHTSA-0230621-006-0906 Final Response   Partial redaction            6
Report ID 13781-3675-2. From Alex Green to Ann Carlson. Date August 22, 2022.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0907 Final Response   NHTSA-0230621-006-0908 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3675-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                            of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-0909 Final Response   NHTSA-0230621-006-0911 Final Response   Partial redaction            6
Report ID 13781-3677-2. From Alex Green to Ann Carlson. Date August 22, 2022.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0912 Final Response   NHTSA-0230621-006-0913 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-3677-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                      NHTSA-0230621-006-0914 Final Response   NHTSA-0230621-006-0916 Final Response   Partial redaction            6
Report ID 13781-3680-2. From Alex Green to Ann Carlson. Date August 22, 2022.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                 Record Description                                                    Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                                                                                       Explanation



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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0917 Final Response   NHTSA-0230621-006-0918 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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                                                                                      NHTSA-0230621-006-0919 Final Response   NHTSA-0230621-006-0921 Final Response   Partial redaction            6
Report ID 13781-5372-1. From Ryan Stanko to Ann Carlson. Date April 24, 2023.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0922 Final Response   NHTSA-0230621-006-0923 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
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13781-5372-1, 1-Day Report.                                                                                                                                                                                      information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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                                                                                                                                                                                                                 This document contains Vehicle Identification Number(s) (VINs) of vehicle owners. A VIN consists of 17 characters, with the last 6 digits sequentially assigned by the manufacturer in the production process. The Agency has redacted the last 6 digits of VIN(s) in this document. A full VIN can be used to identify personally identifying information. For example, a complete VIN coupled with
                                                                                                                                                                                                                 information on a commercial database, such as Westlaw, easily can be used to identify the name, address, date of birth and lien information of a vehicle owner. As such, the disclosure of full VIN information would jeopardize the personal privacy of individuals. VINs contain personal information that falls within the category of files “similar” to “personnel and medical files” for Exemption 6
                                                                                                                                                                                                                 purposes. There is a significant privacy interest, and the public interest is not substantial because disclosure of complete VINs would not shed light on the agency’s performance of its statutory duties. Even assuming the public interest qualified for the Exemption 6 balancing test, the privacy interest in nondisclosure outweighs the public interest in disclosure because the PII available through the
                                                                                                                                                                                                                 disclosure of a complete VIN is so sensitive that it fits into a genus in which the balance characteristically tips in favor of nondisclosure. Therefore, if this information is released, it would constitute a clearly unwarranted invasion of personal privacy.

                                                                                                                                                                                                                 This document contains information on specific geographical locations of reported crashes, including latitude, longitude, address, and zip code, and information on when the incident occurred, including the date the incident occurred and when the reporting entity received notice of the incident. Release of this information creates a threat to privacy. When taken together with other unredacted data in the
                                                                                                                                                                                                                 incident report, such as vehicle make and model, city, and state, the location and date information could be used to ascertain the identities of individuals involved in the crash, for example, through a simple internet search. The disclosure of location and date data implicates a substantial privacy interest because it interferes with personal privacy, namely unwanted solicitation, harassment, and contact by
                                                                                                                                                                                                                 the media, attorneys, and other interested parties. Moreover, it is more than likely that the individuals involved in the reported crashes would resent an unsolicited intrusion into their experiences as the reported crashes may involve injuries of a personal and upsetting nature. The mere fact that the crashes occurred in public does not lessen the unwanted intrusion into an individual’s privacy.
                                                                                                                                                                                                                 Furthermore, it matters little that the privacy intrusion does not occur immediately as long as there is a probability of an intrusion. There is a substantial privacy interest in nondisclosure of the location and date data, which outweighs any public interest in the release of the redacted data.




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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                            of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-0924 Final Response   NHTSA-0230621-006-0926 Final Response   Partial redaction            6
Report ID 13781-5609-2. From Ryan Stanko to Ann Carlson. Date May 28, 2023.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
                                                                                                                                                                                                                 someone’s unique signature can be used for identity verification or potentially misused if made public.



                                                                                                                                                                                                                 This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the version of ADAS/ADS with which a vehicle involved in the incident is equipped. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part
                                                                                                                                                                                                                 512. Tesla described that the information is proprietary, confidential, and otherwise not publicly available and that Tesla has taken measures to ensure that the information is not released outside of the company. Tesla represented that it customarily and actually keeps private the information at issue and provided such information under an assurance of privacy. Submission under NHTSA’s statutory and
                                                                                                                                                                                                                 regulatory framework governing confidential information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information
                                                                                                                                                                                                                 private, for example, by revealing the process by which Tesla identifies and examines field incidents, learns from vehicles through data collection, how Tesla conducts customer, how Tesla’s software and vehicle technology work, and may also include statistical or detailed proprietary information about a new feature. Releasing confidential commercial or financial information could also impact the
                                                                                                                                                                                                                 willingness of regulated entities to provide NHTSA with such confidential information in the future, either voluntarily or when required by law. Therefore, it would foreseeably harm NHTSA’s interest in obtaining confidential information, which is critical to its vehicle safety mission. NHTSA also considered whether any further information within this record could be segregated and disclosed, but
                                                                                                                                                                                                                 any further disclosure would cause harm to Tesla and also to NHTSA as it endeavors to fulfill its important mission of ensuring vehicle safety by continuing to receive confidential information from vehicle manufacturers. Based on Tesla’s representations and other available information, NHTSA concluded that the information was entitled to confidential treatment pursuant to Exemption 4 of FOIA.

                                                                                                                                                                                                                 This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains whether the vehicle was within its operational design domain (ODD) at the time of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49
                                                                                                                                                                                                                 C.F.R. Part 512. Tesla described that the information is proprietary, confidential, and otherwise not publicly available and that Tesla has taken measures to ensure that the information is not released outside of the company. Tesla represented that it customarily and actually keeps private the information at issue and provided such information under an assurance of privacy. Submission under NHTSA’s
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                                                                                                                                                                                                                 4 of FOIA.
Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-0927 Final Response   NHTSA-0230621-006-0928 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
                                                                                                                                                                                                                 confidential, and otherwise not publicly available and that Tesla has taken measures to ensure that the information is not released outside of the company. Tesla represented that it customarily and actually keeps private the information at issue and provided such information under an assurance of privacy. Submission under NHTSA’s statutory and regulatory framework governing confidential
13781-5609-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
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Letter. Subject: Confidentiality Determination for Certain Standing General Order
                                                                                                                                                                                                                 of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
2021-01 Incident Reports. From Michael Kuppersmith to Eric Williams. Date             NHTSA-0230621-006-0929 Final Response   NHTSA-0230621-006-0932 Final Response   Partial redaction            6
                                                                                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
September 26, 2024.
                                                                                                                                                                                                                 someone’s unique signature can be used for identity verification or potentially misused if made public.
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                            of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-0933 Final Response   NHTSA-0230621-006-0935 Final Response   Partial redaction            6
Report ID 13781-1953-2. From Alex Green to Ann Carlson. Date December 30, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                            of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-0936 Final Response   NHTSA-0230621-006-0938 Final Response   Partial redaction            6
Report ID 13781-1954-2. From Alex Green to Ann Carlson. Date December 23, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                            of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-0939 Final Response   NHTSA-0230621-006-0941 Final Response   Partial redaction            6
Report ID 13781-1975-2. From Alex Green to Ann Carlson. Date December 23, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0942 Final Response   NHTSA-0230621-006-0944 Final Response   Partial redaction            6
Report ID 13781-1976-2. From Alex Green to Ann Carlson. Date December 30, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                           Case 1:24-cv-01353-TSC                                                              Document 26-4                Vaughn Index
                                                                                                                                                                                                                                                                                                   Filed 04/02/25                                                 Page 191 of 197
                                                                                                                                                                                                                      WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                               Record Description                                                    Start Page                               End Page                  Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
                                                                                                                                                                                                                 This document contains personally identifying information (PII) consisting of a signature. Disclosure of this information would constitute an unwarranted invasion of personal privacy because a signature is a unique and personal identifier. The public interest in release
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                                                                                      NHTSA-0230621-006-0945 Final Response   NHTSA-0230621-006-0947 Final Response   Partial redaction            6
Report ID 13781-1977-2. From Alex Green to Ann Carlson. Date December 30, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0948 Final Response   NHTSA-0230621-006-0950 Final Response   Partial redaction            6
Report ID 13781-1978-2. From Alex Green to Ann Carlson. Date December 30, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0951 Final Response   NHTSA-0230621-006-0953 Final Response   Partial redaction            6
Report ID 13781-1979-2. From Alex Green to Ann Carlson. Date December 30, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0954 Final Response   NHTSA-0230621-006-0956 Final Response   Partial redaction            6
Report ID 13781-1986-2. From Alex Green to Ann Carlson. Date December 30, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0957 Final Response   NHTSA-0230621-006-0959 Final Response   Partial redaction            6
Report ID 13781-1991-2. From Alex Green to Ann Carlson. Date January 10, 2022.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0960 Final Response   NHTSA-0230621-006-0962 Final Response   Partial redaction            6
Report ID 13781-1992-2. From Alex Green to Ann Carlson. Date January 10, 2022.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0963 Final Response   NHTSA-0230621-006-0965 Final Response   Partial redaction            6
Report ID 13781-2008-2. From Alex Green to Ann Carlson. Date January 10, 2022.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0966 Final Response   NHTSA-0230621-006-0968 Final Response   Partial redaction            6
Report ID 13781-2009-2. From Alex Green to Ann Carlson. Date January 10, 2022.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0969 Final Response   NHTSA-0230621-006-0971 Final Response   Partial redaction            6
Report ID 13781-2010-2. From Alex Green to Ann Carlson. Date January 10, 2022.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0972 Final Response   NHTSA-0230621-006-0974 Final Response   Partial redaction            6
Report ID 13781-2011-2. From Alex Green to Ann Carlson. Date January 10, 2022.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0975 Final Response   NHTSA-0230621-006-0977 Final Response   Partial redaction            6
Report ID 13781-2012-2. From Alex Green to Ann Carlson. Date January 10, 2022.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0978 Final Response   NHTSA-0230621-006-0980 Final Response   Partial redaction            6
Report ID 13781-2013-2. From Alex Green to Ann Carlson. Date January 10, 2022.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0981 Final Response   NHTSA-0230621-006-0983 Final Response   Partial redaction            6
Report ID 13781-2592-2. From Alex Green to Ann Carlson. Date March 29, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0984 Final Response   NHTSA-0230621-006-0986 Final Response   Partial redaction            6
Report ID 13781-2795-2. From Alex Green to Ann Carlson. Date April 25, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0987 Final Response   NHTSA-0230621-006-0989 Final Response   Partial redaction            6
Report ID 13781-1039-2. From Alex Green to Ann Carlson. Date August 20, 2021.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0990 Final Response   NHTSA-0230621-006-0992 Final Response   Partial redaction            6
Report ID 13781-1041-2. From Alex Green to Ann Carlson. Date August 20, 2021.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0993 Final Response   NHTSA-0230621-006-0995 Final Response   Partial redaction            6
Report ID 13781-1045-1. From Alex Green to Ann Carlson. Date August 13, 2021.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0996 Final Response   NHTSA-0230621-006-0998 Final Response   Partial redaction            6
Report ID 13781-1045-2. From Alex Green to Ann Carlson. Date January 7, 2022.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-0999 Final Response   NHTSA-0230621-006-1001 Final Response   Partial redaction            6
Report ID 13781-1046-1. From Alex Green to Ann Carlson. Date August 13, 2021.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1002 Final Response   NHTSA-0230621-006-1004 Final Response   Partial redaction            6
Report ID 13781-1045-2. From Alex Green to Ann Carlson. Date January 7, 2022.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1005 Final Response   NHTSA-0230621-006-1007 Final Response   Partial redaction            6
Report ID 13781-1048-1. From Alex Green to Ann Carlson. Date August 13, 2021.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1008 Final Response   NHTSA-0230621-006-1010 Final Response   Partial redaction            6
Report ID 13781-1048-2. From Alex Green to Ann Carlson. Date January 7, 2022.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1011 Final Response   NHTSA-0230621-006-1013 Final Response   Partial redaction            6
Report ID 13781-1049-1. From Alex Green to Ann Carlson. Date August 13, 2021.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1014 Final Response   NHTSA-0230621-006-1016 Final Response   Partial redaction            6
Report ID 13781-1049-2. From Alex Green to Ann Carlson. Date January 7, 2022.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1017 Final Response   NHTSA-0230621-006-1019 Final Response   Partial redaction            6
Report ID 13781-1050-2. From Alex Green to Ann Carlson. Date August 20, 2021.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1020 Final Response   NHTSA-0230621-006-1022 Final Response   Partial redaction            6
Report ID 13781-1086-2. From Alex Green to Ann Carlson. Date August 20, 2021.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                      WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                               Record Description                                                    Start Page                               End Page                  Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-1023 Final Response   NHTSA-0230621-006-1025 Final Response   Partial redaction            6
Report ID 13781-1087-2. From Alex Green to Ann Carlson. Date August 20, 2021.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1026 Final Response   NHTSA-0230621-006-1028 Final Response   Partial redaction            6
Report ID 13781-1090-2. From Alex Green to Ann Carlson. Date August 20, 2021.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1029 Final Response   NHTSA-0230621-006-1031 Final Response   Partial redaction            6
Report ID 13781-1096-2. From Alex Green to Ann Carlson. Date August 20, 2021.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1032 Final Response   NHTSA-0230621-006-1034 Final Response   Partial redaction            6
Report ID 13781-1100-2. From Alex Green to Ann Carlson. Date August 20, 2021.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1035 Final Response   NHTSA-0230621-006-1037 Final Response   Partial redaction            6
Report ID 13781-1102-1. From Alex Green to Ann Carlson. Date August 20, 2021.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1038 Final Response   NHTSA-0230621-006-1040 Final Response   Partial redaction            6
Report ID 13781-1102-2. From Alex Green to Ann Carlson. Date January 7, 2022.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1041 Final Response   NHTSA-0230621-006-1043 Final Response   Partial redaction            6
Report ID 13781-1111-2. From Alex Green to Ann Carlson. Date August 30, 2021.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1044 Final Response   NHTSA-0230621-006-1046 Final Response   Partial redaction            6
Report ID 13781-1112-2. From Alex Green to Ann Carlson. Date August 30, 2021.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1047 Final Response   NHTSA-0230621-006-1049 Final Response   Partial redaction            6
Report ID 13781-1140-1. From Alex Green to Ann Carlson. Date August 30, 2021.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1050 Final Response   NHTSA-0230621-006-1052 Final Response   Partial redaction            6
Report ID 13781-1140-2. From Alex Green to Ann Carlson. Date January 7, 2022.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1053 Final Response   NHTSA-0230621-006-1055 Final Response   Partial redaction            6
Report ID 13781-1150-1. From Alex Green to Ann Carlson. Date August 30, 2021.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1056 Final Response   NHTSA-0230621-006-1058 Final Response   Partial redaction            6
Report ID 13781-1150-2. From Alex Green to Ann Carlson. Date January 7, 2022.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1059 Final Response   NHTSA-0230621-006-1061 Final Response   Partial redaction            6
Report ID 13781-1151-1. From Alex Green to Ann Carlson. Date August 30, 2021.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1062 Final Response   NHTSA-0230621-006-1064 Final Response   Partial redaction            6
Report ID 13781-1151-2. From Alex Green to Ann Carlson. Date January 7, 2022.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1065 Final Response   NHTSA-0230621-006-1067 Final Response   Partial redaction            6
Report ID 13781-1154-2. From Alex Green to Ann Carlson. Date September 3, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1068 Final Response   NHTSA-0230621-006-1070 Final Response   Partial redaction            6
Report ID 13781-1157-2. From Alex Green to Ann Carlson. Date September 3, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1071 Final Response   NHTSA-0230621-006-1073 Final Response   Partial redaction            6
Report ID 13781-1193-1. From Alex Green to Ann Carlson. Date September 3, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1074 Final Response   NHTSA-0230621-006-1076 Final Response   Partial redaction            6
Report ID 13781-1193-2. From Alex Green to Ann Carlson. Date January 7, 2022.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1077 Final Response   NHTSA-0230621-006-1079 Final Response   Partial redaction            6
Report ID 13781-1194-1. From Alex Green to Ann Carlson. Date September 3, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1080 Final Response   NHTSA-0230621-006-1082 Final Response   Partial redaction            6
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                                                                                      NHTSA-0230621-006-1083 Final Response   NHTSA-0230621-006-1085 Final Response   Partial redaction            6
Report ID 13781-1197-2. From Alex Green to Ann Carlson. Date September 10, 2021.                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1086 Final Response   NHTSA-0230621-006-1088 Final Response   Partial redaction            6
Report ID 13781-1198-2. From Alex Green to Ann Carlson. Date September 10, 2021.                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1089 Final Response   NHTSA-0230621-006-1091 Final Response   Partial redaction            6
Report ID 13781-1218-1. From Alex Green to Ann Carlson. Date September 10, 2021.                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1092 Final Response   NHTSA-0230621-006-1094 Final Response   Partial redaction            6
Report ID 13781-1218-2. From Alex Green to Ann Carlson. Date January 7, 2022.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1095 Final Response   NHTSA-0230621-006-1097 Final Response   Partial redaction            6
Report ID 13781-1242-2. From Alex Green to Ann Carlson. Date September 17, 2021.                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1098 Final Response   NHTSA-0230621-006-1100 Final Response   Partial redaction            6
Report ID 13781-1243-2. From Alex Green to Ann Carlson. Date September 17, 2021.                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                      WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                               Record Description                                                    Start Page                               End Page                  Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-1101 Final Response   NHTSA-0230621-006-1103 Final Response   Partial redaction            6
Report ID 13781-1244-2. From Alex Green to Ann Carlson. Date September 17, 2021.                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1104 Final Response   NHTSA-0230621-006-1006 Final Response   Partial redaction            6
Report ID 13781-1245-2. From Alex Green to Ann Carlson. Date September 17, 2021.                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1007 Final Response   NHTSA-0230621-006-1109 Final Response   Partial redaction            6
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                                                                                      NHTSA-0230621-006-1110 Final Response   NHTSA-0230621-006-1112 Final Response   Partial redaction            6
Report ID 13781-1331-2. From Alex Green to Ann Carlson. Date September 24, 2021.                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1113 Final Response   NHTSA-0230621-006-1115 Final Response   Partial redaction            6
Report ID 13781-1332-2. From Alex Green to Ann Carlson. Date September 24, 2021.                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1116 Final Response   NHTSA-0230621-006-1118 Final Response   Partial redaction            6
Report ID 13781-1333-2. From Alex Green to Ann Carlson. Date September 24, 2021.                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1119 Final Response   NHTSA-0230621-006-1121 Final Response   Partial redaction            6
Report ID 13781-1339-2. From Alex Green to Ann Carlson. Date September 24, 2021.                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1122 Final Response   NHTSA-0230621-006-1124 Final Response   Partial redaction            6
Report ID 13781-1343-2. From Alex Green to Ann Carlson. Date October 1, 2021.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1125 Final Response   NHTSA-0230621-006-1127 Final Response   Partial redaction            6
Report ID 13781-1344-1. From Alex Green to Ann Carlson. Date September 24, 2021.                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1128 Final Response   NHTSA-0230621-006-1130 Final Response   Partial redaction            6
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                                                                                      NHTSA-0230621-006-1131 Final Response   NHTSA-0230621-006-1133 Final Response   Partial redaction            6
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                                                                                      NHTSA-0230621-006-1134 Final Response   NHTSA-0230621-006-1136 Final Response   Partial redaction            6
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                                                                                      NHTSA-0230621-006-1137 Final Response   NHTSA-0230621-006-1139 Final Response   Partial redaction            6
Report ID 13781-1352-2. From Alex Green to Ann Carlson. Date October 1, 2021.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1140 Final Response   NHTSA-0230621-006-1142 Final Response   Partial redaction            6
Report ID 13781-1353-2. From Alex Green to Ann Carlson. Date October 1, 2021.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1143 Final Response   NHTSA-0230621-006-1145 Final Response   Partial redaction            6
Report ID 13781-1355-2. From Alex Green to Ann Carlson. Date October 1, 2021.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1146 Final Response   NHTSA-0230621-006-1148 Final Response   Partial redaction            6
Report ID 13781-1356-2. From Alex Green to Ann Carlson. Date October 1, 2021.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1149 Final Response   NHTSA-0230621-006-1151 Final Response   Partial redaction            6
Report ID 13781-1357-2. From Alex Green to Ann Carlson. Date October 1, 2021.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1152 Final Response   NHTSA-0230621-006-1154 Final Response   Partial redaction            6
Report ID 13781-1372-2. From Alex Green to Ann Carlson. Date October 8, 2021.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1155 Final Response   NHTSA-0230621-006-1157 Final Response   Partial redaction            6
Report ID 13781-1374-2. From Alex Green to Ann Carlson. Date October 8, 2021.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1158 Final Response   NHTSA-0230621-006-1160 Final Response   Partial redaction            6
Report ID 13781-1375-2. From Alex Green to Ann Carlson. Date October 8, 2021.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1161 Final Response   NHTSA-0230621-006-1163 Final Response   Partial redaction            6
Report ID 13781-1383-2. From Alex Green to Ann Carlson. Date October 8, 2021.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1164 Final Response   NHTSA-0230621-006-1166 Final Response   Partial redaction            6
Report ID 13781-1388-2. From Alex Green to Ann Carlson. Date October 8, 2021.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1167 Final Response   NHTSA-0230621-006-1169 Final Response   Partial redaction            6
Report ID 13781-1390-2. From Alex Green to Ann Carlson. Date October 8, 2021.                                                                                                                                    information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1170 Final Response   NHTSA-0230621-006-1172 Final Response   Partial redaction            6
Report ID 13781-1404-2. From Alex Green to Ann Carlson. Date October 15, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1173 Final Response   NHTSA-0230621-006-1175 Final Response   Partial redaction            6
Report ID 13781-1405-2. From Alex Green to Ann Carlson. Date October 15, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1176 Final Response   NHTSA-0230621-006-1178 Final Response   Partial redaction            6
Report ID 13781-1406-2. From Alex Green to Ann Carlson. Date October 15, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                               Record Description                                                    Start Page                               End Page                  Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-1179 Final Response   NHTSA-0230621-006-1181 Final Response   Partial redaction            6
Report ID 13781-1407-2. From Alex Green to Ann Carlson. Date October 15, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1182 Final Response   NHTSA-0230621-006-1184 Final Response   Partial redaction            6
Report ID 13781-1408-2. From Alex Green to Ann Carlson. Date October 15, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1185 Final Response   NHTSA-0230621-006-1187 Final Response   Partial redaction            6
Report ID 13781-1439-2. From Alex Green to Ann Carlson. Date October 15, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1188 Final Response   NHTSA-0230621-006-1190 Final Response   Partial redaction            6
Report ID 13781-1511-2. From Alex Green to Ann Carlson. Date October 22, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1191 Final Response   NHTSA-0230621-006-1193 Final Response   Partial redaction            6
Report ID 13781-1512-2. From Alex Green to Ann Carlson. Date October 22, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1194 Final Response   NHTSA-0230621-006-1196 Final Response   Partial redaction            6
Report ID 13781-1513-2. From Alex Green to Ann Carlson. Date October 22, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1197 Final Response   NHTSA-0230621-006-1199 Final Response   Partial redaction            6
Report ID 13781-1516-2. From Alex Green to Ann Carlson. Date October 22, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1200 Final Response   NHTSA-0230621-006-1202 Final Response   Partial redaction            6
Report ID 13781-1521-2. From Alex Green to Ann Carlson. Date October 22, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1203 Final Response   NHTSA-0230621-006-1205 Final Response   Partial redaction            6
Report ID 13781-1527-2. From Alex Green to Ann Carlson. Date October 22, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1206 Final Response   NHTSA-0230621-006-1208 Final Response   Partial redaction            6
Report ID 13781-1537-2. From Alex Green to Ann Carlson. Date October 29, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1209 Final Response   NHTSA-0230621-006-1211 Final Response   Partial redaction            6
Report ID 13781-1538-2. From Alex Green to Ann Carlson. Date October 29, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1212 Final Response   NHTSA-0230621-006-1214 Final Response   Partial redaction            6
Report ID 13781-1541-2. From Alex Green to Ann Carlson. Date October 29, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1215 Final Response   NHTSA-0230621-006-1217 Final Response   Partial redaction            6
Report ID 13781-1542-2. From Alex Green to Ann Carlson. Date October 29, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1218 Final Response   NHTSA-0230621-006-1220 Final Response   Partial redaction            6
Report ID 13781-1543-2. From Alex Green to Ann Carlson. Date October 29, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1221 Final Response   NHTSA-0230621-006-1223 Final Response   Partial redaction            6
Report ID 13781-1544-2. From Alex Green to Ann Carlson. Date October 29, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1224 Final Response   NHTSA-0230621-006-1226 Final Response   Partial redaction            6
Report ID 13781-1545-2. From Alex Green to Ann Carlson. Date October 29, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1227 Final Response   NHTSA-0230621-006-1229 Final Response   Partial redaction            6
Report ID 13781-1546-2. From Alex Green to Ann Carlson. Date October 29, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1230 Final Response   NHTSA-0230621-006-1232 Final Response   Partial redaction            6
Report ID 13781-1547-2. From Alex Green to Ann Carlson. Date October 29, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1233 Final Response   NHTSA-0230621-006-1235 Final Response   Partial redaction            6
Report ID 13781-1551-2. From Alex Green to Ann Carlson. Date October 29, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1236 Final Response   NHTSA-0230621-006-1238 Final Response   Partial redaction            6
Report ID 13781-1553-2. From Alex Green to Ann Carlson. Date November 5, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1239 Final Response   NHTSA-0230621-006-1241 Final Response   Partial redaction            6
Report ID 13781-1554-2. From Alex Green to Ann Carlson. Date October 29, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1242 Final Response   NHTSA-0230621-006-1244 Final Response   Partial redaction            6
Report ID 13781-1555-2. From Alex Green to Ann Carlson. Date November 5, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1245 Final Response   NHTSA-0230621-006-1247 Final Response   Partial redaction            6
Report ID 13781-1556-2. From Alex Green to Ann Carlson. Date November 5, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1248 Final Response   NHTSA-0230621-006-1250 Final Response   Partial redaction            6
Report ID 13781-1573-2. From Alex Green to Ann Carlson. Date November 5, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1251 Final Response   NHTSA-0230621-006-1253 Final Response   Partial redaction            6
Report ID 13781-1574-2. From Alex Green to Ann Carlson. Date November 5, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1254 Final Response   NHTSA-0230621-006-1256 Final Response   Partial redaction            6
Report ID 13781-1575-2. From Alex Green to Ann Carlson. Date November 5, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                                                                                                      WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                               Record Description                                                    Start Page                               End Page                  Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-1257 Final Response   NHTSA-0230621-006-1259 Final Response   Partial redaction            6
Report ID 13781-1584-2. From Alex Green to Ann Carlson. Date November 5, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1260 Final Response   NHTSA-0230621-006-1262 Final Response   Partial redaction            6
Report ID 13781-1585-2. From Alex Green to Ann Carlson. Date November 5, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1263 Final Response   NHTSA-0230621-006-1265 Final Response   Partial redaction            6
Report ID 13781-1589-2. From Alex Green to Ann Carlson. Date November 5, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1266 Final Response   NHTSA-0230621-006-1268 Final Response   Partial redaction            6
Report ID 13781-1598-2. From Alex Green to Ann Carlson. Date November 5, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1269 Final Response   NHTSA-0230621-006-1271 Final Response   Partial redaction            6
Report ID 13781-1599-2. From Alex Green to Ann Carlson. Date November 5, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1272 Final Response   NHTSA-0230621-006-1274 Final Response   Partial redaction            6
Report ID 13781-1619-2. From Alex Green to Ann Carlson. Date November 12, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1275 Final Response   NHTSA-0230621-006-1277 Final Response   Partial redaction            6
Report ID 13781-1631-2. From Alex Green to Ann Carlson. Date November 12, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1278 Final Response   NHTSA-0230621-006-1280 Final Response   Partial redaction            6
Report ID 13781-1632-2. From Alex Green to Ann Carlson. Date November 12, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1281 Final Response   NHTSA-0230621-006-1283 Final Response   Partial redaction            6
Report ID 13781-1646-2. From Alex Green to Ann Carlson. Date November 12, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1284 Final Response   NHTSA-0230621-006-1286 Final Response   Partial redaction            6
Report ID 13781-1647-2. From Alex Green to Ann Carlson. Date November 12, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1287 Final Response   NHTSA-0230621-006-1289 Final Response   Partial redaction            6
Report ID 13781-1662-2. From Alex Green to Ann Carlson. Date November 12, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1290 Final Response   NHTSA-0230621-006-1292 Final Response   Partial redaction            6
Report ID 13781-1663-2. From Alex Green to Ann Carlson. Date November 12, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1293 Final Response   NHTSA-0230621-006-1295 Final Response   Partial redaction            6
Report ID 13781-1734-2. From Alex Green to Ann Carlson. Date November 22, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1296 Final Response   NHTSA-0230621-006-1298 Final Response   Partial redaction            6
Report ID 13781-1737-2. From Alex Green to Ann Carlson. Date November 19, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1299 Final Response   NHTSA-0230621-006-1301 Final Response   Partial redaction            6
Report ID 13781-1749-2. From Alex Green to Ann Carlson. Date November 19, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1302 Final Response   NHTSA-0230621-006-1304 Final Response   Partial redaction            6
Report ID 13781-1750-2. From Alex Green to Ann Carlson. Date November 19, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1305 Final Response   NHTSA-0230621-006-1307 Final Response   Partial redaction            6
Report ID 13781-1771-2. From Alex Green to Ann Carlson. Date November 30, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1308 Final Response   NHTSA-0230621-006-1310 Final Response   Partial redaction            6
Report ID 13781-1772-2. From Alex Green to Ann Carlson. Date November 30, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1311 Final Response   NHTSA-0230621-006-1313 Final Response   Partial redaction            6
Report ID 13781-1773-2. From Alex Green to Ann Carlson. Date November 30, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1314 Final Response   NHTSA-0230621-006-1316 Final Response   Partial redaction            6
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                                                                                      NHTSA-0230621-006-1317 Final Response   NHTSA-0230621-006-1319 Final Response   Partial redaction            6
Report ID 13781-1776-2. From Alex Green to Ann Carlson. Date November 30, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1320 Final Response   NHTSA-0230621-006-1322 Final Response   Partial redaction            6
Report ID 13781-1784-2. From Alex Green to Ann Carlson. Date December 3, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1323 Final Response   NHTSA-0230621-006-1325 Final Response   Partial redaction            6
Report ID 13781-1785-1. From Alex Green to Ann Carlson. Date November 29, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1326 Final Response   NHTSA-0230621-006-1328 Final Response   Partial redaction            6
Report ID 13781-1785-2. From Alex Green to Ann Carlson. Date December 3, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1329 Final Response   NHTSA-0230621-006-1331 Final Response   Partial redaction            6
Report ID 13781-1793-2. From Alex Green to Ann Carlson. Date December 3, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1332 Final Response   NHTSA-0230621-006-1334 Final Response   Partial redaction            6
Report ID 13781-1800-2. From Alex Green to Ann Carlson. Date December 3, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                                                                           Case 1:24-cv-01353-TSC                                                              Document 26-4                Vaughn Index
                                                                                                                                                                                                                                                                                                   Filed 04/02/25                                                 Page 196 of 197
                                                                                                                                                                                                                      WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                 Record Description                                                  Start Page                               End Page                  Dispostion        Exemption(s) Applied                                                                                                                                       Explanation
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                                                                                      NHTSA-0230621-006-1335 Final Response   NHTSA-0230621-006-1337 Final Response   Partial redaction            6
Report ID 13781-1802-2. From Alex Green to Ann Carlson. Date December 3, 2021.                                                                                                                                   information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1338 Final Response   NHTSA-0230621-006-1340 Final Response   Partial redaction            6
Report ID 13781-1825-2. From Alex Green to Ann Carlson. Date December 10, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1341 Final Response   NHTSA-0230621-006-1343 Final Response   Partial redaction            6
Report ID 13781-1826-2. From Alex Green to Ann Carlson. Date December 10, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1344 Final Response   NHTSA-0230621-006-1346 Final Response   Partial redaction            6
Report ID 13781-1854-2. From Alex Green to Ann Carlson. Date December 23, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1347 Final Response   NHTSA-0230621-006-1349 Final Response   Partial redaction            6
Report ID 13781-1855-2. From Alex Green to Ann Carlson. Date December 23, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1350 Final Response   NHTSA-0230621-006-1352 Final Response   Partial redaction            6
Report ID 13781-1856-2. From Alex Green to Ann Carlson. Date December 23, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1353 Final Response   NHTSA-0230621-006-1355 Final Response   Partial redaction            6
Report ID 13781-1857-2. From Alex Green to Ann Carlson. Date December 23, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1356 Final Response   NHTSA-0230621-006-1358 Final Response   Partial redaction            6
Report ID 13781-1858-2. From Alex Green to Ann Carlson. Date December 23, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1359 Final Response   NHTSA-0230621-006-1361 Final Response   Partial redaction            6
Report ID 13781-1913-2. From Alex Green to Ann Carlson. Date December 23, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1362 Final Response   NHTSA-0230621-006-1364 Final Response   Partial redaction            6
Report ID 13781-1932-2. From Alex Green to Ann Carlson. Date December 23, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1365 Final Response   NHTSA-0230621-006-1367 Final Response   Partial redaction            6
Report ID 13781-1933-2. From Alex Green to Ann Carlson. Date December 23, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1368 Final Response   NHTSA-0230621-006-1370 Final Response   Partial redaction            6
Report ID 13781-1934-2. From Alex Green to Ann Carlson. Date December 23, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1371 Final Response   NHTSA-0230621-006-1373 Final Response   Partial redaction            6
Report ID 13781-1936-2. From Alex Green to Ann Carlson. Date December 23, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1374 Final Response   NHTSA-0230621-006-1376 Final Response   Partial redaction            6
Report ID 13781-1939-2. From Alex Green to Ann Carlson. Date December 23, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1377 Final Response   NHTSA-0230621-006-1379 Final Response   Partial redaction            6
Report ID 13781-1950-2. From Alex Green to Ann Carlson. Date December 23, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1380 Final Response   NHTSA-0230621-006-1382 Final Response   Partial redaction            6
Report ID 13781-1951-2. From Alex Green to Ann Carlson. Date December 23, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1383 Final Response   NHTSA-0230621-006-1385 Final Response   Partial redaction            6
Report ID 13781-1952-2. From Alex Green to Ann Carlson. Date December 23, 2021.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1386 Final Response   NHTSA-0230621-006-1388 Final Response   Partial redaction            6
Report ID 13781-42-2. From Alex Green to Ann Carlson. Date January 7, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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                                                                                      NHTSA-0230621-006-1389 Final Response   NHTSA-0230621-006-1391 Final Response   Partial redaction            6
Report ID 13781-43-2. From Alex Green to Ann Carlson. Date January 7, 2022.                                                                                                                                      information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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2021-01 Incident Reports Submitted by Tesla, Inc. From Kerry Kolodziej to Eric      NHTSA-0230621-006-1392 Final Response     NHTSA-0230621-006-1397 Final Response   Partial redaction            6
                                                                                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
Williams. Date September 27, 2024.
                                                                                                                                                                                                                 someone’s unique signature can be used for identity verification or potentially misused if made public.
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                                                                                      NHTSA-0230621-006-1398 Final Response   NHTSA-0230621-006-1400 Final Response   Partial redaction            6
Report ID 13781-3486-1. From Ryan Stanko to Ann Carlson. Date July 25, 2022.                                                                                                                                     information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
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2021-01 Incident Reports. From Michael Kuppersmith to Alan DeGraw. Date             NHTSA-0230621-006-1401 Final Response     NHTSA-0230621-006-1404 Final Response   Partial redaction            6
                                                                                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
December 11, 2024.
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Letter. Subject: Request for Confidential Treatment of Business Information in
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Narrative of Report Submitted Pursuant to Standing General Order 2021-01 Report ID: NHTSA-0230621-006-1405 Final Response     NHTSA-0230621-006-1408 Final Response   Partial redaction            6
                                                                                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
273-3763-1. From Jennifer Shute to Ann Carlson. Date September 8, 2022.
                                                                                                                                                                                                                 someone’s unique signature can be used for identity verification or potentially misused if made public.
                                                                                                                                                                                                                 This document contains personally identifying information (PII) consisting of a signature. Disclosure of this information would constitute an unwarranted invasion of personal privacy because a signature is a unique and personal identifier. The public interest in release
Letter. Subject: Request for Confidential Treatment of Business Information in
                                                                                                                                                                                                                 of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
Narrative of Report Submitted Pursuant to Standing General Order 2021-01 Report ID: NHTSA-0230621-006-1409 Final Response     NHTSA-0230621-006-1412 Final Response   Partial redaction            6
                                                                                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
273-3763-2. From Jennifer Shute to Ann Carlson. Date September 16, 2022.
                                                                                                                                                                                                                 someone’s unique signature can be used for identity verification or potentially misused if made public.
                                                                                                                                                                                                                 This document contains personally identifying information (PII) consisting of a signature. Disclosure of this information would constitute an unwarranted invasion of personal privacy because a signature is a unique and personal identifier. The public interest in release
Letter. Subject: Request for Confidential Treatment of Business Information in
                                                                                                                                                                                                                 of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
Narrative of Report Submitted Pursuant to Standing General Order 2021-01 Report ID: NHTSA-0230621-006-1413 Final Response     NHTSA-0230621-006-1416 Final Response   Partial redaction            6
                                                                                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
273-4346-1. From Jennifer Shute to John Donaldson. Date December 4, 2022.
                                                                                                                                                                                                                 someone’s unique signature can be used for identity verification or potentially misused if made public.
                                                                                                                                                                                                                 This document contains personally identifying information (PII) consisting of a signature. Disclosure of this information would constitute an unwarranted invasion of personal privacy because a signature is a unique and personal identifier. The public interest in release
Letter. Subject: Request for Confidential Treatment of Business Information in
                                                                                                                                                                                                                 of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
Narrative of Report Submitted Pursuant to Standing General Order 2021-01 Report ID: NHTSA-0230621-006-1417 Final Response     NHTSA-0230621-006-1420 Final Response   Partial redaction            6
                                                                                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
273-4346-2. From Jennifer Shute to John Donaldson. Date December 14, 2022.
                                                                                                                                                                                                                 someone’s unique signature can be used for identity verification or potentially misused if made public.




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                                                                                                                                           Case 1:24-cv-01353-TSC                                                                      Document 26-4           Vaughn Index
                                                                                                                                                                                                                                                                                                                                            Filed 04/02/25                                                                                  Page 197 of 197
                                                                                                                                                                                                                         WP Company LLC v. National Highway Traffic Safety Administration; Civil Action 24-1353 (D.D.C)




                                Record Description                                                     Start Page                             End Page                  Dispostion        Exemption(s) Applied                                                                                                                                    Explanation
                                                                                                                                                                                                                 This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request
                                                                                                                                                                                                                 in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary, confidential, and otherwise not publicly available and that Tesla has taken measures to ensure that the information is not released
                                                                                                                                                                                                                 outside of the company. Tesla represented that it customarily and actually keeps private the information at issue and provided such information under an assurance of privacy. Submission under NHTSA’s statutory and regulatory framework governing confidential
                                                                                                                                                                                                                 information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would
                                                                                                                                                                                                                 foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by which Tesla identifies and examines field incidents, learns from vehicles through data collection, how Tesla conducts customer, how
                                                                                                                                                                                                                 Tesla’s software and vehicle technology work, and may also include statistical or detailed proprietary information about a new feature. Releasing confidential commercial or financial information could also impact the willingness of regulated entities to provide
Letter. Subject: Confidentiality Determination for a Standing General Order 2021-01
                                                                                                                                                                                                                 NHTSA with such confidential information in the future, either voluntarily or when required by law. Therefore, it would foreseeably harm NHTSA’s interest in obtaining confidential information, which is critical to its vehicle safety mission. NHTSA also considered
Incident Report Submitted by Tesla, Inc. From Adam Raviv to Eric Williams. Date       NHTSA-0230621-006-1421 Final Response   NHTSA-0230621-006-1425 Final Response   Partial redaction            6
                                                                                                                                                                                                                 whether any further information within this record could be segregated and disclosed, but any further disclosure will cause harm to Tesla and also to NHTSA as it endeavors to fulfill its important mission of ensuring vehicle safety by continuing to receive confidential
December 11, 2024.
                                                                                                                                                                                                                 information from vehicle manufacturers. Based on Tesla’s representations and other available information, NHTSA concluded that the information was entitled to confidential treatment pursuant to Exemption 4 of FOIA.

                                                                                                                                                                                                                 This document contains personally identifying information (PII) consisting of a signature. Disclosure of this information would constitute an unwarranted invasion of personal privacy because a signature is a unique and personal identifier. The public interest in release
                                                                                                                                                                                                                 of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                                                                                                                                                 information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
                                                                                                                                                                                                                 someone’s unique signature can be used for identity verification or potentially misused if made public.
                                                                                                                                                                                                                 This document contains personally identifying information (PII) consisting of a signature. Disclosure of this information would constitute an unwarranted invasion of personal privacy because a signature is a unique and personal identifier. The public interest in release
Letter. Subject: Request for Confidential Treatment - Standing General Order Incident                                                                                                                            of this information is limited to NHTSA’s performance of its statutory duties or providing transparency to the public on government action. These interests are not implicated here and do not qualify for balancing under Exemption 6 because the relevant
                                                                                      NHTSA-0230621-006-1426 Final Response   NHTSA-0230621-006-1428 Final Response   Partial redaction            6
Report ID 13781-4787-2. From Ryan Stanko to Ann Carlson. Date February 6, 2023.                                                                                                                                  information—the signatory’s identity--is not redacted, just their signature. Even assuming that a public interest qualifies for balancing, the individual’s right to privacy in this type of information outweighs the public interest in disclosure of the information because
                                                                                                                                                                                                                 someone’s unique signature can be used for identity verification or potentially misused if made public.



                                                                                                                                                                                                                 This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the version of ADAS/ADS with which a vehicle involved in the incident is equipped. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part
                                                                                                                                                                                                                 512. Tesla described that the information is proprietary, confidential, and otherwise not publicly available and that Tesla has taken measures to ensure that the information is not released outside of the company. Tesla represented that it customarily and actually keeps private the information at issue and provided such information under an assurance of privacy. Submission under NHTSA’s statutory and
                                                                                                                                                                                                                 regulatory framework governing confidential information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information
                                                                                                                                                                                                                 private, for example, by revealing the process by which Tesla identifies and examines field incidents, learns from vehicles through data collection, how Tesla conducts customer, how Tesla’s software and vehicle technology work, and may also include statistical or detailed proprietary information about a new feature. Releasing confidential commercial or financial information could also impact the
                                                                                                                                                                                                                 willingness of regulated entities to provide NHTSA with such confidential information in the future, either voluntarily or when required by law. Therefore, it would foreseeably harm NHTSA’s interest in obtaining confidential information, which is critical to its vehicle safety mission. NHTSA also considered whether any further information within this record could be segregated and disclosed, but
                                                                                                                                                                                                                 any further disclosure would cause harm to Tesla and also to NHTSA as it endeavors to fulfill its important mission of ensuring vehicle safety by continuing to receive confidential information from vehicle manufacturers. Based on Tesla’s representations and other available information, NHTSA concluded that the information was entitled to confidential treatment pursuant to Exemption 4 of FOIA.

                                                                                                                                                                                                                 This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains whether the vehicle was within its operational design domain (ODD) at the time of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49
                                                                                                                                                                                                                 C.F.R. Part 512. Tesla described that the information is proprietary, confidential, and otherwise not publicly available and that Tesla has taken measures to ensure that the information is not released outside of the company. Tesla represented that it customarily and actually keeps private the information at issue and provided such information under an assurance of privacy. Submission under NHTSA’s
                                                                                                                                                                                                                 statutory and regulatory framework governing confidential information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that
                                                                                                                                                                                                                 information private, for example, by revealing the process by which Tesla identifies and examines field incidents, learns from vehicles through data collection, how Tesla conducts customer, how Tesla’s software and vehicle technology work, and may also include statistical or detailed proprietary information about a new feature. Releasing confidential commercial or financial information could also
                                                                                                                                                                                                                 impact the willingness of regulated entities to provide NHTSA with such confidential information in the future, either voluntarily or when required by law. Therefore, it would foreseeably harm NHTSA’s interest in obtaining confidential information, which is critical to its vehicle safety mission. NHTSA also considered whether any further information within this record could be segregated and
                                                                                                                                                                                                                 disclosed, but any further disclosure will cause harm to Tesla and also to NHTSA as it endeavors to fulfill its important mission of ensuring vehicle safety by continuing to receive confidential information from vehicle manufacturers. Based on Tesla’s representations and other available information, NHTSA concluded that the information was entitled to confidential treatment pursuant to Exemption
                                                                                                                                                                                                                 4 of FOIA.
Incident Report. Tesla, Inc. - United States Department of Transportation, National
Highway Traffic Safety Administration, Standing General Order 2021-01. Report ID      NHTSA-0230621-006-1429 Final Response   NHTSA-0230621-006-1430 Final Response   Partial redaction           4, 6           This document is an incident report submitted pursuant to NHTSA’s Standing General Order 2021-01 and contains the narrative of the incident. Tesla requested that this information be given confidential treatment under Exemption 4 of FOIA and submitted the request in accordance with agency regulations covering such requests, 49 C.F.R. Part 512. Tesla described that the information is proprietary,
                                                                                                                                                                                                                 confidential, and otherwise not publicly available and that Tesla has taken measures to ensure that the information is not released outside of the company. Tesla represented that it customarily and actually keeps private the information at issue and provided such information under an assurance of privacy. Submission under NHTSA’s statutory and regulatory framework governing confidential
13781-4787-2, 10-Day Update.                                                                                                                                                                                     information provides an assurance that any such information determined to be confidential will be protected from public disclosure except in limited circumstances not applicable here. Moreover, Tesla indicated that publicly releasing the designated information would foreseeably harm Tesla’s commercial or financial interest in keeping that information private, for example, by revealing the process by
                                                                                                                                                                                                                 which Tesla identifies and examines field incidents, learns from vehicles through data collection, how Tesla conducts customer, how Tesla’s software and vehicle technology work, and may also include statistical or detailed proprietary information about a new feature. Releasing confidential commercial or financial information could also impact the willingness of regulated entities to provide NHTSA
                                                                                                                                                                                                                 with such confidential information in the future, either voluntarily or when required by law. Therefore, it would foreseeably harm NHTSA’s interest in obtaining confidential information, which is critical to its vehicle safety mission. NHTSA also considered whether any further information within this record could be segregated and disclosed, but any further disclosure will cause harm to Tesla and
                                                                                                                                                                                                                 also to NHTSA as it endeavors to fulfill its important mission of ensuring vehicle safety by continuing to receive confidential information from vehicle manufacturers. Based on Tesla’s representations and other available information, NHTSA concluded that the information was entitled to confidential treatment pursuant to Exemption 4 of FOIA.

                                                                                                                                                                                                                 This document contains Vehicle Identification Number(s) (VINs) of vehicle owners. A VIN consists of 17 characters, with the last 6 digits sequentially assigned by the manufacturer in the production process. The Agency has redacted the last 6 digits of VIN(s) in this document. A full VIN can be used to identify personally identifying information. For example, a complete VIN coupled with
                                                                                                                                                                                                                 information on a commercial database, such as Westlaw, easily can be used to identify the name, address, date of birth and lien information of a vehicle owner. As such, the disclosure of full VIN information would jeopardize the personal privacy of individuals. VINs contain personal information that falls within the category of files “similar” to “personnel and medical files” for Exemption 6
                                                                                                                                                                                                                 purposes. There is a significant privacy interest, and the public interest is not substantial because disclosure of complete VINs would not shed light on the agency’s performance of its statutory duties. Even assuming the public interest qualified for the Exemption 6 balancing test, the privacy interest in nondisclosure outweighs the public interest in disclosure because the PII available through the
                                                                                                                                                                                                                 disclosure of a complete VIN is so sensitive that it fits into a genus in which the balance characteristically tips in favor of nondisclosure. Therefore, if this information is released, it would constitute a clearly unwarranted invasion of personal privacy.

                                                                                                                                                                                                                 This document contains information on specific geographical locations of reported crashes, including latitude, longitude, address, and zip code, and information on when the incident occurred, including the date the incident occurred and when the reporting entity received notice of the incident. Release of this information creates a threat to privacy. When taken together with other unredacted data in the
                                                                                                                                                                                                                 incident report, such as vehicle make and model, city, and state, the location and date information could be used to ascertain the identities of individuals involved in the crash, for example, through a simple internet search. The disclosure of location and date data implicates a substantial privacy interest because it interferes with personal privacy, namely unwanted solicitation, harassment, and contact by
                                                                                                                                                                                                                 the media, attorneys, and other interested parties. Moreover, it is more than likely that the individuals involved in the reported crashes would resent an unsolicited intrusion into their experiences as the reported crashes may involve injuries of a personal and upsetting nature. The mere fact that the crashes occurred in public does not lessen the unwanted intrusion into an individual’s privacy.
                                                                                                                                                                                                                 Furthermore, it matters little that the privacy intrusion does not occur immediately as long as there is a probability of an intrusion. There is a substantial privacy interest in nondisclosure of the location and date data, which outweighs any public interest in the release of the redacted data.




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